      Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 1 of 229



                        CA Nos. 19-10163, 19-10250

                 District Court No. 2:16-cr-00216-KJD-VCF


                            IN THE
                UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT
                           _________

                    UNITED STATES OF AMERICA,

                              Plaintiff-Appellee,

                                       v.

                          LONNY DITIRRO, JR.,

                            Defendant-Appellant.
                                 _________

        ON APPEAL FROM THE UNITED STATES DISTRICT
            COURT FOR THE DISTRICT OF NEVADA


   GOVERNMENT’S SUPPLEMENTAL EXCERPTS OF RECORD



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Date submitted: September 21, 2020
      Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 2 of 229




                  SUPPLEMENTAL EXCERPTS OF
                        RECORD INDEX


CR No.                                                                SER No.

139              Government Sentencing Memorandum
                 (4/24/19)                                                    0001

                 Trial Transcript: Day 3
                 (10/17/18)                                                   0027

80               Superseding Indictment
                 (4/24/18)                                                    0093

74               Supplement to Defendant’s Objections to
                 Magistrate’s Report and Recommendation
                 (10/30/17)                                                   0098

67               Defendant’s Objections to Magistrate’s Report
                 and Recommendation
                 (9/21/17)                                                    0109
23               Defendant’s Motion to Suppress
                 (10/24/16)                                                   0124




                                       ii
            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    3 of 1229
                                                                       Page     of 26



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 9                                 DISTRICT OF NEVADA
10
     United States of America,                    )
11                                                ) Case No.: 2:16-cr-216-KJD-CWH
            Plaintiff,                            )
12                                                )
                                                  )
            vs.                                   ) Government’s Sentencing Memorandum
13
                                                  )
     Lonny Joseph Ditirro,                        )
14                                                )
                    Defendant.                    )
15                                                )
                                                  )
16

17                                       I.     Introduction

18          Five. The number of identified minors who showed up at trial to testify against

19   Lonny Ditirro – girls who he raped and recorded their sexual exploitation.

20          Forty-eight. The total number of minor girls whose photos and videos Ditirro

21   meticulously organized into folders on his SD card bearing their first names and ages

22   between 13 and 17 years old; folders that contained child pornography files consistent with

23   the sexually exploitative images and videos of identified victims that Ditirro produced.

24



                                                                                       SER 0001
            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    4 of 2229
                                                                       Page     of 26



 1          254 and 42. The number of images and videos of child pornography Ditirro

 2   possessed – depictions that included infants and toddlers being sadistically and violently

 3   sexually assaulted by adult men in ways designed to humiliate the children.

 4          140. The bare minimum number of years Ditirro should spend in prison – to

 5   provide just punishment, to protect the community, and to give some measure of safety to

 6   his victims.

 7          Ditirro is sexual predator who is deserving of a substantial sentence that will

 8   naturally produce community safety for the longest period of time available, which is the

 9   remainder of his natural life. His patterned actions in this case, his utter lack of remorse, his

10   repeated efforts to justify, deflect, explain away, and otherwise excuse his crimes, all

11   prescribe a statutory maximum sentence for each count to run consecutive. This is

12   especially true given that all of the evidence before the Court suggests Ditirro will not

13   change; but instead will continue to present a significant danger to the community. A 140-

14   year sentence is therefore sufficient but not greater than necessary to further the goals of

15   sentencing. The government also requests a lifetime term of supervised release.

16                                    II.     Factual Background

17          On September 10, 2015, Las Vegas Metropolitan Police Department (LVMPD)

18   Task Force Officer Shannon Tooley received a police report from Patrol Officers Nicholas

19   Bianco and Garrett Wilson referencing a child exploitation call for service. Officers

20   contacted Rachel Saito, who was previously in a relationship with Ditirro. Saito reported

21   that she found a SanDisk Micro SD card in her bed that belonged to Ditirro. Saito stated

22   she viewed the contents of the SD card and found what she believed to be child

23   pornographic images. Officers viewed contents of the SD card and observed several images

24
                                                 2

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            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    5 of 3229
                                                                       Page     of 26



 1   of females who appeared to be between 13 and 15 years of age engaged in sexual acts.

 2   Officers impounded the SD card into evidence and notified Detective Tooley.

 3          On November 30, 2015, Detective Tooley conducted an interview with Saito. Saito

 4   described that she and Ditirro had begun dating in early 2015. Saito stated that Ditirro

 5   moved into her apartment to live with her shortly after that they began dating. Around

 6   September 9, 2015, while in bed, Saito discovered the SD card stuck to her leg. Saito stated

 7   that she believed the SD card belonged to Ditirro as he had been asking her if she had seen

 8   his SD card. Saito viewed the contents of the SD card and found images of Ditirro, both

 9   clothed and nude, images of child pornography, and other photos of Ditirro engaged in

10   sexual acts with a female who appeared to be under 16 years of age.

11          On December 2, 2015, Detective Tooley obtained a search warrant to seize and

12   perform a full forensic examination on the SD card. On March 7, 2016, LVMPD Forensic

13   Analyst Matt Trafford completed a forensic examination on the SD card. He found 235

14   images/videos of Ditirro on the SD card, in folders titled “Me,” which included “selfies” of

15   Ditirro, and “Me Restricted,” which included naked “selfies” of Ditirro. Forensic

16   Examiner Trafford also found Ditirro’s resume and birth certificate, showing ownership.

17          Forensic Examiner Trafford bookmarked 254 images and 42 videos of child

18   pornography saved on the SD card in carefully curated folders. 56 of the images depicted

19   infants and toddlers and five images depicted sadomasochism and violence. For example,

20   one image depicted a nude pre-pubescent female child lying on her back, with an image of

21   a playboy bunny drawn above her vagina and the words “Fuck Me” written on her pelvis.

22   An adult male’s erect penis is seen above the child dripping with ejaculate onto her chest

23   and stomach. Another adult male’s erect penis is penetrating her anus. Another photo

24   depicts an adult male with an erect penis ejaculating into the mouth of a female child. Yet
                                               3

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            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    6 of 4229
                                                                       Page     of 26



 1   another video shows a nude adult male lying on his back with an erect penis while a nude

 2   pre-pubescent female child is straddling the adult male. The male is penetrating the child’s

 3   vagina with his penis as he has vaginal sex with the female child.

 4          In addition to these images of child pornography, Ditirro had organized and

 5   catalogued dozens of folders titled with the name and age of nearly 50 girls. For example:

 6   one folder was titled “T.H. 13” and another was titled “R.B. 14.” There were 48 folders

 7   titled with the names of girls and ages ranging from 13-17 years of age. These folders

 8   included photos of the girls, videos of Ditirro having sex with/raping the girls, and letters

 9   and text messages about how some of the girls were in love with Ditirro. The number after

10   each girl’s name in the folder title appeared to be the age of the girl depicted in the folder.

11          Upon his arrest, Ditirro was Mirandized and voluntarily spoke with law

12   enforcement. Ditirro admitted that he did not have a computer, but rather that he used his

13   cell phone and SD cards to save information and data. Ditirro admitted that he only had

14   two cell phones in the past, both Android smartphones – a Samsung S6 and an earlier

15   model S4. Samsung phones are not manufactured in the State of Nevada. The SD card was

16   also not manufactured in Nevada.

17          Law enforcement subsequently identified four of Ditirro’s victims from the SD card.

18   Ditirro’s convictions on the first four counts in the Superseding Indictment relate to those

19   four victims – R.B., C.A., S.M., and T.H.

20          R.B.

21          R.B. told officers, this Court, and the jury, a harrowing story. When she was 14, she

22   met Ditirro through a social media chat application called Meet Me. The application

23   allows individuals to get in touch with other people nearby and arrange to meet. R.B.

24   began talking to Ditirro but eventually ended the conversation. Ditirro located R.B. on
                                                 4

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            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    7 of 5229
                                                                       Page     of 26



 1   Facebook, found out where she lived, and then showed up at her house uninvited. R.B.

 2   stated that Ditirro forcibly raped her both vaginally and anally on her back porch. A video

 3   in the “R.B. 14” folder on Ditirro’s SD card corroborated R.B.’s story, as the backyard

 4   porch furniture was still present at the home years later. The Court and jurors saw videos of

 5   this rape that took R.B.’s virginity.

 6          R.B. told law enforcement that Ditirro continued to contact R.B. after this rape,

 7   sending her naked photos of himself, and used extortion and threats (to disclose the video

 8   he made of the rape to her religious family and physically harm her family) to get R.B. to

 9   send more naked photos of herself to him. These photos are also in the “R.B. 14” folder.

10   R.B. further related that Ditirro raped her a second time, again on her back porch. R.B.

11   stated that Ditirro recorded the rapes with a black smartphone, which corresponds to

12   Ditirro’s statement that he had Android/Samsung smartphones.

13          R.B.’s trial testimony was consistent with her statement to law enforcement. 1 As the

14   Court and jurors saw, R.B. continues to be visibly impacted by the rape at the hands of

15   Ditirro years later. 2 Over the course of the past few years, R.B. has suffered from social

16

17   1
             Ditirro’s most recent claim that R.B. was lying because she allegedly told Ditirro
     over text that she was raped prior to being raped by him is factually unsupported and just
18   another attempt to detract from his unquestionable guilt. Aside from the fact that it is
     irrelevant who else may have sexually assaulted R.B. before or after Ditirro, in reality, the
19   text to which Ditirro is referring is R.B.’s text to a later actual boyfriend that she had been raped
     by Ditirro. To be abundantly clear, R.B. has been raped by only one person –Ditirro. He
20   stole her virginity, her childhood, her innocence, her sense of security in her own home, and
     her mental well-being. His most recent fabrications are nothing more than a continued
21   attempt to harass and humiliate R.B. The government, for one, is not distracted by Ditirro’s
     reprehensible attempts, and this Court should not be either.
22   2
             In preparing this sentencing memorandum, R.B. noted to the prosecutor that her pre-
     trial meeting was particularly traumatic because she had a vivid flashback to the rape.
23   Government counsel remembered this pre-trial meeting where R.B. recounted the rape. The
     prosecutor was particularly troubled when R.B. spoke about Ditirro touching her neck, as
24   he is seen to do on one of the videos. As R.B. was speaking, it seemed that she was having
                                                   5

                                                                                             SER 0005
            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    8 of 6229
                                                                       Page     of 26



 1   anxiety, depression, and suicidal ideations due to these rapes. Her relationship with her

 2   family suffered, and she suffered post-traumatic stress due to returning each day to the

 3   place she was raped – her own home. R.B. began self-harming, cutting herself to ease the

 4   pain from the constant reminders of the rape and mental anguish from Ditirro’s extortion.

 5   In her own words, R.B. had “her childhood ripped out of her by a predator who can only

 6   think of one thing, hurting the people who he sees as weak and easy prey.” Last year, as

 7   the trial date was approaching, R.B.’s anxiety and fear caught up to her when she

 8   attempted suicide and was almost successful in overdosing on drugs. This resulted in a

 9   hospital stay and substantial medical bills.

10          R.B. continues to fear for her safety to this day – now that she has testified against

11   Ditirro, she fears that he will come find her and “do everything all over again.” All of this

12   terror stems from one person – Lonny Ditirro. 3

13          R.B.’s mother and father recount that R.B. used to be a happy child but just before

14   her 15th birthday – because of Ditirro – R.B. became suddenly sullen and secretive. When

15   her parents took away her phone, R.B. acted like an addict looking for her next fix. But, in

16   reality, the root of R.B.’s extreme anxiety over the loss of her phone was her terror that

17   Ditirro would follow through on threats to physically harm her family and disseminate the

18   sexual exploitation videos he had created of R.B. to her family, friends, school, and church,

19   unless she timely complied with his demands to send still more images and videos of sexual

20   exploitation. As a result of Ditirro’s rape and extortion, R.B. obsessively changes her cell

21   phone number, i.e. a total of five times just this year. R.B.’s mother is concerned because

22
     an out of body experience. R.B. was clawing at her neck to the point of drawing blood,
23   reenacting the disgust she felt at having Ditirro’s hands on her virgin body.
     3
            R.B. has completed a victim impact statement, which is filed under seal as
24   Government’s Exhibit 1.
                                                 6

                                                                                         SER 0006
            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    9 of 7229
                                                                       Page     of 26



 1   R.B. is unable to maintain healthy relationships and friendships and R.B. has never

 2   processed the harm caused by Ditirro. It is heartbreaking for a parent to watch their child

 3   live in mental anguish and express suicidal thoughts. To help R.B., her parents have put

 4   their house (the place R.B. was victimized) up for sale to rebuild their family. Ditirro did

 5   not just destroy R.B., he destroyed her parents’ happiness and security as well. 4

 6          C.A.

 7          In 2014, C.A. was 15 years old when Ditirro initiated contact with her via Meet Me.

 8   He initially told her he was 15, but later told her he had graduated high school in 2014.

 9   C.A. told Ditirro she was a minor. He asked her to send nude images and videos to him

10   and said if she did, he would buy her an iPhone. He sent her pictures of himself

11   masturbating. The exchange of nude pictures and videos was done via Kik Messenger.

12   C.A. said she felt forced to send the nude images. Like with R.B., Ditirro extorted and

13   blackmailed C.A. to obtain her photos.

14          At one point, C.A. broke her iPod and could no longer have any contact with

15   Ditirro; she felt happy to not have to communicate with him. During their conversations,

16   Ditirro told her he wanted to marry her and that he was going to buy her an engagement

17   ring. In classic grooming behavior, Ditirro said if C.A. would have sex with him, he would

18   buy her other things.

19          C.A. was shown pictures taken from Ditirro’s SD card folder with her name. C.A.

20   identified the images as being of her in her bedroom. As she identified the photos, C.A.

21   broke down crying, saying that on one occasion Ditirro asked if he could come over to her

22   house in Las Vegas, Nevada to “hang out.” Ditirro told C.A. they would just hang out

23
     4
           R.B.’s parents have completed a victim impact statement, which is filed under seal
24   as Government’s Exhibit 2.
                                             7

                                                                                          SER 0007
            Case:
           Case    19-10250, 09/21/2020, ID:
                2:16-cr-00216-KJD-VCF        11830255,
                                         Document  139DktEntry: 30, PagePage
                                                       Filed 04/24/19    10 of8229
                                                                                of 26



 1   outside in the front of her house, so she gave him her address. C.A. said at the time he

 2   came over, her mom was out of town and her dad was at work. C.A. was on the upstairs

 3   balcony when she saw him get off a bus and walk to her house. When she opened the door,

 4   Ditirro, who is more than a foot taller and close to 200 pounds heavier than C.A., pushed

 5   his way in the house and shoved C.A. down on the couch. He then carried her upstairs to

 6   her bedroom, shut the door, and forced her onto her bed. C.A. asked him to leave. Instead,

 7   he removed her clothing and his own.

 8            C.A. remembered just wanting to call 911, but not having a phone. C.A. then said

 9   he did “sexual stuff” to her; he made her suck his penis by pushing her head down on him.

10   He tried to have anal sex with her at one point. She then said he raped her. While Ditirro

11   was raping her, he had his white cell phone in his hand, recording the sexual assault. C.A.

12   asked him to stop and tried to push him away. He told her he wanted to get her pregnant at

13   15 years old. At one point he instructed her to call him “daddy.” At the conclusion of the

14   interview (while crying), C.A. said he traumatized her. This was the rape C.A. testified to

15   during trial.

16            In the C.A. folder, there are 56 images files, 8 of which depict C.A. nude. There are

17   10 videos in the C.A. folder, six of which depict Ditirro raping C.A. in her bedroom. These

18   six videos depict Ditirro orally and vaginally assaulting C.A. In one video, C.A. is kneeling

19   on her bed with her buttocks raised. Ditirro is kneeling behind her with his penis inserted

20   into her vagina. As he holds her down, Ditirro can be heard saying “You like that big dick,

21   baby?,” “Say ‘I love that big dick’,” “See, I told you, you couldn’t keep quiet with my big

22   dick.”

23   ///

24   ///
                                                 8

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             Case:
            Case    19-10250, 09/21/2020, ID:
                 2:16-cr-00216-KJD-VCF        11830255,
                                          Document  139DktEntry: 30, PagePage
                                                        Filed 04/24/19    11 of9229
                                                                                 of 26



 1           S.M.

 2           S.M. met Ditirro when she was 15 years old on Meet Me. His profile said he was 17

 3   years old and had picture of himself. S.M. said Ditirro showed her a driver’s license, Social

 4   Security card, and birth certificate, all stating he was 17 years old. Some of these falsified

 5   documents were found on Ditirro’s S.D. card. They chatted for couple of months. After

 6   two weeks, Ditirro asked for nude pictures of S.M. and sent her nude pictures of himself

 7   via Kik. He sent her a picture of his penis and asked if she “liked that.” They chatted about

 8   sex.

 9           Just before Christmas, while in her freshman year in high school, S.M. asked her

10   mother if Ditirro could come visit for Christmas. Prior to his arrival, S.M.’s mother looked

11   online and found information that Ditirro was 34 years old. S.M. confronted Ditirro about

12   his age and he denied being 34 years old. This was one of the times Ditirro sent S.M. a

13   falsified document showing he was 17.

14           Ditirro traveled to Texas twice to have sex with S.M. The first trip, they had sex two

15   or three times. During the second trip, S.M. was 16 years old. They had sex two times

16   during that trip. Once during this visit, Ditirro began to forcibly rape S.M. and would not

17   stop. S.M. tried to kick her legs up to get Ditirro off her body but Ditirro pushed her down

18   and S.M. hit her head on the headboard. Unbeknownst to S.M., Ditirro recorded one of

19   these rapes.

20           In May 2016, S.M. was contacted by a girl on Facebook, later identified as A.P.,

21   who told S.M. if she is contacted by the police, she is to say she does not know Ditirro.

22   S.M. asked A.P. why she contacted S.M. and A.P. told S.M. there was an “SD card that

23   had a bunch of nudes on it.” A.P. told S.M. about a video showing S.M. and Ditirro

24   having sex. Because S.M. did not know about the video, S.M. did not believe Ditirro
                                                 9

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            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    12 of
                                                                       Page  10229
                                                                                of 26



 1   would record her. A.P. then called S.M. and Ditirro got on the phone and told S.M. he was

 2   in trouble with the cops and told her that “she doesn’t know him if something were to

 3   happen.” Ditirro’s actions amounted to witness tampering and obstruction.

 4          S.M. was shown pictures printed from Ditirro’s SD card. One picture was a screen

 5   shot taken during a Skype chat between Ditirro and S.M. and depicts S.M. nude in her

 6   bedroom and Ditirro’s face in the corner of the photograph. S.M. testified she did not know

 7   he had captured screen shots of these chats. She said she was 15 years old in that picture,

 8   and was certain of her age based on her bedroom décor. 5

 9          Inside the S.M. folder on Ditirro’s S.D. card are three subfolders: (1) “S” – which

10   contains 66 images of S.M. clothed, one being a picture of S.M. and Ditirro together; (2) “S

11   naked” – which contains 121 images, 91 of which depict S.M. nude or partially nude ; and

12   (3) “S skype” – which contains 156 screen shots of Skype communications, 65 of which

13   depict S.M. nude or partially nude and most showing Ditirro’s face.

14          While S.M. puts on a brave face, her victim impact statement shows her continued

15   turmoil over her “relationship” with Ditirro. S.M. recognizes that she was one of the first

16   girls victimized by Ditirro, and for that, she blames herself for not speaking up sooner. It is

17   also telling that before S.M. talks about her own distress, she remembers the pain shown on

18   the other victim’s faces and cares for their well-being. S.M. is particularly reflective as she

19   remembers seeing the photo of C.A. in the exhibit book: “She was tan with black hair with

20   a hand around her neck. Being forced to endure the pain of what he put her through was

21   written all over her face.” In fact, S.M. rightfully took solace in the fact that her face was

22
     5
           S.M. has completed a victim impact statement, which is filed under seal as
23   Government’s Exhibit 3. Additionally, S.M. also provided the government with medical
     documentation stating her need for therapy as a result of Ditirro’s sexual exploitation of her.
24   That document has been filed under seal as Government’s Exhibit 4.
                                              10

                                                                                          SER 0010
            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    13 of
                                                                       Page  11229
                                                                                of 26



 1   not shown in the videos found in her folder. While she could clear identify herself, no one

 2   else will know it was her, in the event that Ditirro distributed these videos. 6 The lingering

 3   effects of Ditirro’s abuse continue to haunt S.M. – she crashed her brand new car after

 4   being distraught from her trial testimony, she needs mental health counseling, and her

 5   doctor has recommended a therapy animal to alleviate the anxiety she feels as she copes

 6   with her exploitation. S.M’s mother is saddened that she “can’t fix the hole in [her]

 7   daughter’s heart and soul.” 7

 8          These are the kind, caring, compassionate girls that Ditirro targeted, victimized, and

 9   destroyed. And, to this day, these girls have unanswered questions: “All I could think was,

10   why would he have taken advantage of us? Was there a reason for all of this? Was this a

11   sick game? Why did he lie? Why fake so many emotions? Just FUCKING WHY?” They

12   know they will never get answers to these questions, but they already saw during their

13   testimony what Ditirro thought of himself written all over his face: “looking very smug

14   with himself,” as if to say “what are you doing here? Didn’t you like what I did to you?”

15          T.H.

16          In early 2013, when T.H. was 13 years old, she met Ditirro on Meet Me. Ditirro

17   claimed he was 18 and the two began messaging back and forth. Ditirro quickly initiated

18   sexual conversations with T.H. and ultimately asked to trade nude photographs over Kik.

19   T.H. complied and sent nude photographs of herself to Ditirro over Kik at his request.

20   During this time, T.H. lived in Arizona but she visited her relatives in Las Vegas in June

21   2013. Throughout that month, Ditirro and T.H. met up every day and had sex. On at least

22

23   6
           The same cannot be said for the nude photos depicting S.M.
     7
           S.M.’s mother has completed a victim impact statement, which is filed under seal as
24   Government’s Exhibit 5.
                                            11

                                                                                          SER 0011
            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    14 of
                                                                       Page  12229
                                                                                of 26



 1   two occasions to T.H.’s knowledge, Ditirro recorded having sex with her. Although T.H.

 2   was aware of the recording, she can be seen in the videos covering her face and otherwise

 3   looking away from the camera. The videos were recorded with Ditirro’s phone.

 4          On November 4, 2016, T.H. appeared at a family advocacy center in Arizona for an

 5   interview with law enforcement. T.H. did not want to participate in the interview. T.H.

 6   was told the interview was regarding Lonny Ditirro. T.H. said she knew the name but did

 7   not want to provide any further information which would add charges or increase the

 8   length of a prison term for Ditirro. T.H. ended the interview by saying she would like to

 9   never be bothered about this situation again. In her victim impact letter, filed under seal as

10   Government’s Exhibit 6, T.H. explains her reluctance to cooperate.

11
                   I was just one of his countless victims but coincidentally I was
12                 also one of the few who were uprooted from our everyday lives
                   and called to testify in October 2018. I was first contacted by the
13                 FBI in 2016. I declined to speak about this uncomfortable
                   situation and I remained silent until October 2018 when I was
14                 served a subpoena outlining my mandatory appearance at the
                   trial that was set to commence a few weeks later. I remained
15                 silent until trial for many reasons.

16                 One of the main reasons being my lack of knowledge about who
                   Lonny was, even six years after he had victimized me. Up until
17                 October of 2018 I was unaware that Lonny had preyed on me
                   solely because he is a child predator. I had no idea that he kept
18                 videos of me as a child, in his possession for years. I was unaware
                   of all of the gruesome facts that were presented at trial, and I was
19                 unaware that Lonny is aged well into his 30’s. Had I known that
                   Lonny is a child predator, I would have participated in the case
20                 much sooner than I did.

21          As T.H. explains, when she met Ditirro online, she never had a boyfriend or even

22   her first kiss. She “was a child.” He manipulated her. What they had “was not a

23   relationship, it was a way for him to sexually abuse” her. At trial, T.H. testified that Ditirro

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           Case:
         Case    19-10250, 09/21/2020, Document
              2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                 139 DktEntry: 30, Page
                                                      Filed 04/24/19    15 of
                                                                      Page  13229
                                                                               of 26



 1   took her virginity when she was just 13 years old, and recorded these rapes against T.H.’s

 2   will. According to T.H.,

 3
                   In the moment, I felt very confused. I didn’t know why he was
 4                 recording me, all I knew is that I did not want to be recorded. I
                   covered my face, shied away from the camera, I did everything I
 5                 thought might make him stop, but he didn’t stop. He recorded
                   several different sexual acts involving me when I was only 13
 6                 years old, and then he kept them only for them to be discovered
                   by law enforcement years later.
 7
                   As an adult, it is hard for me to comprehend that there are videos
 8                 of myself as a child having sex with a man in his 30’s. Lonny
                   recorded these videos without my consent and then he tried to
 9                 pressure me into watching them. I was completely disgusted at
                   the fact that he recorded the videos, so I refused to watch them.
10                 I never actually saw any portion of the videos until they were
                   played at trial.
11
            Contents of the T.H. folder on Ditirro’s SD card include 584 files – 579 images and
12
     5 videos. Approximately 95 image files are of T.H. nude or partially nude. Four of the five
13
     videos depict Ditirro and T.H. in what appears to be a girl’s bedroom engaged in various
14
     sex acts. During her testimony, T.H. identified this room as the place she stayed during her
15
     trip to Las Vegas in June 2013. The videos show Ditirro having oral and vaginal sex with
16
     T.H. Throughout the videos, T.H. can be seen covering her face and otherwise avoiding
17
     the camera recording her.
18
            A.P.
19
            In July 2015, when A.P. was 15 years old, she met Ditirro on Meet Me. A.P. put
20
     her accurate age on her Meet Me profile and Ditirro’s profile stated that he was 15. The
21
     two began messaging each other. Ditirro then encouraged A.P. to have Skype chats with
22
     him. During some Skype chats, Ditirro asked A.P. to send him nude photographs and also
23
     directed A.P. to take her clothes off and pose for him. Unbeknownst to A.P., Ditirro took
24
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            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    16 of
                                                                       Page  14229
                                                                                of 26



 1   screen shots of these Skype conversations which depicted A.P.’s nude body. 8 During the

 2   course of their contact, A.P. began doubting Ditirro’s claimed age. When she confronted

 3   him, Ditirro provided his driver’s license, but covered his date of birth. Ditirro also directed

 4   A.P. to look at his Facebook profile, which stated his birthday was in 1992, making him

 5   approximately 23 years old.

 6          Subsequently, A.P. and Ditirro met in person. The sexual conversations continued

 7   and, on one occasion, Ditirro tried to show A.P. the video he had recorded of raping R.B. 9

 8   Ditirro also showed A.P. a video he took when he raped C.A., who he said was 15 at the

 9   time of the video.

10          After Ditirro’s arrest in this case, he contacted A.P. and asked her to reach out to “a

11   girl in Texas.” Ditirro told A.P. that he had traveled to Texas and had sex with a 15-year-

12   old girl and there were pornographic photographs and videos of her on his device. At

13   Ditirro’s request, A.P. contacted the girl from Texas and asked her to lie to the FBI if they

14   came and asked her questions about Ditirro.

15          Other Relevant Conduct and Considerations

16          As stated above and shown at trial, Ditirro methodically organized and catalogued

17   his collection of photographs and videos of child exploitation. As the below screen shot of

18   a small portion of the folders contained on Ditirro’s SD card demonstrates, the charged

19   victims are hardly the only victims of Ditirro’s sexual exploitation. Rather, the charged

20   victims are simply those who have been identified by law enforcement at this time.

21
     8
            The nude screen shots of A.P., which were subsequently found on the SD card,
22   supported the charge of possession of child pornography.
     9
            Although A.P. did not know R.B., she testified the video was of “R” and was taken
23   outside at night. A.P. also testified that Ditirro told her the video was taken at R.’s house
     when R. was 14. This description is consistent with the video depicting Ditirro’s rape of
24   R.B.
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       Case:
     Case    19-10250, 09/21/2020, Document
          2:16-cr-00216-KJD-VCF    ID: 11830255,
                                             139 DktEntry: 30, Page
                                                  Filed 04/24/19    17 of
                                                                  Page  15229
                                                                           of 26



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            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    18 of
                                                                       Page  16229
                                                                                of 26



 1          Aside from the charged victims, and the more than 30 other girls similarly sexually

 2   exploited by Ditirro and catalogued in folders on the SD card that have not yet been

 3   identified, Ditirro also victimized complete strangers. In a series of particularly disturbing

 4   videos, Ditirro recorded “upskirt” videos of women walking on the Las Vegas Strip. These

 5   images are contained in the government’s trial exhibits, but were not published to the jury.

 6          Finally, the Court has seen some of the images of child pornography saved on

 7   Ditirro’s SD card. What the Court cannot compare without seeing all the images is the

 8   average age of the children depicted in those videos. Ditirro’s preferred age range is under

 9   eight years old. Moreover, Ditirro’s preference is images and videos that depict sexual

10   humiliation of children, including adults ejaculating on children’s faces and adult men

11   penetrating female children’s vaginas with an erect penis.

12                                           III.   Discussion

13              A. Application of Sentencing Guidelines

14                      i. The enhancement for committing an offense involving a minor
                           between 12-16 years of age is appropriate under U.S.S.G.
15                         § 2G2.1(b)(1)(B).

16          A two-level increase is appropriate under U.S.S.G. § 2G2.1(b)(1)(B) if the sexual

17   exploitation involved a minor between the age of 12 and 16. Here, all four of the charged

18   sexual exploitation victims were between the age of 12 and 16 when they were exploited.

19   As such, this enhancement is appropriate and should be applied.

20          In his sentencing memorandum, Ditirro contends that the evidence concerning the

21   age of S.M. is insufficient to support this enhancement as to her. ECF No. 138, p. 6-7. He

22   contends that the enhancement should therefore be stricken and his total offense level

23   should be reduced to 41. Id. Ditirro is incorrect on a number of levels. First, S.M.’s

24   testimony is sufficient for this Court to find, as a matter at sentencing, that this
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             Case:
           Case    19-10250, 09/21/2020, Document
                2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                   139 DktEntry: 30, Page
                                                        Filed 04/24/19    19 of
                                                                        Page  17229
                                                                                 of 26



 1   enhancement applies. Second, and perhaps more importantly, even if this Court agrees and

 2   strikes the recommended enhancement, it does not change Ditirro’s total offense level. The

 3   challenged two-point enhancement concerns Count Three/Group Three. That group

 4   results in an adjusted offense level of 44 and is the greatest of the adjusted offense levels.

 5   However, even if the adjusted offense level was a 42 as a result of eliminating the

 6   challenged enhancement, there would still be a four-point increase under U.S.S.G. 3D1.4

 7   and a five-point increase under U.S.S.G. 4B1.5(b)(1). As such, the total offense level would

 8   be 51, which would then be reduced to level 43 under the Guidelines. As such, Ditirro’s

 9   challenge is a distinction without a difference.

10                     ii. The enhancement for commission of a sexual act is appropriate under
                           U.S.S.G. § 2G2.1(b)(1)(B)(i) and (ii).
11
             A four-level enhancement is applied to the commission of a sexual exploitation
12
     offense if it includes a sexual act prohibited under 18 U.S.C. 2241(a). That statute
13
     proscribes a person from knowingly engaging in a sexual act with another person by force
14
     or threat of death, substantial bodily injury, or kidnapping. Here, the four-level
15
     enhancement is applicable to all four of the charged sexual exploitation victims. R.B. and
16
     C.A. testified that Ditirro had sex with them through use of force. S.M. also testified that,
17
     at least on one occasion, Ditirro had sex with her through use of force. Finally, T.H. has
18
     also indicated to this Court, through her written letter, that she was manipulated and forced
19
     to have sex with Ditirro. As such, this four-level enhancement is appropriate and should be
20
     applied.
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             Case:
           Case    19-10250, 09/21/2020, Document
                2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                   139 DktEntry: 30, Page
                                                        Filed 04/24/19    20 of
                                                                        Page  18229
                                                                                 of 26



 1                    iii. The enhancement for sadistic and masochistic depictions is
                           appropriate under § 2G2.1(b)(4).
 2
           Ditirro’s production of child pornography included the vaginal rapes of his victims.
 3
     As such, and on that basis alone, this enhancement properly applies. Further, Ditirro’s
 4
     child pornography collection included multiple files depicting the anal and vaginal rape of
 5
     prepubescent minors, as well as additional acts of humiliation as described above. The
 6
     nature of these files also supports a finding that this enhancement applies.
 7
                       iv. The enhancement for obstruction of justice is appropriate under
 8                         U.S.S.G. § 3C1.1.

 9           An enhancement for obstruction as to Count 3 is supported by Ditirro’s efforts to

10   tamper with S.M. At his direction, A.P. contacted S.M. and told her to deny knowing

11   Ditirro if law enforcement spoke to her. When S.M. questioned why, A.P. stated that

12   Ditirro had nude photographs of S.M. taken when she was a minor and that law

13   enforcement had discovered the photos. Ditirro also directly contacted S.M. in an effort to

14   obstruct law enforcement’s efforts to investigate the case. These efforts to obstruct justice

15   and the investigation into Ditirro’s sexual exploitation of S.M. warrant the obstruction of

16   justice enhancement.

17                     v. The enhancement for material depicting prepubescent children is
                          appropriate under U.S.S.G. § 2G2.2(b)(2).
18
           Ditirro’s collection of child pornography included photos and videos depicting
19
     prepubescent minors engaged in sexual acts. Some of these files are described in the
20
     Presentence Investigation Report and some of the images were admitted as evidence during
21
     trial. As such, this enhancement is appropriate.
22
     ///
23
     ///
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             Case:
           Case    19-10250, 09/21/2020, Document
                2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                   139 DktEntry: 30, Page
                                                        Filed 04/24/19    21 of
                                                                        Page  19229
                                                                                 of 26



 1                     vi. The enhancement for engaging in a pattern of activity involving the
                           sexual abuse or exploitation of a minor is appropriate under U.S.S.G.
 2                         § § 2G2.2(b)(5) and 4B1.5(b)(1).

 3           An enhancement under U.S.S.G. § § 2G2.2(b)(5) and 4B1.5(b)(1) is appropriate

 4   when the defendant engaged in at least two separate instances of sexual abuse of

 5   exploitation of a minor. A pattern of conduct can be established whether or not it involved

 6   charged offenses or different victims. Here, there are four charged sexual exploitation

 7   victims. Each of those victims testified to being exploited multiple times and the contents of

 8   Ditirro’s SD card confirm the testimony of the charged victims. Additionally, although

 9   A.P.’s sexual exploitation is not a charged offense, 10 there is no dispute that she was also

10   sexually exploited. Finally, there are countless other unknown victims whose exploitation

11   at the hands of Ditirro was documented in the same manner as the charged victims. As

12   such, the enhancements for engaging in a pattern of sexual abuse should apply.

13                    vii. The enhancement for use of a computer is appropriate under
                           U.S.S.G. 2G2.2(b)(6).
14
           The testimony at trial established that Ditirro used a smart phone to commit the
15
     charged offenses and used an SD card to retain evidence of his offenses. Both qualify as
16
     “computers” under this enhancement.
17
                     viii. The enhancement for 600 or more images is appropriate under
18                         U.S.S.G. 2G2.2(b)(7)(D).

19         As calculated in the plea agreement, and based on the testimony presented at trial,

20   Ditirro’s offenses involved 3,404 images. As such, this enhancement should apply.

21   ///

22   ///

23
     10
           Again, Ditirro’s possession of the child pornography images he produced of A.P.
24   supported the charge of possession of child pornography.
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            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    22 of
                                                                       Page  20229
                                                                                of 26



 1                    ix. The enhancement for multiple counts is appropriate under U.S.S.G.
                          § 3D1.4(a).
 2
            Finally, the multiple count adjustment is properly applied. The four charges of
 3
     sexual exploitation do not group under the Guidelines and, as the individual offenses are
 4
     properly calculated, the multiple count adjustment is also accurate. As a result, Ditirro’s
 5
     total offense level is properly determined to be 53. However, under the Guidelines, his
 6
     offense level is properly reduced to 43.
 7
                B. Term Of Imprisonment
 8
            The goal of sentencing is to “‘impose a sentence sufficient but not greater than
 9
     necessary’ to reflect the seriousness of the offense, promote respect for the law, and provide
10
     just punishment; to afford adequate deterrence; to protect the public; and to provide the
11
     defendant with needed . . . correctional treatment.” United States v. Carty, 520 F.3d 984, 991
12
     (9th Cir. 2008) (quoting 18 U.S.C. § 3553(a)). The Court considers the “the nature and
13
     circumstances of the offense and the history and characteristics of the defendant,” “the
14
     need for the sentence imposed,” “the kinds of sentences available,” the applicable
15
     sentencing guideline range, any pertinent policy statement, sentences imposed on other
16
     similarly situated defendants, and the need for victim restitution. 18 U.S.C. § 3553(a).
17
     Considering the relevant factors, the Court should impose a 140-year sentence.
18
            A 140-year sentence is the only thing that can provide deterrence and protect the
19
     community from Ditirro, who still refuses to accept that he destroyed the lives of countless
20
     young girls. A lengthy sentence is the only thing that can impress upon Ditirro that this
21
     criminal behavior is not tolerable in society and assure a measure of safety to the
22
     community. A statutory maximum sentence is sufficient, but not greater than necessary, to
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            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    23 of
                                                                       Page  21229
                                                                                of 26



 1   reflect the seriousness of the offense, promote respect for the law, provide just punishment

 2   for the offense, afford adequate deterrence, and to protect the public.

 3          In a recent case, Thomas Goodman who pleaded guilty to producing child

 4   pornography of only three victims was sentenced to 260 years. 11 Goodman pleaded guilty to

 5   eight counts of production for three victims and one count of possession of child

 6   pornography. A sentence of 260-years was reached in Goodman by imposing the statutory

 7   maximum sentence of 30 years on each of the eight counts of production and the statutory

 8   maximum sentence of 20 years on the single count of possession to run consecutive. The

 9   government’s requested sentence in this case mirrors the same request – statutory

10   maximum on each count to run consecutive. The government’s requested sentence in this

11   case reflects the independent, temporally and legally distinguishable acts that support each

12   count of conviction, and to give adequate consideration to the need to reflect the

13   seriousness of each offense against each victim separately, to promote respect for the law,

14   and to provide just punishment.

15          Comparing Goodman’s case to Ditirro’s shows the reasonableness of the

16   government’s request. In Goodman, the videos and photos depicted two six-year-old

17   children as well as images and videos of Goodman molesting a toddler-aged child. In

18   sentencing Goodman, the district court accurately described the behavior in creating the

19   child pornography as a “level of depravity [that] is beyond comprehension.” Here,

20   similarly, Ditirro’s actions have gone well beyond the possession of child pornography and

21
     11
             Rhode Island Man Gets 260 Years for Making Child Porn, available at
22   https://www.usnews.com/news/best-states/rhode-island/articles/2019-03-22/rhode-
     island-man-gets-260-years-for-making-child-porn; see also Rhode Island man sentenced to
23   260 years in federal prison in ICE HSI Boston child exploitation case, available at
     https://www.ice.gov/news/releases/rhode-island-man-sentenced-260-years-federal-prison-
24   ice-hsi-boston-child-exploitation.
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            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    24 of
                                                                       Page  22229
                                                                                of 26



 1   exhibit a level of depravity that defies comprehension. He has also escalated beyond

 2   receiving and distributing child pornography, engaging in an illicit market that re-

 3   victimizes those who have suffered sexual abuse by forcing them to not only re-live those

 4   traumatic events, but also live with the knowledge that others have seen them at their most

 5   vulnerable moments, and have received enjoyment from those images. Ditirro has taken

 6   the next egregious step and created new child exploitative material. He then preserved and

 7   organized his collection, to be referred to at his convenience. He has thus caused the

 8   charged victims, as well as those who have not yet been identified, to wonder when

 9   someone looks at them for a second too long, or seems to smile knowingly, whether that

10   person has seen the images and videos documenting Ditirro’s sexual exploitation. He has

11   not only robbed the victims of their innocence, but also permanently deprived them of a

12   sense of security.

13          While Goodman only had three victims, Ditirro has 48 victims. Unlike Goodman,

14   who readily admitted his guilt and accepted his punishment, Ditirro continues to obfuscate

15   and attempt to detract from his undeniable guilt. Ditirro’s “smug” arrogance caused five

16   young girls to be re-victimized repeatedly when having to re-live and recount their sexual

17   assaults at his hands. Although Goodman’s victims were younger, Goodman’s actions

18   amounted to molestation and sexual contact rather than sexual penetration and rape.

19   Ditirro forcibly raped two girls and used deception to groom two others into “willingly”

20   engaging in their own sexual assaults. Ditirro is exponentially worse than a typical child

21   molester who feels some level of guilt for the unquestionable depravity in which he

22   engages. Ditirro takes sick joy and pleasure from forcing his victims to testify,

23   demonstrating “his desire to remain in control of his victims.” Accordingly, the

24   government’s request for a 140-year sentence for Ditirro’s convictions is consistent with the
                                              22

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            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    25 of
                                                                       Page  23229
                                                                                of 26



 1   sentences imposed on similarly situated defendants across the country, and it is

 2   substantively reasonable and warranted. A sentence of 140-years serves a strong deterrent

 3   purpose to Ditirro and other pedophiles and child molesters like him who believe they can

 4   “remain in control” by watching their victims reliving the worst horrors of their lives.

 5          Further, it is important for this Court to consider Ditirro’s repeated refusal to admit

 6   any wrongdoing and accept responsibility for his actions. Notwithstanding the

 7   overwhelming testimonial and forensic evidence facing Ditirro, he refused to admit the

 8   truth. To be clear, the government is not asking for a trial tax, or for the Court to punish

 9   Ditirro exercising his constitutional rights to a trial. But, as the Ninth Circuit has noted,

10   exercising a constitutional right is very different than putting forward a factually

11   unsupported and frivolous defense to distract from guilt. Ditirro’s attempt at trial to claim

12   that the forensic evidence was somehow manufactured or altered is nothing more than a

13   delusion of grandeur. 12 Before trial Ditirro ridiculously claimed he was innocent because

14   the girls were his “girlfriends.” Indeed, Ditirro even went so far as to claim, in a letter

15   written directly to this Court, that he was in a legitimate relationship with R.B. after she

16   was 16 years of age. See ECF No. 48. Of course, this claim was entirely false. But even if

17   true, Ditirro’s claim that he believed R.B. to be 16 when he sexually exploited here still

18   demonstrated his undeniable guilt in producing child pornography. Still, Ditirro refused to

19   admit the logical legal implications of his own statements and proceeded to trial, requiring

20   the victims to testify about their graphic victimization in a room filled with strangers,

21
     12
             As government counsel argued in rebuttal, any argument regarding the chain of
22   custody for the SD card is futile when considered in light of the incontrovertible fact that
     the photos and videos contained on that SD card clearly depict Ditirro having sex with
23   underage females. Law enforcement could have found the SD card on the street with no
     explanation as to how it got there and the evidence would have still unequivocally
24   established Ditirro’s guilt.
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            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    26 of
                                                                       Page  24229
                                                                                of 26



 1   people they met in the days before trial, this Honorable Court, and Ditirro. Of course, all of

 2   Ditirro’s factually unsupportable defenses were flatly rejected by the jury. Ditirro’s refusal

 3   to accept responsibility up to the present day, even in light of what is painfully obvious to

 4   any reasonable observer of the trial proceedings, should be considered by this Court with

 5   great concern. In light of Ditirro’s obstinate refusal to acknowledge his crimes and accept

 6   responsibility, this Court can have no assurance that anything other than a period of

 7   incarceration spanning Ditirro’s natural life will deter him from re-committing the offenses

 8   for which he has been found guilty. If Goodman was deserving of 260 years, then

 9   sentencing Ditirro to 140 years will avoid sentencing disparities and will impose a sufficient

10   but not greater than necessary sentence.

11              C. Supervised Release

12          The government concurs that Ditirro be ordered to serve a lifetime term of

13   supervised release as to all five counts. If the Court imposes the government’s requested

14   sentence, it is unlikely that Ditirro will serve any term of supervision. However, the

15   egregiousness and escalation of Ditirro’s conduct warrants the maximum term of

16   supervision as a matter of fact and principle. The facts of this case strongly suggest that

17   Ditirro’s rehabilitation, success, and any likelihood to re-offend will be reduced if he

18   remains accountable for his rehabilitation under supervision.

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            Case:
          Case    19-10250, 09/21/2020, Document
               2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                  139 DktEntry: 30, Page
                                                       Filed 04/24/19    27 of
                                                                       Page  25229
                                                                                of 26



 1                                          IV.    Conclusion

 2          This Court should give proper weight to the significance of Ditirro’s crimes, the

 3   facts of this case, and the statements of the victims and their families. Doing so will lead to

 4   the conclusion that a statutory maximum sentence is not only appropriate, but also

 5   fundamentally sufficient but not greater than necessary to meet the goals of sentencing.

 6   Ditirro robbed these girls of their childhoods and by all indications the peace and happiness

 7   of their adult lives as well. He did so for no other reason than his sick pedophilic pleasure.

 8   He is a criminal. He is a sexual predator. He is a thief who stole the innocence of at least 48

 9   children. Society must be protected from him for as long as humanly possible, especially

10   given his utter lack of remorse for any of his actions.

11          The United States requests that this Court sentence Ditirro to 140 years’ custody

12   and lifetime supervision. Any downward adjustment would negate the seriousness of this

13   offense, fail to deter future misconduct, fail to protect the public, and result in unwarranted

14   sentencing disparities. Based on the totality of circumstances, the requested 140-year

15   sentence is sufficient but not greater than necessary to comply with the §3553 factors.

16          Dated this the 24th day of April 2019.

17
                                                               Respectfully Submitted,
18
                                                               NICHOLAS A. TRUTANICH
19                                                             United States Attorney
                                                               //s//
20                                                             ELHAM ROOHANI
                                                               CHRISTOPHER BURTON
21                                                             Assistant United States Attorneys

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                                                  25

                                                                                         SER 0025
           Case:
         Case    19-10250, 09/21/2020, Document
              2:16-cr-00216-KJD-VCF    ID: 11830255,
                                                 139 DktEntry: 30, Page
                                                      Filed 04/24/19    28 of
                                                                      Page  26229
                                                                               of 26



 1                                       Certificate of Service

 2          I hereby certify that on April 24, 2019, I electronically filed the foregoing Sentencing

     Memorandum with the Clerk of the Court for the United States District Court for the District
 3
     of Nevada using the CM/ECF system.
 4

 5                                                      s/ Christopher Burton
                                                        CHRISTOPHER BURTON
 6                                                      Assistant United States Attorney
                                                        United States Attorney’s Office
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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 29 of 229




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     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 30 of 229

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                       2:16-cr-216-KJD-VCF - October 17, 2018


 1                            UNITED STATES DISTRICT COURT

 2                                  DISTRICT OF NEVADA

 3

 4    UNITED STATES OF AMERICA,               )
                                              )   Case No. 2:16-cr-216-KJD-VCF
 5                      Plaintiff,            )
                                              )   Las Vegas, Nevada
 6             vs.                            )   Wednesday, October 17, 2018
                                              )   Courtroom 4A, 9:18 a.m.
 7    LONNY JOSEPH DITIRRO, JR.,              )
                                              )   JURY TRIAL, DAY THREE
 8                 Defendant.                 )
                                              )   O R I G I N A L
 9

10                      REPORTER'S TRANSCRIPT OF PROCEEDINGS

11                       BEFORE THE HONORABLE KENT J. DAWSON,
                         SENIOR UNITED STATES DISTRICT JUDGE
12

13

14     APPEARANCES:

15     For the Plaintiff:

16             UNITED STATES ATTORNEY'S OFFICE
               BY: ELHAM ROOHANI, AUSA
17                  CHRISTOPHER J. BURTON, AUSA
               501 Las Vegas Boulevard South, Suite 1100
18             Las Vegas, NV 89101
               (702) 388-6336
19
       (Appearances continued on Page 2)
20
       COURT REPORTER:
21
               Heather K. Newman, RPR, CRR, CCR #774
22             United States District Court
               333 Las Vegas Boulevard South, Room 1334
23             Las Vegas, Nevada 89101
               (702) 471-0002 or HN@nvd.uscourts.gov
24
       Proceedings reported by machine shorthand, transcript produced
25     by computer-aided transcription.



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0028
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 31 of 229

                                                                                  2
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     APPEARANCES CONTINUED:

 2     For the Defendant:

 3             LAW OFFICE OF BRIAN J. SMITH, Ltd.
               BY: BRIAN JAMES SMITH, ESQ.
 4             520 South Fourth Street, Suite 340
               Las Vegas, NV 89101
 5             (702) 380-8248

 6     Also present:

 7             Sue Flaherty, Case Agent
               Federal Bureau of Investigation
 8
               Adrian Leon Mare, Forensic IT Expert (Defense)
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             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0029
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 32 of 229

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                       2:16-cr-216-KJD-VCF - October 17, 2018


 1         LAS VEGAS, NEVADA; WEDNESDAY, OCTOBER 17, 2018; 9:18 A.M.

 2                                         --oOo--

 3                                P R O C E E D I N G S

 4          (Outside the presence of the jury at 9:18 a.m.:)

 5                 COURTROOM ADMINISTRATOR:          All rise.

 6                 THE COURT:      Go ahead, be seated.        Continue what you

 7     were doing.

 8                 When you finish looking at those, let me know.             We'll

 9     make a record on objections, if any.

10           (Brief pause in proceedings.)

11                 THE COURT:      Are you ready to go?

12                 MR. SMITH:      Yes, Your Honor.

13                 THE COURT:      Okay.    Objections?

14                 MS. ROOHANI:      Your Honor, the government has no

15     objections to the instructions as proposed by the Court.

16                 MR. SMITH:      Your Honor, I have something which I

17     neglected to bring up last night in my e-mail to Andrew and it

18     really pertains, I think, to jury Instruction No. 22, and we

19     talked about this at the very beginning of the case, that the

20     Ninth Circuit case law has limited carve-out exception for the

21     defendant if he had a good faith belief that the young women

22     were over the age of 18.         I'd like to see that added to that

23     instruction.

24                 THE COURT:      Well, there has been no evidence adduced

25     that would support giving an instruction.



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0030
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 33 of 229

                                                                                  4
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1                 MS. ROOHANI:      And, Your Honor, that is the

 2     government's position.         Under the Ninth Circuit authority,

 3     there has to be some evidence that came in during trial that

 4     would support giving that instruction and, in fact, all the

 5     evidence has been exactly to the contrary of that, so we would

 6     object to that.

 7                 THE COURT:      Yeah.    I see no -- there is no evidence to

 8     support giving that kind of an instruction, so, your objection

 9     is noted.

10                 MR. SMITH:      Thank you.

11                 THE COURT:      Anything else?

12                 MR. SMITH:      Just that this -- at this point in time,

13     Your Honor, I'm going to make a Rule 29 motion, for the record.

14                 THE COURT:      Okay.    All right.

15                 The Court finds that, based on the evidence adduced, a

16     reasonable jury could find beyond a reasonable doubt the

17     defendant committed the -- all of the counts of which he --

18     with which he is charged and, so, the motion is denied.

19                 MR. SMITH:      Thank you, Judge.

20                 MS. ROOHANI:      Your Honor, yesterday evening we

21     received ECF Number 114, which is a letter that was written by

22     the defendant to Your Honor.          It was filed under seal, but I

23     believe it was filed under seal because we were already in

24     trial.    I'm not exactly sure why it was filed under seal by the

25     Clerk of the Court, but it was provided to us by your law



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                                                                       SER 0031
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 34 of 229

                                                                                  5
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     clerk.    If Your Honor would allow me to make a specific record

 2     as to the certain arguments that the defendant has made because

 3     I believe that they're baseless, but I want to make sure that

 4     the record is clear once this goes up to the circuit and

 5     potentially any type of collateral challenge.

 6                 THE COURT:      Yes.   The -- I believe the thought behind

 7     the initial sealing was that trial would be underway, that it

 8     could be publicly accessed and -- and really is a document the

 9     Court could order stricken because it's an ex parte

10     communication and he is represented by counsel, but we did feel

11     that it needed to be disclosed to counsel because it was an

12     ex parte communication.         So you can go ahead and make whatever

13     record you wish on -- on that.

14                 MS. ROOHANI:      Thank you, Your Honor.

15                 And, Your Honor, and I agree with you, I believe that

16     this is filed in violation of the local rule, aside from the

17     fact that it's an ex parte communication.              It includes legal

18     argument.     Because the defendant is represented by counsel, any

19     type of legal argument that comes to the Court has to come

20     through his counsel and, so, at a bare minimum we would ask

21     that you strike or certainly disregard any type of legal

22     argument that's set forth in this particular document.

23                 THE COURT:      I'll make the record clear, I didn't read

24     it.

25                 MS. ROOHANI:      Okay.    Fair enough, Your Honor.



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0032
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 35 of 229

                                                                                         6
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1                 And, so, in any event, there's a couple of arguments

 2     that are made and I want to make clear that, first of all,

 3     there's an allegation that I have not produced all the

 4     discovery in this case, which is absolutely false and I -- I

 5     encourage Your Honor to discuss this with Mr. Smith.

 6     Mr. Ditirro alleges that we did not turn over the cell phone

 7     dump of R          B           's phone.     That's false.      That was made

 8     available to Mr. Smith.         The text messages that are in question

 9     were also made available to Mr. Smith.

10                 I'll note that Mr. Ditirro has been in custody this

11     entire time, so he has no idea what has been made available to

12     his counsel at the FBI lab where we keep contraband.                   And, so,

13     I would submit, Your Honor, that at a bare minimum, it might be

14     appropriate to ask Mr. Smith whether he has -- all of this

15     information has been made available to him.

16                 The second is, is that the defendant alleges that

17     because we have not produced these text messages, which I would

18     submit, Your Honor, that are -- this is vague at best, but we

19     have produced it in any event, quite frankly, Mr. Smith was

20     allowed to cross-examine R               B            about text messages.

21     He was able to cross-examine any other witnesses regarding text

22     messages, including Detective Miller.             And, so, at a bare

23     minimum, the defendant's -- to the extent that that is a theory

24     of the defense, that has been able to be probed by Mr. Smith

25     during his cross-examination of government witnesses and so



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0033
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 36 of 229

                                                                                  7
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     there's no type of deficient performance or anything related to

 2     that in any event.

 3                 Mr. Ditirro also claims that Detective Miller and

 4     Special Agent Flaherty exerted undue influence on multiple

 5     witnesses.     Mr. Smith was able to cross-examine

 6     Detective Miller and Special Agent Flaherty as well as all of

 7     the government witnesses.         This is something that he could have

 8     probed.    Quite frankly, Your Honor, my personal belief is that

 9     the reason he didn't get into it is because there's absolutely

10     no evidence of this.        Quite frankly, the victims testified

11     consistent, under oath, subject to cross-examination,

12     consistent with every single thing that they told Special Agent

13     Flaherty and Detective Miller and, so, I would submit,

14     Your Honor, that at a bare minimum, that has no bearing on the

15     matter at hand, but more importantly, that would also not give

16     rise to deficient performance or any type of violation --

17     constitutional violation -- because Mr. Smith was given the

18     ability to cross-examine the government witnesses regarding

19     that.

20                 The defendant, again, raises arguments that

21     demonstrate a fundamental lack of understanding of Fourth

22     Amendment jurisprudence regarding inadmissibility of derivative

23     illegal searches, of search warrants and what their purposes

24     are, and inevitable discovery, and I think that Your Honor and

25     Magistrate Judge Ferenbach have clearly delineated what the



               HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0034
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 37 of 229

                                                                                       8
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     nature of your understanding -- your rulings are, and, so, I

 2     believe that the record is fully set forth for the

 3     Ninth Circuit to consider that in any event.

 4                 More importantly, to the extent that he claims a

 5     Franks violation regarding what Ms. Ismail had told

 6     Detective Tooley, I'll note that Mr. Smith, when he came on

 7     this case, he requested of me if he would be able to file that

 8     motion, notwithstanding the fact that the motions deadline had

 9     passed.    But in the interest of giving the defendant a fair

10     shot and having everything litigated before the district court

11     before we ever went to trial, Mr. Smith and I had that

12     conversation, he filed that motion.            We fully briefed it.        He

13     filed an appeal of that.         We fully briefed it before,

14     Your Honor.      And, so -- and on top of that, he had an

15     opportunity to fully cross-examine Ms. Ismail during the course

16     of trial.

17                 Mr. Ditirro requested that Ms. Ismail be removed as a

18     witness because she had no personal knowledge of the card.

19     Again, Your Honor, that goes to the weight of evidence.

20     Mr. Smith was able to cross-examine her, and that is something

21     that -- certainly that the jury can consider during their

22     deliberations.

23                 The last matter, Your Honor, is that Mr. Ditirro

24     alleges that there was some type of evidence that the contents

25     of the card had been tampered with after it had been impounded.



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0035
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 38 of 229

                                                                                        9
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     That appears on Page 3 of this document, and he states in here,

 2     I have more information for his forensic examiner that we have

 3     not had -- discussed because I haven't had enough time with him

 4     [as read].

 5                 I'll note, Your Honor, that the government has

 6     repeatedly given Mr. Ditirro the opportunity to ask for a

 7     continuance to prepare for his defense.             Just the opposite has

 8     happened.     He has exercised his speedy trial rights.                He has

 9     demanded to go to trial.         He forced me to file a Motion to

10     Continue when I had been preparing for trial previously.                  Even

11     as much as last week he could have raised this before the

12     Court.    He chose not to.       And, so, in any event, I believe,

13     Your Honor, all of that aside, this defense was -- what I

14     surmise this defense was regarding the tampering, as best as I

15     can glean, is that this has to do with the "modified" and

16     "created" and "accessed" dates, which is a full line of

17     questioning that Mr. Smith went into with the government's

18     forensic examiner.       Again, this is fully fleshed out, so

19     notwithstanding the fact that Mr. Ditirro did not provide any

20     type of -- and, again, Your Honor, I don't blame Mr. Smith for

21     this because it's very clear that Mr. Ditirro is not taking his

22     advice and Mr. Ditirro is either not fully communicating with

23     him or is being obstreperous and not listening to anything that

24     Mr. Smith is telling him, but, it seems as though Mr. Ditirro

25     thinks that the evidence means one thing when, in fact, the



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0036
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 39 of 229

                                                                                  10
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     experts who are looking at this evidence believe that it means

 2     something else.

 3                 Again, I'll note, Your Honor, Mr. Ditirro has never

 4     viewed the forensic evidence in this case.              He has been in

 5     custody.     The forensic evidence in this case constitutes

 6     contraband.      Under 3509(m), he's not entitled to have access to

 7     this at the jail.       He never requested to have access to this

 8     during the course of preparation for trial.              I do know that

 9     Mr. Smith and Mr. Mare repeatedly went out to the FBI lab to

10     look at this evidence, and if his expert was not willing to

11     provide an expert notice and provide an expert report to the

12     Court and be -- to the government and be subject to

13     cross-examination, I don't believe that there is a basis for

14     this.    And, again, Your Honor, he was able to -- Mr. Smith did,

15     in fact, cross-examine Forensic Examiner Trafford regarding

16     this matter thoroughly and Forensic Examiner Trafford provided

17     a response that if he didn't like that response, he could have

18     called Mr. Mare, at least at a bare minimum, as a lay witness,

19     or the defendant could have elected to testify, but he elected

20     to not do that and to abide by -- wisely, in my opinion, abide

21     by the advice of counsel.

22                 And, so, as to those arguments, Your Honor, I just

23     wanted to make clear that I don't believe that there's any

24     basis for the Court to reconsider anything.

25                 I resent the accusation that the government has



               HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0037
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 40 of 229

                                                                                        11
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     improperly put evidence before this Court regarding

 2     Mr. Ditirro's relationship -- what he calls a consensual

 3     relationship with R             B          .   Your Honor, you heard her

 4     testimony yesterday.        She was 15 years old when the defendant

 5     raped her, and it is rape under the state of Nevada.                   He lied

 6     to her about her -- his age, and therefore she could not give

 7     consent legally and if, in fact, she gave factual consent, that

 8     too would not be sufficient because he induced that consent by

 9     lying to her about his age.          And, so, I submit, Your Honor,

10     that as a matter of law, that descriptor is correct as to

11     R        B          .   And, so, I wanted to make clear the

12     government's position on those things.

13                  Thank you.

14                  THE COURT:     Thank you.

15                  Mr. Smith, do you agree that you were provided with

16     the production that has been represented occurred by the

17     government?

18                  MR. SMITH:     Yes, I do, Your Honor.

19                  THE COURT:     All right.

20                  MR. SMITH:     And I also want to say that Mr. Mare has

21     worked assiduously on this case and has been in almost daily

22     contact with me regarding his examination of the evidence and

23     his opinion of it.        The decision not to call him as either a

24     lay witness or an expert witness was a strategic one, but he

25     has been here throughout the trial to assist me, and he has



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0038
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 41 of 229

                                                                                    12
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     done that because as I indicated before, my knowledge of IT

 2     is -- is very minimal.         It's very scant, so. . .

 3                 I would point out to the Court that Ms. Roohani is

 4     correct to some extent concerning whether or not my advice is

 5     being followed or paid attention to.            I didn't want to go to

 6     trial on this date.        I wanted more time with this.          I wanted

 7     more time with Mr. Mare.           Mr. Ditirro would not consent to

 8     another continuance.        So, we were put in the position where we

 9     had to go to trial, and we didn't -- we couldn't do anything

10     about that.      It was his choice, his call, and it was his right

11     to demand a trial at that time.           He told me no more

12     continuances, that's it, I want to go to trial.                I said, okay,

13     that's not what I would advise you to do, but, so be it if

14     that's what you want.

15                 I'd also like to point out to the Court one last

16     thing.    The letter that Ms. Roohani is talking about was seen

17     by me for the first time last night in an e-mail from -- from

18     your clerk, from Andrew.           I don't mean to be disrespectful, but

19     I don't remember your last name.           I should be calling you

20     Mr. . . .

21                 THE COURT:      It's okay.     It's Mr. Clark, but. . .

22                 MR. SMITH:      Clark?

23                 THE COURT:      Yes.

24                 MR. SMITH:      Okay.    When Mr. Clark sent me that e-mail,

25     that's the first time I saw that letter.              That's the first time



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0039
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 42 of 229

                                                                                       13
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     I had any knowledge that that letter was written.

 2                 THE COURT:      And that is not surprising based on the

 3     observations that I have made during the course of the trial,

 4     and I will say that I -- the Court has observed that the

 5     defendant has been communicating with Mr. Mare throughout the

 6     course of the trial and that Mr. Mare was particularly

 7     attentive to the testimony of the government's forensic expert,

 8     making notes and communicating with the defendant throughout.

 9                 So, thank you.

10                 MS. ROOHANI:      Thank you, Your Honor.

11                 THE COURT:      We'll call in the jury.

12            (Brief pause in proceedings.)

13            (Jury returned to courtroom at 9:40 a.m.)

14                 THE COURT:      Please be seated.       The record will reflect

15     the presence of the jury.

16                 Now that the parties have concluded their presentation

17     of evidence, it is the duty of the Court to instruct you on the

18     law.    So, I will read the jury instructions to you.                  You're

19     being handed copies, which you can follow along.

20            (Brief pause in proceedings.)

21                 THE COURT:      "JURY INSTRUCTION NO. 1.

22                 "Members of the jury, now that you've heard all the

23     evidence, it is my duty to instruct you on the law that applies

24     to this case.      A copy of these instructions will be available

25     in the jury room for you to consult.



              HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0040
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 43 of 229

                                                                                      14
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1                 "It is your duty to weigh and to evaluate all the

 2     evidence received in the case and, in that process, decide the

 3     facts.    It is also your duty to apply the law as I give it to

 4     you to the facts as you find them, whether you agree with the

 5     law or not.      You must decide the case solely on the evidence

 6     and the law and must not be influenced by any personal likes or

 7     dislikes, opinions, prejudices, or sympathy.               You will recall

 8     that you took an oath promising to do so at the beginning of

 9     the case.

10                 "You must follow all these instructions and not single

11     out some and ignore others; they are all important.                    Please do

12     not read into these instructions or into anything I may have

13     said or done any suggestion as to what verdict you should

14     return.    That is a matter entirely up to you.

15                 "JURY INSTRUCTION NO. 2.

16                 "The Indictment is not evidence.            The defendant has

17     pled not guilty to the charges.           The defendant is presumed to

18     be innocent unless and until the government proves the

19     defendant guilty beyond a reasonable doubt.              In addition, the

20     defendant does not have to testify or present any evidence to

21     prove innocence.       The government has the burden of proving

22     every element of the charges beyond a reasonable doubt.

23                 "JURY INSTRUCTION NO. 3?

24                 "A defendant in a criminal case has a constitutional

25     right not to testify.        You may not draw any inference of any



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0041
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 44 of 229

                                                                                   15
                         2:16-cr-216-KJD-VCF - October 17, 2018


 1     kind from the fact that a defendant did not testify.

 2                 "JURY INSTRUCTION NO. 4.

 3                 "Proof beyond a reasonable doubt is proof that leaves

 4     you firmly convinced the defendant is guilty.               It is not

 5     required that the government prove guilt beyond all possible

 6     doubt.

 7                 "A reasonable doubt is a doubt based upon reason and

 8     common sense and is not based on -- purely on speculation.                 It

 9     may arise from a careful and impartial consideration of all the

10     evidence, or from lack of evidence.

11                 "If after a careful and impartial consideration of all

12     the evidence, you are not convinced beyond a reasonable doubt

13     that a defendant is guilty, it is your duty to find the

14     defendant not guilty.        On the other hand, if after a careful

15     and impartial consideration of all the evidence, you are

16     convinced beyond a reasonable doubt that the defendant is

17     guilty, it is your duty to find the defendant guilty.

18                 "JURY INSTRUCTION NO. 5.

19                 "The evidence you are to consider in deciding what the

20     facts are consists of:

21                 "1.    The sworn testimony of any witness;

22                 "2.    The exhibits received in evidence; and

23                 "3.    Any facts to which the parties have agreed.

24                 "JURY INSTRUCTION NO. 6.

25                 "In reaching your verdict you may consider only the



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0042
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 45 of 229

                                                                                       16
                         2:16-cr-216-KJD-VCF - October 17, 2018


 1     testimony and exhibits received in evidence.               The following

 2     things are not evidence and you may not consider them in

 3     deciding what the facts are:

 4                 "1.    Questions, statements, objections, and arguments

 5     by the lawyers are not evidence.           The lawyers are not

 6     witnesses.     Although you must consider a lawyer's question to

 7     understand the answers of a witness, the lawyer's questions are

 8     not evidence.       Similarly, what the lawyers have said in their

 9     opening statements, will say in their closing arguments, and at

10     other times is intended to help you interpret the evidence, but

11     it is not evidence.        If the facts as you remember them differ

12     from the way the lawyers state them, your memory of them

13     controls.

14                 "2.    Any testimony that I have excluded, stricken, or

15     instructed you to disregard is not evidence.

16                 "3.    Anything you may have seen or heard when the

17     Court was not in session is not evidence.              You are to decide

18     the case solely on the evidence received at the trial.

19                 "4.    You have heard evidence that I instructed to be

20     admitted only for a limited purpose.            Therefore, you must

21     consider that evidence only for that limited purpose and for no

22     other -- and not for any other purpose.

23                 "JURY INSTRUCTION NO. 7.

24                 "Evidence may be direct or circumstantial.                 Direct

25     evidence is direct proof of a fact, such as testimony by a



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0043
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 46 of 229

                                                                                  17
                         2:16-cr-216-KJD-VCF - October 17, 2018


 1     witness about that witness personally saw or heard or did.

 2     Circumstantial evidence is indirect evidence, that is, it is

 3     proof of one or more facts from which you can find another

 4     fact.

 5                 "You are to consider both direct and circumstantial

 6     evidence.     Either can be used to prove any fact.             The law makes

 7     no distinction between the weight to be given to either direct

 8     or circumstantial evidence.          It is for you to decide how much

 9     weight to give to any evidence.

10                 "JURY INSTRUCTION NO. 8.

11                 "Inferences are simply deductions or conclusions which

12     reason and common sense lead the jury to draw from the evidence

13     received in the case.

14                 "JURY INSTRUCTION NO. 9.

15                 "In deciding the facts in this case, you may have to

16     decide which testimony to believe and which testimony not to

17     believe.     You may believe everything a witness says, or part of

18     it, or none of it.

19                 "In considering the testimony of any witness, you may

20     take into account:

21                 "1.    The witness' opportunity and ability to see or

22     hear or know the things testified to;

23                 "2.    The witness' memory;

24                 "3.    The witness' manner while testifying;

25                 "4.    The witness' interest in the outcome of the case,



               HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0044
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 47 of 229

                                                                                  18
                         2:16-cr-216-KJD-VCF - October 17, 2018


 1     if any;

 2                 "5.    The witness' bias or prejudice, if any;

 3                 "6.    Whether other evidence contradicted the witness'

 4     testimony;

 5                 "7.    The reasonableness of the witness' testimony in

 6     light of all the evidence; and

 7                 "8.    Any other factors that bear on believability.

 8                 "If you decide that a witness has deliberately

 9     testified untruthfully about something important, you may

10     choose not to believe anything that witness said.                On the other

11     hand, if you think the witness testified untruthfully about

12     some things but told the truth about others, you may accept the

13     part you think is true and ignore the rest.

14                 "The weight of the evidence as to a fact does not

15     necessarily depend on the number of witnesses who testify.

16     What is important is how believable the witnesses were, and how

17     much weight you think their testimony deserves.

18                 "JURY INSTRUCTION NO. 10.

19                 "The Indictment charges that the offense alleged in

20     Count One of the Superseding Indictment was committed beginning

21     on a date unknown and continuing to on or about July 10th,

22     2014.

23                 "The Indictment charges that the offense alleged in

24     Count Two of the Superseding Indictment was committed on a date

25     unknown and continuing to on or about March 3rd, 2015.



               HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0045
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 48 of 229

                                                                                  19
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1                 "The Indictment charges that the offense alleged in

 2     Count Three of the Superseding Indictment was committed on a

 3     date unknown and continuing to on or about August 12th, 2015.

 4                 "The Indictment charges that the offense alleged in

 5     Count Four of the Superseding Indictment was committed

 6     beginning on a date unknown and continuing to on or about

 7     August 14th, 2014.

 8                 "The Indictment charges that the offense alleged in

 9     Count Five of the Superseding Indictment was committed

10     beginning on a date unknown and continuing to on or about

11     September 10th, 2015.

12                 "Although it is necessary for the government to prove

13     beyond a reasonable doubt that the offenses were committed on a

14     date reasonably near the dates alleged in the Indictment, it is

15     not necessary for the government to prove that the offenses

16     were committed precisely on the dates charged.

17                 "JURY INSTRUCTION NO. 11.

18                 "You have heard testimony from persons who, because of

19     education or experience, were permitted to state opinions and

20     the reasons for their opinions.

21                 "Such opinion testimony should be judged like any

22     other testimony.       You may accept it or reject it and give it as

23     much weight as you think it deserves, considering the witness'

24     education and experience, the reasons given for the opinion,

25     and all the other evidence in the case.



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0046
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 49 of 229

                                                                                  20
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1                 "JURY INSTRUCTION NO. 12.

 2                 "The punishment provided by law for this crime is for

 3     the Court to decide.        You may not consider punishment in

 4     deciding whether the government has proved its case against the

 5     defendant beyond a reasonable doubt.

 6                 "INSTRUCTION NO. 13.

 7                 "Some of you have taken notes during the trial.

 8     Whether or not you took notes, you should rely on your own

 9     memory of what was said.         Notes are only to assist your memory.

10     You should not be overly influenced by your notes or by those

11     of your fellow jurors.

12                 "JURY INSTRUCTION NO. 14.

13                 "The defendant is charged in the Superseding

14     Indictment with the following charges:

15                 "Count One.

16                 "Sexual Exploitation of Children.

17                 "Beginning on a date unknown, and continuing to on or

18     about July 10th, 2014, in the State and Federal District of

19     Nevada, Lonny Joseph Ditirro, Jr., defendant herein, did

20     employ, use, persuade, induce, entice, and coerce a minor,

21     R.B., to engage in any sexually explicit conduct for the

22     purpose of producing any visual depiction of such conduct, and

23     that -- and that visual depiction was produced and transmitted

24     using materials that have been mailed, shipped, and transported

25     in and affecting interstate and foreign commerce by any means,



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0047
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 50 of 229

                                                                                  21
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     including by computer, all in violation of Title 18, United

 2     States Code, Sections 2251(a) and (c) [sic].

 3                 "Count Two.

 4                 "Sexual Exploitation of Children.

 5                 Beginning on a date unknown, and continuing to on or

 6     about March 3, 2015, in the State and Federal District of

 7     Nevada, Lonny Joseph Ditirro, Jr., defendant herein, did

 8     employ, use, persuade, induce, entice and coerce a minor, C.A.,

 9     to engage in any sexually explicit conduct for the purpose of

10     producing any visual depiction of such conduct, and that visual

11     depiction was produced and transmitted using materials that

12     have been mailed, shaped, and transported in and affecting

13     interstate and foreign commerce by any means, including by

14     computer, all in violation of Title 18, United States Code,

15     Sections 2251(a) and (c) [sic].

16                 "Count Three.

17                 "Sexual Exploitation of Children.

18                 "Beginning on a date unknown, and continuing to on or

19     about August 12th, 2015, in the State and Federal District of

20     Nevada, Lonny Joseph Ditirro, Jr., defendant herein, did

21     employ, use, persuade, induce, entice, and coerce a minor,

22     S.M., to engage in any sexually explicit conduct for the

23     purpose of producing any visual depiction of such conduct, and

24     that visual depiction was produced and transmitted using

25     materials that have been mailed, shipped, and transported in



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0048
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 51 of 229

                                                                                    22
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     and affecting interstate and foreign commerce by any means,

 2     including by computer, all in violation of Title 18, United

 3     States Code, Sections 2251(a) and (c) -- (a) and (e)."                 I'm

 4     sorry.    (a) and (e).

 5                 I think I've been saying (c) rather than (e).

 6                 MS. ROOHANI:      You have, Your Honor, but it is (e).

 7                 THE COURT:      (e).   It's (e) -- Subsection (e) for all

 8     of the counts.

 9                 "Count Four.

10                 "Sexual Exploitation of Children.

11                 "Beginning on a date unknown, and continuing to on or

12     about August 14th, 2014, in the State and Federal District of

13     Nevada, Lonny Joseph Ditirro, Jr., defendant herein, did

14     employ, use, persuade, induce, entice and coerce a minor, T.H.,

15     to engage in any sexually explicit conduct for the purpose of

16     producing any visual depiction of such conduct, and that visual

17     depiction was produced and transported using materials that

18     have been mailed, shipped, and transported in and affecting

19     interstate and foreign commerce by any means, including by

20     computer, all in violation of Title 18, United States Code,

21     Section 2251(a) and (e).

22                 "Count Five.

23                 "Possession of Child Pornography.

24                 "Beginning on a date unknown and continuing to on or

25     about September 10th, 2015, in the State and Federal District



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0049
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 52 of 229

                                                                                    23
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     of Nevada, Lonny Joseph Ditirro, Jr., defendant herein, did

 2     knowingly possess any book, magazine, periodical, film,

 3     videotape, computer disk and any other material that contained

 4     an image of child pornography, as defined in Title 18, United

 5     States Code, Section 2256(8), that has been mailed and shipped

 6     and transported using any means and facility of interstate and

 7     foreign commerce and in and affecting interstate and foreign

 8     commerce by any means, including by computer, and that was

 9     produced using materials that had been mailed, and shipped and

10     transported in and affecting interstate and foreign commerce by

11     any means, including by computer, all in violation of Title 18,

12     United States Code, Sections 2252A(a)(5)(B) and 2252A(b)(2).

13                 "JURY INSTRUCTION NO. 15.

14                 "You're here only to determine whether defendant is

15     guilty or not guilty in the charges in the Indictment.                 The

16     defendant is not on trial for any conduct or offense not

17     charged in the Indictment.

18                 "JURY INSTRUCTION NO. 16.

19                 "The defendant is charged in Count One of the

20     Superseding Indictment with sexual exploitation of a child in

21     violation of Sections 2251(a) of Title 18 of the United States

22     Code.    In order for the defendant to be found guilty of that

23     charge, the government must prove each of the following

24     elements beyond a reasonable doubt:

25                 "First, at the time, R.B. was under the age of



               HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0050
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 53 of 229

                                                                                  24
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     18 years;

 2                 "Second, the defendant employed, used, persuaded,

 3     induced, enticed, or coerced R.B. to take part in sexually

 4     explicit conduct for the purpose of producing a visual

 5     depiction of such conduct, and

 6                 "Third, the visual depiction of such sexually explicit

 7     conduct was produced using materials that had been mailed,

 8     shipped, or transported across state lines or into foreign

 9     commerce.

10                 "JURY INSTRUCTION NO. 17.

11                 "The defendant is charged in Count Two of the

12     Superseding Indictment with sexual exploitation of a child in

13     violation of Sections 2251(a) of Title 18 of the United States

14     Code.    In order for the defendant to be found guilty of that

15     charge, the government must prove each of the following

16     elements beyond a reasonable doubt:

17                 "First, at the time, C.A. was under the age of 18;

18                 "Second, the defendant employed, used, persuaded,

19     induced, or coerced C.A. to take part in sexually explicit

20     conduct for the purpose of producing a visual depiction of such

21     conduct; and

22                 "Third, the visual depiction of such sexually explicit

23     conduct was produced using materials that had been mailed,

24     shipped, or transported across state lines or in foreign

25     commerce.



               HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0051
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 54 of 229

                                                                                  25
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1                 "JURY INSTRUCTION NO. 18.

 2                 "The defendant is charged in Count Three of the

 3     Superseding Indictment with sexual exploitation of a child in

 4     violation of Sections 2251(a) of Title 18 of the United States

 5     Code.    In order for the defendant to be guilty of that charge,

 6     the government must prove each of the following elements beyond

 7     a reasonable doubt:

 8                 "First, at the time, S.M. was under the age of

 9     18 years;

10                 "Second, the defendant employed, used, persuaded,

11     induced, enticed, or coerced S.M. to take part in sexually

12     explicit conduct for the purpose of producing a visual

13     depiction of such conduct; and

14                 "Third, the visual depiction of such sexually explicit

15     conduct was produced using materials that had been mailed,

16     shipped, or transported across state lines or in foreign

17     commerce.

18                 "JURY INSTRUCTION NO. 19.

19                 "The defendant is charged in Count Four of the

20     Superseding Indictment with sexual exploitation of a child in

21     violation of Sections 2251(a) of Title 18 of the United States

22     Code.    In order for the defendant to be found guilty of that

23     charge, the government must prove each of the following

24     elements beyond a reasonable doubt:

25                 "First, at the time, T.H. was under the age of



               HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0052
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 55 of 229

                                                                                  26
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     18 years;

 2                 "Second, the defendant employed, used, persuaded,

 3     induced, enticed or coerced T.H. to take part in sexually

 4     explicit conduct for the purpose of producing a visual

 5     depiction of such conduct; and

 6                 "Third, the visual depiction of such sexually explicit

 7     conduct was produced using materials that had been mailed,

 8     shipped, or transported across state lines or in foreign

 9     commerce.

10                 "JURY INSTRUCTION NO. 20.

11                 "The defendant is charged in Count Five of the

12     Indictment with Possession of Child Pornography, in violation

13     of Title 18 of the United States Code, Section 2252A(a)(5)(B).

14     In order for the defendant to be found guilty of that charge,

15     the government must prove each of the following elements beyond

16     a reasonable doubt:

17                 "First, that the defendant knowingly possessed

18     material that the defendant knew contained visual depictions of

19     minors engaged in sexually explicit conduct;

20                 "Second, the defendant knew the visual depiction

21     contained in the material showed a minor engaging in sexually

22     explicit conduct;

23                 "Third, the defendant knew that production of such a

24     visual depiction involved the use -- involved use of a minor in

25     sexually explicit conduct; and



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0053
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 56 of 229

                                                                                    27
                         2:16-cr-216-KJD-VCF - October 17, 2018


 1                 "Fourth, the -- that the visual depiction had been

 2     either.

 3                 "a)    mailed, shipped, or transported in interstate

 4     commerce -- interstate or foreign commerce by any means,

 5     including by computer, or

 6                 "b)    produced using material that had been mailed,

 7     shipped, or transported, in interstate or foreign commerce, by

 8     any means, including by computer.

 9                 "JURY INSTRUCTION NO. 21.

10                 "An act is done knowingly if the defendant is aware of

11     the act and does not act through ignorance, mistake or

12     accident.     The government is not required to prove that the

13     defendant knew that his acts or omissions were unlawful.               You

14     may consider evidence of the defendant's words, acts, or

15     omissions, along with all the other evidence, in deciding

16     whether the defendant acted knowingly.

17                 "JURY INSTRUCTION NO. 22.

18                 "As to Counts One, Two, Three and Four, the government

19     need not show the defendant was aware R.B., C.A., S.M., and

20     T.H. were under the age of 18 at the time he used them in

21     creating visual depictions of sexually explicit conduct.               The

22     government must prove beyond a reasonable doubt that at the

23     time of the visual depictions of sexually explicit conduct,

24     R.B., C.A., S.M., and T.H. were in fact under the age of 18.

25                 "JURY INSTRUCTION NO. 23.



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0054
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 57 of 229

                                                                                  28
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1                 "As it relates to Counts One, Two, Three and Four,

 2     'interstate commerce' means commerce between different states,

 3     territories, and possession of the United States, including the

 4     District of Columbia.

 5                 "'Commerce' includes, among other things, travel,

 6     trade, transportation, and communication.

 7                 "In determining whether the defendant's conduct was in

 8     or affected interstate or foreign commerce, you may consider

 9     whether the defendant used means or facilities of interstate

10     commerce, such as a telephone or the Internet, or whether his

11     conduct substantially affected interstate commerce by virtue of

12     the fact that he purchased or used items that had been moved in

13     interstate commerce.

14                 "JURY INSTRUCTION NO. 24.

15                 "As it relates to Count Five, the term 'facility' or

16     'means of interstate commerce' includes Internet communications

17     and telephone communications transmitted from one state or

18     foreign country, to another state.

19                 "JURY INSTRUCTION NO. 25.

20                 "The term 'producing' as it relates to all counts can

21     include recording, filming, photographing, directing, making,

22     creating, or manufacturing visual depictions.

23                 "The act of 'producing' is not limited to the moment

24     of recording.      'Production' includes possessing, downloading,

25     copying, or transferring -- transferring the visual depictions



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0055
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 58 of 229

                                                                                       29
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     in digital format.

 2                 "JURY INSTRUCTION NO. 26.

 3                 "'Child pornography' means any visual depiction,

 4     including any photograph, film, video, picture or computer or

 5     computer-generated image or picture, whether made or produced

 6     by electronic, mechanical, or other means, of sexually explicit

 7     conduct, where the production of such visual depiction involves

 8     the use of a minor engaging in sexually explicit conduct.

 9                 "JURY INSTRUCTION NO. 27.

10                 "'Minor' means any person under the age of 18 years.

11                 "JURY INSTRUCTION NO. 28.

12                 "'Sexually explicit conduct' means actual or

13     simulated:

14                 "(a) sexual intercourse, including genital-genital,

15     anal-genital, or oral-anal contact, whether between persons of

16     the same or opposite sex;

17                 "(b) bestiality;

18                 "(c) masturbation;

19                 "(d) sadistic or masochistic abuse; or

20                 "(e) lascivious exhibition of the genitals or pubic

21     area of any person.

22                 "JURY INSTRUCTION NO. 29.

23                 "Regarding the last type of sexually explicit

24     conduct -- 'lascivious exhibition' -- not every exposure of the

25     genitals or pubic area constitutes lascivious exhibition.                  In



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0056
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 59 of 229

                                                                                        30
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     determining whether a visual depiction constitutes lascivious

 2     exhibition, you should consider the context and setting in

 3     which the genitalia or pubic area is being displayed.                   You may

 4     consider the overall content of the material.               You may also

 5     consider such factors as whether the focal point of the visual

 6     depictions is on the minor's genitalia or pubic area or whether

 7     there is some other focal point.           You may consider whether the

 8     setting of the depiction is such to make it appear to be

 9     sexually inviting or suggestive; for example, in a location or

10     in a pose associated with sexual activity.              In addition, you

11     may consider whether the minor appears to be displayed in an

12     unnatural pose or in inappropriate attire.              You may also

13     consider whether the minor is partially clothed or nude.                   You

14     may consider whether the depiction appears to convey sexual

15     coyness or an apparent willingness to engage in sexual

16     activity, and whether the depiction appears to have been

17     designed to elicit a sexual response in the viewer.                    Of course,

18     a visual depiction not -- need not involve all of these factors

19     to be lascivious exhibition.

20                 "JURY INSTRUCTION NO. 30.

21                 "'Visual depiction' includes undeveloped film and

22     videotape, data stored on computer disk, or by electronic means

23     which is capable of conversion into a visual image, and data

24     which is capable of conversion into a visual image that has

25     been transmitted -- transmitted by any means, whether or not



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0057
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 60 of 229

                                                                                      31
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     stored in a permanent format.

 2                 "JURY INSTRUCTION NO. 31.

 3                 "A verdict form has been prepared for you.                 After you

 4     have reached unanimous agreement on a verdict, your foreperson

 5     should complete the verdict form according to your

 6     deliberations, sign and date it, and advise the bailiff that

 7     you're ready to return to the courtroom.

 8                 "JURY INSTRUCTION NO. 32.

 9                 "If it becomes necessary during your deliberations to

10     communicate with me, you may send a note through the bailiff,

11     signed by any one or more of you.            No member of the jury should

12     ever attempt to communicate with me except by a signed writing,

13     and I will respond to the jury concerning the case only in

14     writing or here in open court.           If you send out a question, I

15     will consult with the lawyers before answering, which may take

16     some time.     You may continue your deliberations while waiting

17     for the answer to any question.           Remember that you are not to

18     tell anyone - including me - how the jury stands, numerically

19     or otherwise, on any question submitted to you, including the

20     question of guilt of the defendant, until after you have

21     reached a unanimous verdict or have been discharged."

22                 We'll now go to the summations or closing statements.

23     The government goes first.

24                 MR. BURTON:      Thank you, Your Honor.

25                 Ms. Saavedra, could you please go over to the HDMI?



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0058
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 61 of 229

                                                                                     32
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     Thank you.

 2           (Brief pause in proceedings.)

 3                 MR. BURTON:      Mr. Smith, Ms. Roohani, ladies and

 4     gentlemen of the jury, in the first half of 2014, the defendant

 5     had sex with R           B            when he was in his thirties and

 6     she was 15, on her back patio during the night, and he recorded

 7     it.

 8                 In November 2014, the defendant, well into his

 9     thirties, had sex with C                A        when she was 15, in her

10     bedroom after he carried her upstairs like a child, and he

11     recorded it.

12                 In September of 2014, the defendant, well into his

13     thirties, had sex with S                 M       , in her bedroom at her

14     parents' house, and he recorded it.

15                 And in June 2013, after 13-year-old T                      H

16     snuck him into her grandmother's house and into her bedroom,

17     the defendant had sex with her, and he recorded it.

18                 Additionally, the defendant downloaded and possessed

19     child pornography, pornography of minors engaged in sexually

20     explicit conduct, both from A                P         who you heard from,

21     as well as photos and videos depicting children.

22                 These are the simple facts of the case.              And when I

23     say simple, I don't mean easy.           There's nothing easy about

24     these facts.      There's nothing easy about the testimony, the

25     evidence, the photos, and the videos that you have received.



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0059
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 62 of 229

                                                                                         33
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     What I mean by simple is that they are straightforward.                    They

 2     are uncontroverted.        They are undeniable, and they prove the

 3     defendant's guilt of the charges in this case.

 4                  You've just been instructed as to the fact that the

 5     defendant is facing five charges.             The first four are charges

 6     of sexual exploitation of children, and there are a number of

 7     instructions, it's Instructions 16 through 19, that tell you

 8     the facts that must be proven beyond a reasonable doubt to find

 9     the defendant guilty of those charges, and they are virtually

10     identical.     The only difference between these counts is that

11     each count relates to a different girl.             Count One relates to

12     R        B          , R.B.     Count Two relates to C                  A   ,

13     C.A.    Count Three relates to S                M      , S.M., and

14     Count Four, relates to T                H      , T.H.     So we're going to

15     go through this step by step and demonstrate what the evidence

16     proves beyond a reasonable doubt and what you are to consider

17     and not consider when weighing the evidence in this case.

18                  First, you have to find, and the evidence shows beyond

19     a reasonable doubt, that R              , C         , S         , and T

20     were under the age of 18.

21                  Simple math based on the forensic evidence of when the

22     videos and photos depicting these girls, as well as their own

23     testimony, demonstrates beyond a reasonable doubt that they

24     were under the age of 18.

25                  You've also been instructed that that's what you have



              HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0060
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 63 of 229

                                                                                       34
                        2:16-cr-216-KJD-VCF - October 17, 2018


 1     to find.      In other words, you have to find that these girls

 2     were indeed, in fact, under the age of 18.              You do not need to

 3     find, you do not need to consider whether the defendant knew

 4     that at the time he created and produced this child

 5     pornography.

 6                   Now, notwithstanding, the evidence in this case shows

 7     that he did indeed know exactly how old these girls were.                  He

 8     knew that R           B           was 14 when he met her because

 9     that's what he manually entered for her folder.                He knew that

10     C         A       was 15.    He knew that T             H        was 13.   He

11     was well aware that these girls were underage.               But these laws

12     are designed to protect children.            It's not the children's

13     responsibility to make sure they tell the defendant how old

14     they are; it's the defendant's responsibility to make sure, and

15     that's why his knowledge doesn't matter.              What matters is the

16     fact that they were under the age of 18.

17                   It's also not before you concerning the age of consent

18     for sexual relationships.         The number, the age that is of

19     interest in this case is 18.          Because there's a difference --

20     and you've heard that through these girls' testimony -- there's

21     a difference between engaging in sexual relationships and

22     consenting to those sexual relationships and engaging and

23     consenting to those sexual relationships being recorded, being

24     photographed, being videotaped.           So, it doesn't matter if these

25     girls were old enough if the age of consent for sexual



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0061
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 64 of 229

                                                                                   35
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     relationships with the defendant was 16, or 17, or 18; what

 2     matters is they were not old enough to be videotaped having sex

 3     with the defendant.

 4                 Second, you must find and the evidence shows the

 5     defendant employed, used, persuaded, induced, enticed, or

 6     coerced R         , C        , S          , and T           to take part in

 7     sexually explicit conduct for the purpose of producing a visual

 8     depiction of such conduct.

 9                 Important to note, it's "or."           So there's alternative

10     means that you can find were used to produce the same end.                 And

11     the facts of this case illustrate that the defendant had

12     different methods.       Sometimes he persuaded, he induced, he

13     enticed.     He told these girls that he was their boyfriend.              He

14     told these girls that they were his girlfriend.                He told these

15     girls that he loved them, that he wanted to marry them, that he

16     wanted to be in a relationship with them, and these girls

17     believed him.      And they believed that they were in a legitimate

18     relationship with an 18-year-old.            Because the defendant told

19     them that.     And the defendant went as far as to alter his birth

20     certificate to show that he was much younger than he was.

21     Because he knew full well that if he told these girls that he

22     was 31, 32, 33, they would not have responded to his MeetMe

23     message.     They would not have Skyped with him.            They would have

24     not met him in person.         So he lied to them to induce them, to

25     persuade them, to entice them to engage in sexually explicit



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0062
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 65 of 229

                                                                                    36
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     conduct.

 2                 Sometimes he simply used them.            Sometimes he recorded

 3     screenshots of Skype chats of S                   M      that she didn't

 4     know he was capturing.         Sometimes he recorded having sex with

 5     them, like S             M      , having her turn away and face away

 6     from him so she doesn't know that he's recording.                Sometimes he

 7     lied to them, like C              A       and said that he stopped video

 8     recording when he didn't.

 9                 And sometimes he coerced them.            Sometimes, like when

10     R                     says no, I don't want to do this, please stop,

11     inducing, persuading, enticing and even using isn't working, so

12     he coerced             to engage in sexually explicit conduct for

13     the purpose of creating that video.

14                 Physical presence of the defendant is irrelevant.              In

15     other words, it's not required for you to find that the

16     defendant was in the same room with these girls.                You can find,

17     in fact, that there are -- there's evidence to show that the

18     defendant at some points in time was in Las Vegas when

19     S          M       was in Texas and they were Skype chatting and he

20     was asking her to send him nudes or take off her clothes and he

21     was capturing screenshots of her in various stages of undress.

22                 And the victims' "consent" -- and I put that in quotes

23     because as I just said, the legal age of consent to be video

24     recorded or photographed or recorded in any way in sexual

25     activity is 18, but to the extent that any of these girls came



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0063
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 66 of 229

                                                                                         37
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     up here and said, I was -- I was all for being videotaped,

 2     doesn't matter.       The evidence shows that these girls did not

 3     want this.     They closed -- they covered their face.                 They

 4     closed their eyes.       They tried to avoid being identified during

 5     the videotape.        This was the defendant's idea.         This was the

 6     defendant's decision.

 7                 In fact, their knowledge isn't even relevant.                  Just

 8     like S            M     .   You can use someone to create these

 9     visual depictions.       You can use someone to engage in sexually

10     explicit conduct even without their knowledge.               That's not

11     required.

12                 And you were told to find sexually explicit conduct,

13     it includes sexual intercourse, like the videos that you've

14     seen.    It includes masturbation and it also includes lascivious

15     exhibition of the genital or pubic area of any person, the

16     naked selfies that we've been talking about that the girls sent

17     at the defendant's direction.           The Skype chats that were

18     screenshot and saved of girls, specifically S                          M      ,

19     undressed.

20                 You're also told in Instruction 25 what it means to

21     produce.     You're told production includes recording and

22     photographing.        And, so, when the defendant is holding a camera

23     phone as he's having sex with these minor girls and recording

24     that, he's producing.

25                 It also includes directing.          So when the defendant is



               HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0064
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 67 of 229

                                                                                        38
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     asking the girls to send him nude photographs of themselves

 2     exposing their genitals, he's producing.

 3                 It includes creating and making.            So when the

 4     defendant is making these screenshots of Skype chats depicting

 5     the girls nude and exposing their genitals, he's producing.

 6                 It also includes copying and transferring.                 So when

 7     the defendant is moving files from one device to the SD card or

 8     from the SD card to another device back to the SD card, as he's

 9     copying and transferring those files that depict minors engaged

10     in sexually explicit conduct, he's producing child pornography.

11                 And, so, the evidence shows that the second element is

12     proven beyond a reasonable doubt.

13                 Finally, third, you must find the visual depiction of

14     such sexually explicit conduct was produced using materials

15     that the been mailed, shipped, or transported across straight

16     lines or in foreign commerce.           This is what we call the

17     interstate commerce element, which is just a fancy legal term

18     that means we have to show that there was some movement of the

19     material that was used to produce child pornography across

20     state lines.      That's it.     And it can be even across foreign

21     lines.    Must be in and affecting the movement of items across

22     state lines.

23                 Well, the SD card itself tells you beyond a reasonable

24     doubt that the material, that SD card that was used to produce

25     child pornography, crossed state lines.             Because it was made in



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0065
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 68 of 229

                                                                                      39
                        2:16-cr-216-KJD-VCF - October 17, 2018


 1     China and it was shipped to the United States, and specifically

 2     to Nevada.

 3                   Additionally, the evidence demonstrates that the phone

 4     the defendant used and had this SD card in when he created,

 5     when he produced, when he videotaped, when he screenshotted the

 6     child pornography, also crossed state lines.               The defendant

 7     told Detective Miller during his recorded interview that he had

 8     an SD card, that he had multiple SD cards, and he used them

 9     with Samsung phones, S4, S6.          And you heard from Mr. Finnegan,

10     all Samsung phones, including S4s and S6s are manufactured

11     overseas.      They're manufactured in China, southeast Asia,

12     Korea, and then they're shipped over here.              So you know beyond

13     a reasonable doubt, the evidence shows beyond a reasonable

14     doubt that the materials used to produce that child

15     pornography, that visual depiction of minors engaged in

16     sexually explicit conduct, has crossed state lines.

17                   Now, how do we know, how does -- the evidence also

18     shows that it's the defendant who produced the child

19     pornography.

20                   You heard from all four of these girls.            And there's

21     no indication that these girls know each other.                There's no

22     evidence that they've met.          In fact, some of them are from

23     different cities and different states.             S           lives in

24     Texas.    T         lives in Arizona.        R         and C           live here

25     in Las Vegas and Henderson, but they all tell a remarkably



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0066
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 69 of 229

                                                                                   40
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     similar story.      Almost identical.         They met the defendant on

 2     MeetMe.    He reached out to them.         They indicated on their

 3     MeetMe that they were minors and the defendant claimed, on his

 4     MeetMe profile, that he was 18.           They started exchanging

 5     messages.     They quickly turned sexual at the defendant's

 6     direction.     They began either moving towards a different Kik or

 7     Skype, a different application, and they began trading photos

 8     as well as more sexual conversation and messages.                The

 9     defendant asks for nudes.         The defendant sends nudes of himself

10     unsolicited.      The girls comply with the defendant's request.

11     Eventually they meet in person.           It's always at the girls'

12     house, house that they share with their parents, or their legal

13     guardians, their grandmother, and they engage in sexual -- in

14     sex with the defendant, and he records them.               Sometimes they

15     know about it; sometimes they don't.

16                 The other evidence in this case corroborates the

17     girls' testimony.       In fact, the defendant, in what's mostly a

18     self-serving letter about R               B           , acknowledges that

19     he knows her, acknowledges what he claims, that they had some

20     relationship, some relationship, that he "dated" her, and that

21     he knew that she was under the age of 18 when they dated.

22                 And the SD card, a text that only two people could

23     possibly have, C             A       and the defendant, is a copy of

24     this text conversation between the two of them where C

25     identifies herself and the defendant saved that.                So you know,



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0067
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 70 of 229

                                                                                      41
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     and it's corroborated, that C                  indeed had this interaction

 2     with the defendant.

 3                 S           M     , Skype chats that only include two

 4     people.    Sometimes she's clothed; sometimes she's not.

 5     Sometimes the defendant saves screenshots of her clothed;

 6     sometimes he saves screenshots of her naked.               And it's the

 7     defendant in that bottom right corner.

 8                 Letters, handwritten by T                H        and

 9     hand-delivered to the defendant.           Letters that no one else

10     besides T           and the defendant could possibly know about,

11     saved by the defendant to document the relationship that he had

12     with her, to document the sex that he had with her.

13                 You also heard from A                        , and A       P

14     also provides evidence to you that identifies the defendant as

15     the person who produced the child pornography that you've seen

16     and the child pornography that the four charged victims

17     testified about, R              C        , S          , and T          .

18                 A       told you and testified that the defendant at

19     some point showed her videos, and she described videos and gave

20     descriptions that are consistent with the videos that you've

21     seen of R          and C         .   And she told you that the

22     defendant told her that he knew they were minors at the time he

23     had sex with him and recorded the videos that he showed her,

24     and that he told her even their names, C                    and R          .

25                 Now, whatever you think about what A                 said about



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0068
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 71 of 229

                                                                                         42
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     her relationship with the defendant, with her father in the

 2     room, a person that she didn't want to know about the

 3     relationship she had with the defendant, she can't guess what's

 4     on those videos.       It's the defendant that showed her those

 5     videos.    And she can't guess that there's some girl in Texas

 6     who is involved in this unless the defendant tells her that.

 7     And she reaches out to him [sic] on his behalf, and we hear

 8     from S            M      who doesn't know A             P           but got a

 9     Facebook message from her telling her what the defendant told

10     A       to tell her, deny that you know me because there's an SD

11     card with a bunch of nudes on it, and it's mine.

12                 Even if you were to just disregard, you could set

13     aside all of these girls' testimony, there would still be proof

14     beyond a reasonable doubt that it was the defendant who

15     produced the child pornography.           Because the videos themselves

16     show it's the defendant.         It's the defendant who smiles at the

17     camera at the end of the video of R                 B           .      It's the

18     defendant who's depicted performing oral sex on C                        A    .

19     It's the defendant at the bottom right of Skype chat screen

20     after Skype chat screen of S                  M       as she undresses, and

21     it's the defendant who's depicted smiling as he's recording

22     himself and T            H        having sex.

23                 And so the verdict form which you'll see charges

24     Count -- excuse me -- four counts relating to four different

25     victims.     The defendant is guilty of sexually exploiting



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0069
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 72 of 229

                                                                                    43
                         2:16-cr-216-KJD-VCF - October 17, 2018


 1     R        B           , R.B., and the defendant is guilty of sexually

 2     exploiting C              A       , C.A., the defendant is guilty of

 3     sexually exploiting S                 M      , S.M., and the defendant is

 4     guilty of sexually exploiting T                 H       , T.H.    The

 5     straightforward simple facts demonstrate the defendant's guilt

 6     as to those charges.

 7                  Let's talk about Count Five.           This is Instruction 20.

 8     This is Possession of Child Pornography, and I want to be very

 9     clear here, Count Five relates to the hundreds of images and

10     videos that the defendant downloaded and the photos of

11     A       P           that the defendant possessed.          Count Five does

12     not relate to R               B        , C          A    , S            M    ,

13     or T          H       .   And, so, when we talk about Count Five,

14     there are four elements you can see or four facts that you must

15     find.

16                  First, the defendant knowingly possessed material that

17     the defendant knew contained visual depictions of minors

18     engaged in sexually explicit conduct.

19                  And you're instructed that "knowingly" means

20     intentionally, not as a result of accident or mistake.

21                  So, you don't need to decide whether the defendant

22     knew it was illegal to possess images of A                  P           or

23     images of children ranging from four to six years old.                  What we

24     need to show is that he knew that those images existed and that

25     he possessed them.



               HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0070
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 73 of 229

                                                                                  44
                        2:16-cr-216-KJD-VCF - October 17, 2018


 1                   You don't need to show or need to find or decide that

 2     the defendant knew that those images traveled in interstate

 3     commerce or that those images were produced with materials that

 4     traveled in interstate commerce, and you don't need to decide

 5     motive.    You don't need to figure out why it was that the

 6     defendant possessed, collected, catalogued, organized and

 7     retained hundreds of images of child pornography.

 8                   The folders that are involved are "Kik" and "Kik3" and

 9     "download," and those folders demonstrate that the defendant

10     knew that he possessed images that depicted children engaged in

11     sexually explicit conduct.          Because those are folders

12     associated with downloads from the Internet and items that he

13     received from Kik.       And there are images and items that are

14     right next to -- these are folders that are visited frequently

15     because these images are right next to images of

16     T         H       , S           M     , and images of the defendant.

17     These aren't hidden folders.          These aren't folders that no one

18     would know existed.        These are folders that were used, folders

19     that the defendant was aware of.

20                   And another folder "real lolicon" that the defendant

21     saved dozens of images of child pornography.               Lolicon, you were

22     told, being a term unique to child pornography.                Lolicon being

23     a title that the defendant manually typed in.               He knew exactly

24     what was in that folder.         He knew that it contained child

25     pornography.



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0071
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 74 of 229

                                                                                        45
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1                 And, additionally, the defendant knew, when he

 2     captured screenshots like this (indicating), as well as

 3     screenshots where A            is exposing her genitals, that she was

 4     a child engaging in sexually explicit conduct.               She told him

 5     she was 15.      He knew she was 15.       Captured these images, and he

 6     possessed them.       He knew exactly what he was doing.

 7                 The second and third element go together in some

 8     respects so we're going to talk about them together.                   The

 9     defendant knew the visual depiction contained in the material

10     showed a minor engaging in sexually explicit conduct, and the

11     defendant knew the production of such a visual depiction

12     involved use of a minor in sexually explicit conduct.

13                 He knew that this was child pornography.              He knew that

14     this was produced using real children and that they were really

15     engaged in sexually explicit conduct.

16                 Minor, again, is 18 years -- or -- excuse me -- under

17     the age of 18 years old, and visual depiction of sexually

18     explicit conduct has the same definition as you -- we just

19     talked about.      Lascivious exhibition of genitals, masturbation,

20     actual or simulated sexual acts.

21                 The evidence shows that the defendant knew because he

22     titled folder names to include the ages of the girls depicted

23     in the images and videos that were in those folders.                   You saw

24     the over hundred folders that the defendant had, including

25     dozens of folders that had ages 13, 14, 15, 16, 17.                    And the



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0072
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 75 of 229

                                                                                  46
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     evidence shows that that was indicative of their age because

 2     the images inside were consistent with that age, and because

 3     the defendant had other folders titled "Kat-Russian-34," which

 4     contained images of a female that appeared to be in her early

 5     or mid-thirties.

 6                 He also titled "real lolicon" and "real women,"

 7     folders that were right next to each other, to demonstrate the

 8     defendant knows the difference.           The evidence shows he knows

 9     what a real woman is and he knows what "real lolicon" is, and

10     he likes to keep those things separate.             He likes to keep it so

11     that it's very clear where he wants to look, what he wants to

12     look at.

13                 And the pictures and videos themselves, you've seen

14     these pictures.       You've seen them.       You know what they depict,

15     and any reasonable person would know within 10 seconds what

16     they depict.      They depict children.        They don't depict adults,

17     and they depict children engaged in sexually explicit conduct.

18                 And the testimony as well.          The testimony of

19     A       P         .   Never lied to the defendant about her age.

20     Consistently told him she was 15.            When she had her 16th

21     birthday, she was 16.        Under the age of 18.

22                 Finally, the fourth element, you must find the visual

23     depiction had been either mailed, shipped, or transported in

24     interstate or foreign commerce by any means, including by

25     computer, or produced using material that had been mailed,



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0073
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 76 of 229

                                                                                       47
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     shipped, or transported in interstate or foreign commerce.

 2                 So it's "or."      One or the other.        And again, this is

 3     the interstate commerce.         And in this case there's evidence as

 4     to both.     There's evidence that these images were mailed,

 5     shipped or transported in interstate or foreign commerce, and

 6     there's evidence that they were produced using material that

 7     had been mailed, shipped or transported.

 8                 So the folders, "Kik" and "Kik3," and "download,"

 9     indicative of Internet or Internet-based applications as well

10     as Skype chats, essentially phone calls or use of phone

11     communications that the defendant used to possess and the

12     images traveled over, especially A                P         , the Skype

13     images traveled over phone communications.

14                 Additionally, as we've just talked about, as it

15     concerns A         P         , those images were produced using

16     materials that had traveled in interstate commerce.                    The SD

17     card made in China.        The Samsung phone that this SD4 or --

18     excuse me -- this SD card fit into, made outside of the

19     United States.

20                 Identity.     This is the defendant's SD card.              The

21     evidence overwhelming demonstrates that.

22                 Identifying documents on the SD card.             The defendant's

23     resume, the defendant's birth certificate, the defendant's

24     altered birth certificate.          There's nothing to indicate

25     Rachael Saito has identifying documents, or any documents on



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0074
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 77 of 229

                                                                                     48
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     this SD card.      There's nothing to show Stephen Baltazar has

 2     anything on this SD card.         This is the defendant's SD card, and

 3     it contains items unique and identifying to him.

 4                  It contains photos, clothed and unclothed, and they're

 5     in folders "me" and "me restricted."            He's telling you whose SD

 6     card this is.      And in that "me restricted," over a hundred

 7     photographs of the defendant exposing his penis.                Photos that

 8     the defendant would then send to R                , S          , C     , and

 9     T        .

10                  And there's those videos that we just talked about,

11     videos that depict the defendant having sex with underage

12     girls.    Videos that the defendant saved on this SD card because

13     it's his SD card.       The SD card that he used to possess child

14     pornography.

15                  So as to Count Five, the evidence shows the defendant

16     is guilty of the offense of Possession of Child Pornography.

17                  These are the simple facts.         The evidence is

18     overwhelming, and the only verdict that the evidence is

19     consistent with is the evidence [sic] we ask that you return, a

20     verdict as to guilty as to all counts.

21                  Thank you.

22                  THE COURT:     Mr. Smith?

23                  MR. SMITH:     Thank you, Your Honor.

24                  Ms. Roohani, Mr. Burton, Special Agent Flaherty,

25     ladies and gentlemen of the jury, I'm going to keep my remarks



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0075
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 78 of 229

                                                                                   49
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     kind of brief in this case.          What I want to remind you of,

 2     first of all, is what I told you in my earlier remarks, in my

 3     opening statement, is that the images that you were going to be

 4     shown were very likely to elicit a visceral reaction, a gut

 5     reaction from you, because that would certainly be normal.

 6     However, with that being said, you have to try to detach

 7     yourself from that and you have to take a look at this evidence

 8     with a clinical eye.        The reason being is that you are now --

 9     you have a duty and an obligation, and it's really a sacred one

10     because you're now being asked to sit in judgment over another

11     human being (indicating), and as I've said in court many times

12     in the past, the power to judge is the power to destroy.               So

13     the government -- that's the reason, that's the reason why, in

14     our system, the government has to be held to their burden of

15     proof, the burden of proof beyond a reasonable doubt.

16                 Now, Mr. Burton has just given you a very effective

17     presentation.      He's a hard act to follow, I'll say that, but

18     there are certain things about this -- about this case that I

19     find troubling.       What I find troubling in the first instance is

20     the testimony of Rachael Ismail.           Rachael Ismail sat on the

21     witness stand and lied to your faces.             She said that she found

22     that SD card stuck to her leg in bed.             Lonny had spent the

23     night.    She said she was actually afraid of him, but he helped

24     her move, he spent the night in her house.              And the reason that

25     we know that she was lying to you is the testimony of



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0076
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 79 of 229

                                                                                  50
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     Mr. Finnegan from Samsung, who explained to you that to get

 2     that SD card out of the phone, you had to take the -- take off

 3     the back of the phone.         It doesn't magically pop out by itself.

 4                 The reason I bring these things up, ladies and

 5     gentlemen, is that it's going to be your job to evaluate the

 6     credibility of the witnesses and to decide what weight to give

 7     their testimony and that is going to be based on your common

 8     sense and on your life experience.

 9                 The young officer, Police Officer Bianco, very nice

10     young man, who testified briefly.            He didn't have a whole lot

11     to say.    He was the one, I believe, who impounded the evidence.

12     Didn't put it in the envelope.           I don't know who did that, I

13     don't recall, and described the process of putting it in the

14     trunk of his car in a manila envelope and assigning an event

15     number to it.      But he didn't do any kind of investigation into

16     the person who was, at the time, in possession of this card

17     containing this material.         That -- that guy was just ignored,

18     basically.

19                 Bear with me folks.        I don't have a script that I'm

20     reading to you.       I just have to, from time to time, refer to my

21     notes because I -- if I don't, I'll forget things.

22           (Brief pause in proceedings.)

23                 MR. SMITH:      Concerning the numbers next to the names

24     of the files with the names of the girls, the numbers 13, 14,

25     15, 16, whatever, this is something that you're going to have



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0077
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 80 of 229

                                                                                     51
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     to decide based on the weight and the credibility of the

 2     testimony that you've heard because we don't have anything else

 3     to corroborate it.       We haven't seen -- you know, we haven't

 4     seen a birth certificate.         We haven't seen -- we haven't heard

 5     testimony from any of the parents or anything like that; we

 6     just have the statements of the girls saying, well, I was this

 7     age at that time.       And some of these girls were -- at the

 8     tender age that they might have been were sending nude

 9     photographs of themselves out on social media.               I'm not trying

10     to portray them as villains in this play, but it is something

11     to think about, that you have to -- if you're going to find

12     Mr. Ditirro guilty of these charges, you have to take what they

13     said at face value.

14                 Now, those numbers that are next to their names

15     might -- might be that, or it might be something else.                 We

16     don't really know.       I mean, you would have to make an

17     assumption, but assumptions don't lead to proof beyond a

18     reasonable doubt.

19           (Brief pause in proceedings.)

20                 MR. SMITH:      R      's testimony, R            B          's

21     testimony, was kept mercifully brief and my questions of her, I

22     made it real quick because something has -- has. . . affected

23     this girl very deeply.          It was obvious that she was very

24     distraught on the witness stand.           What the reason for that is,

25     is unknown to me, but it was not appropriate to -- to try and,



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                         SER 0078
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 81 of 229

                                                                                     52
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     for lack of a better word, attack her or attack her

 2     credibility.      I mean, she was visibly upset.           Significantly,

 3     she didn't remember meeting Lonny Ditirro, which I thought

 4     was -- I thought was rather odd under the circumstances of the

 5     rest of her testimony.

 6                 T          H           testified that she came into contact

 7     with Mr. Ditirro on this website called MeetMe and she said she

 8     was 13 years old at the time.            Agreed to -- agreed to have a

 9     sexual and/or relational -- I'm sorry.             Agreed to have a

10     relationship with him that was sexual in nature.                Now, if she

11     was, in fact, 13 years old, she can't.             She's incapable of

12     giving consent, but, again, that's for you to determine if her

13     age is what she said it was.

14                 Significantly, she said she had sex with Lonny every

15     night for a month in her grandmother's house, and there were

16     certain -- there were certain things that were said by some of

17     the witnesses in this case that -- sorry.              I have a tendency to

18     walk around and the court reporter will miss what I'm saying.

19     Usually, I'm pacing, if this were a state court case.                  I guess

20     the level of adult supervision here is irrelevant.                Doesn't

21     mean anything one way or the other, but it did sort of raise my

22     eyebrows when I heard testimony like this, and also testimony

23     from S            M        .   S        , who claimed she was 15 at the

24     time, stayed in her bedroom with her mother and her stepfather

25     in the same house.



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0079
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 82 of 229

                                                                                       53
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1                 When I was growing up, that wouldn't have happened in

 2     a million years, for what it's worth.             For what it's worth is

 3     you have to gauge the -- you have to gauge the credibility of

 4     the witnesses and their testimony.            That's your job.         That's

 5     your responsibility.

 6                 And the last comment that I really have to make before

 7     you go off to deliberate is that A                P          also lied to

 8     you on the witness stand.         Now, maybe she had her reasons.

 9     Maybe she was embarrassed or maybe because her father was in

10     the courtroom, but she flat out, straight-up lied to your

11     faces.    Because she said that they -- you know, they just had a

12     friendly relationship and that was about all there was to it

13     until I asked some questions of her and then I believe

14     Ms. Roohani asked some follow-up questions and she admitted

15     that she had been in a sexual relationship with Mr. Ditirro.

16                 So that, ladies and gentlemen, is a brief -- very

17     brief -- recap of the testimony that you heard in this case.

18     Again, it is up to you to leave your emotions at the courthouse

19     door.    This is -- this is emotional stuff, I know.              Believe me,

20     I'm not -- not trying to pull the wool over your eyes, but you

21     really have to be very clinical about this.              You have to

22     evaluate the credibility of all of the witnesses in this case

23     before you come to your ultimate conclusion.

24                 And with that being said, I thank you very much for

25     your time and attention.



               HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0080
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 83 of 229

                                                                                     54
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1                 THE COURT:      Ms. Roohani.

 2                 MS. ROOHANI:      Thank you, Your Honor.

 3                 And Denise, can I ask for your assistance with the

 4     ELMO, please?

 5                 Ladies and gentlemen, I'm not as tech savvy as my

 6     colleague here so I work with paper and ELMO machine, so I

 7     apologize, I don't have a PowerPoint prepared, but I do have a

 8     few things I'd like to say to you.

 9                 Mr. Smith, our esteemed colleague, has worked

10     diligently on this case.         Mr. Burton and I have worked on this

11     case.    And Mr. Smith told you about our burden of proof.                It's

12     high.    It's beyond a reasonable doubt.           We recognize that it's

13     a high burden.      It's our honor to meet that burden, and we have

14     met it in this case.        It's high because it's supposed to be.

15     And Mr. Burton and I, in presenting the evidence over the

16     course of the last few days to you, have met that burden.

17                 Let's talk about that.         Let's talk about some of the

18     things that Mr. Smith talked to you about.

19                 First, let's start with these girls.             Mr. Smith

20     indicated to you that they couldn't consent to this.                   I want to

21     make a distinction.        There's a difference between consenting to

22     sex and consenting to be recorded when having sex.                There's no

23     indication here that these sexual acts occurred when the girls

24     were over the age of 18.         In fact, all of the evidence that

25     you've heard, from every single witness, is that these sex acts



               HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0081
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 84 of 229

                                                                                      55
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     occurred when they were under the age of 18, which means that

 2     none of these girls could have consented to being recorded.

 3                 Why?    Why is the law written that way?           Because we

 4     recognize that children are vulnerable, that children make

 5     really dumb decisions.         And, so, the law is written that way

 6     because adults are supposed to protect children.

 7                 And let's be clear, those girls that testified before

 8     you are children, or they were, when the defendant decided to

 9     have sex with them, decided to lie to them about his age, and

10     used his lies about his love for them and his age and what he

11     was going do for them to induce them not only to have sex with

12     him, but to not fight off that recording.

13                 Now, Mr. Smith talked about parents.              You might be

14     wondering, "Where are the parents in this equation?"                   Let's

15     talk about the parents.         S          M      ' mom did her job.       She

16     looked up Mr. Ditirro online, and what did he do?                He falsified

17     a birth certificate and produced it to her.              She did her job.

18     But his lies worked.        That's the coercion; that's the

19     inducement; that's the enticement.             That's how Mr. Burton and I

20     have proved this case because, quite frankly, ladies and

21     gentlemen, there's nothing that Mr. Burton and I did here; it's

22     everything that the defendant did.             You heard these girls.

23                 Now, Mr. Smith told you that R                B            ,

24     something had affected her.          Absolutely right.        The defendant

25     having sex with her when she asked him not to, and recording



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0082
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 85 of 229

                                                                                  56
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     her when she was covering her face, that's what affected her.

 2     She told you what affected her.           She said she had been

 3     traumatized by this, and that's why it was difficult for her to

 4     testify.

 5                  Now, the other girls, they all told you they believed

 6     the defendant was 18 years old.           Every single one of them told

 7     you that they would not have even spoken to him if they had

 8     realized that he was double their age.

 9                  Mr. Smith tells you that the numbers that are next to

10     these girls' names, you can only assume -- that's just purely

11     an assumption -- as to that being an age.

12                  I'd like to direct your attention to Jury Instruction

13     No. 8.    I'm going to put it up on the screen for you.

14                  Mr. Smith told you there's no evidence to suggest that

15     it's anything other than a number.            You saw some of the photos

16     that were inside of these folders.            You saw -- you can use your

17     common sense, your reasoning, your common experience and

18     engaging with people in the world, and you actually have the

19     evidence.     You can go into that thumb drive, you can open up

20     those folders, you can look at the girls that are inside of

21     each of those folders, and you can decide, is that an age, or

22     is that just a random number that the defendant assigned to

23     each girl.     And if so, why did 14 happen to be the exact age

24     R        B            was when he met her?        Why was 13 the exact age

25     that T           H       was when he met her and had sex with her?



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0083
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 86 of 229

                                                                                        57
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     Why was 15 the exact age that C                 A       was when he had sex

 2     with her?     Is it a pure coincidence?         Or did the defendant know

 3     exactly how old these girls were and he was cataloguing his

 4     behavior with these girls and keeping it as a record of his

 5     activities?

 6                 Now, I want to talk a little bit about Rachael Ismail

 7     and Officer Bianco and really Officer Wilson and kind of the

 8     insinuation that's been made here throughout the trial, and it

 9     reminds me of the end of the Wizard of Oz, so bear with me for

10     just a moment.      You remember at the end of the movie, Dorothy

11     and her friends, they get to the Emerald City, they go to see

12     the Wizard and they show up and they see the hologram of the

13     face of the Wizard and the fire and the smoke and the lights

14     and the noise and then, unsuspecting Toto goes and pulls that

15     curtain back.      And what's behind that curtain?           Just a man with

16     a bunch of lights and action.           And what does he say?          "Pay no

17     attention to the man behind the curtain."

18                 That's what Mr. Ditirro's asking you to do.                Pay no

19     attention to the man behind the camera recording the sex acts

20     with these girls.       Pay attention to the fact that

21     Rachael Ismail is a flighty witness.            Pay attention to the fact

22     that Officer Bianco testified that he did, in fact, impound

23     this card the exact way that Metro had trained him to do, and

24     pay attention -- don't pay attention to all of the evidence

25     that came out once the forensic examination had been done.



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0084
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 87 of 229

                                                                                   58
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1                 Now, Rachael Ismail.        She was special, wasn't she?

 2     Ms. Ismail could not understand what the word "physically"

 3     meant, and Mr. Burton had to ask her six times when the last

 4     time was that Mr. Ditirro was physically in her apartment.

 5                 Do you remember that?

 6                 She couldn't provide a single straightforward answer

 7     to any question that Mr. Burton asked, or that Mr. Smith asked.

 8     She gave you a stream of consciousness response about the

 9     philosophical meaning of love as opposed to answering a simple

10     straightforward question.

11                 Now, ladies and gentlemen, that woman that you saw

12     testify, ask yourself, could she concentrate on a task long

13     enough to -- and Forensic Examiner Trafford told you, it would

14     have been a full-time job would to be able to do this -- to

15     collect all of the images of these girls, to create the folders

16     with the different names and the numbers that are associated

17     with it, to have ESP to figure out real dates that corresponded

18     with real human beings that the defendant met with them, change

19     the file names to correspond with that, and then repeatedly

20     change the date and time on her computer to somehow "plant"

21     evidence on the defendant.          Is that reasonable?        You get to

22     decide that.

23                 And even, ladies and gentlemen, even if she could do

24     those things, where did she get videos of the defendant having

25     sex with girls who were half his age?             Where would she have



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0085
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 88 of 229

                                                                                   59
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     gotten those videos from?

 2                 The defendant told you that he used his phone.             He

 3     told you that he used the SD cards.            The girls told you that he

 4     recorded them using that phone.           He was the person in

 5     possession of those videos.          Where would she have gotten that

 6     from?

 7                 And even if Ms. Ismail had found that SD card in the

 8     middle of the wilderness, would it have changed a single thing

 9     about what was on it?        And the answer to that is no, it really

10     wouldn't.

11                 The fact of the matter is, is that the evidence is

12     undeniable, and you have access to all of it.               You can look at

13     it if you want to.       You can rely on the testimony of the

14     witnesses, if you want to.          But in the end, when you give

15     thoughtful consideration to this evidence, there's really only

16     one verdict that that evidence supports, and that's a verdict

17     of guilt.

18                 Thank you.

19                 THE COURT:      Court Security Officer will come forward

20     and take the oath.

21                 COURTROOM ADMINISTRATOR:          "You do solemnly swear to

22     keep this jury together in some private and convenient place,

23     that you will not permit any person to speak or communicate

24     with them nor do so yourself unless by order of the Court or to

25     ask them whether they have agreed upon a verdict and that you



               HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0086
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 89 of 229

                                                                                  60
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     will return them into court when they have agreed upon a

 2     verdict and that you will return them into court when they have

 3     so agreed or when ordered by the Court, so help you God?"

 4                 COURT SECURITY OFFICER:         I do.

 5                 THE COURT:      Thank you.

 6                 Members of the jury, the case is now submitted to you

 7     for deliberation and verdict.

 8                 With respect to the -- positions 13 and 14, you will

 9     be held in reserve pending notification from the clerk whether

10     you are needed or not needed.           You'll not participate in

11     deliberations at this time.          However, you will -- as indicated,

12     you will be held in reserve in case you are needed, and that

13     would happen only if one of the 12 are disqualified for some

14     reason.

15                 So, what I would like you to do is to -- before

16     deliberations commence, is to go into the jury room and

17     retrieve whatever personal effects you have in there and I will

18     meet you in the hallway outside of the jury room to provide you

19     with your juror attendance certificates and also to instruct

20     you on the contact information that will allow the clerk to

21     immediately contact you in case you are needed.                If it happens

22     that you are needed, you will be assigned in the order of your

23     seating now, and the -- the jury will commence deliberations

24     from the very beginning if you are called in.

25                 So, go ahead and go to the jury room and I -- as I



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0087
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 90 of 229

                                                                                  61
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     indicated, I will meet Ms. Spangler and Mr. Hutchings just

 2     outside in just a moment.

 3          (Jury retired to deliberate at 11:04 a.m.)

 4                 THE COURT:      All right.     Counsel, if you will make sure

 5     that Denise has phone numbers where you can be contacted

 6     immediately in case there are any questions that come out of

 7     the jury room I'll be able to consult with you.

 8                 Anything further?

 9                 MS. ROOHANI:      No.    Thank you, Your Honor.

10                 MR. SMITH:      No, Your Honor.      Thank you.

11                 THE COURT:      Are you okay with me discussing with these

12     two alternates their responsibility to -- to continue under the

13     admonition?

14                 MS. ROOHANI:      Yes, Your Honor.

15                 MR. SMITH:      Yes.    I'm fine with it, Judge.

16                 THE COURT:      Okay.    Thank you.

17                 All right.      We're in recess.

18          (Recess was taken at 11:05 a.m.)

19          (Outside the presence of the jury at 11:59 a.m.:)

20                 COURTROOM ADMINISTRATOR:          All rise.

21                 THE COURT:      The Court is informed that the jury has

22     reached verdicts.

23                 Anything before we bring in the jury?

24                 MS. ROOHANI:      No, Your Honor.

25                 MR. SMITH:      No thank you, Your Honor.



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0088
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 91 of 229

                                                                                  62
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1                 THE COURT:      All right.

 2           (Brief pause in proceedings.)

 3           (Jury returned to courtroom with verdict at 12:00 p.m.:)

 4                 THE COURT:      Please be seated.

 5                 Will the foreperson of the jury please rise.

 6                 JUROR NO. 4:      (Indicating).

 7                 THE COURT:      Has the jury reached a verdict on all

 8     counts?

 9                 JUROR NO. 4:      Yes.

10                 THE COURT:      Have you filled in your verdict on each of

11     the counts and signed and dated the form?

12                 JUROR NO. 4:      Yes.

13                 THE COURT:      Would you please hand that to the Court

14     security officer?

15                 JUROR NO. 4:      (Juror complies).

16                 THE COURT:      Thank you.

17                 The clerk will read the verdict.

18                 COURTROOM ADMINISTRATOR:          "United States of America

19     vs. Lonny Joseph Ditirro, Jr., 2:16-cr-216-KJD-VCF.

20                 "Verdict Form.

21                 "We, the jury, in the above-entitled case upon our

22     oath do say:

23                 "Number 1.      That we find the defendant Lonny Joseph

24     Ditirro, Jr., guilty of the offense of sexual exploitation of

25     children, R.B., charged in Count One of the Indictment;



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0089
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 92 of 229

                                                                                  63
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1                 "Number 2.      That we find the defendant Lonny Joseph

 2     Ditirro, Jr., guilty of the offense of sexual exploitation of

 3     children, C.A., charged in Count Two of the Indictment;

 4                 "Number 3.      That we find the defendant Lonny Joseph

 5     Ditirro, Jr., guilty of the offense of sexual exploitation of

 6     children, S.M., charged in Count Three of the Indictment;

 7                 "Number 4.      That we find the defendant Lonny Joseph

 8     Ditirro, Jr., guilty of the offense -- offense of sexual

 9     exploitation of children, T.H., charged in Count Four of the

10     Indictment;

11                 "Number 5.      That we find the defendant Lonny Joseph

12     Ditirro, Jr. guilty of the offense of Possession of Child

13     Pornography charged in Count Five of the Indictment," dated

14     this 17th day of October, 2018, signed by the foreperson --

15     foreperson.

16                 THE COURT:      Thank you, Ms. Clerk.

17                 Does either side wish to have the jury polled?

18                 MS. ROOHANI:      Not from the government, Your Honor.

19                 MR. SMITH:      No, Your Honor.      Thank you.

20                 THE COURT:      All right.     Thank you.

21                 Members of the jury, you have now completed your

22     service as jurors.       I want to thank you for your time and also

23     for the attention that you've shown throughout the presentation

24     of evidence.      You're now discharged.

25                 I will meet you in the jury room momentarily to hand



             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0090
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 93 of 229

                                                                                      64
                       2:16-cr-216-KJD-VCF - October 17, 2018


 1     you your certificate of juror's attendance and, again, thank

 2     you for your service.        You are discharged.

 3           (Jury excused from courtroom at 12:03 p.m.)

 4                 THE COURT:      Sentencing date, Ms. Clerk?

 5                 COURTROOM ADMINISTRATOR:          Yes, Your Honor.

 6                 Wednesday, February 6th, 2019, at 9:00 a.m.

 7                 MR. SMITH:      I'm sorry, Ms. Saavedra, that was the 5th;

 8     right?

 9                 COURTROOM ADMINISTRATOR:          The 6th.

10                 MR. SMITH:      The 6th.

11                 COURTROOM ADMINISTRATOR:          Yes.

12                 MR. SMITH:      I'm sorry.     I think I'm getting hard of

13     hearing.

14                 COURTROOM ADMINISTRATOR:          No problem.

15                 MR. SMITH:      Thank you, Judge.        That helped.      Those

16     visual aids at my age are really helpful.

17                 THE COURT:      Okay.    We are adjourned.

18                 MR. SMITH:      Thank you, Your Honor.

19                 THE COURT:      Thank you.

20                 MS. ROOHANI:      Thank you, Your Honor.

21           (Proceedings adjourned at 12:04 p.m.)

22     ///

23     ///

24     ///

25     ///



              HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0091
     Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 94 of 229


                       2:16-cr-216-KJD-VCF - October 17, 2018


 1                                         --oOo--

 2                            COURT REPORTER'S CERTIFICATE

 3

 4              I, Heather K. Newman, Official Court Reporter, United

 5     States District Court, District of Nevada, Las Vegas, Nevada,

 6     do hereby certify that pursuant to Section 753, Title 28,

 7     United States Code, the foregoing is a true, complete, and

 8     correct transcript of the proceedings had in connection with

 9     the above-entitled matter.

10

11     DATED:    2-27-2019                  _/s/ Heather K. Newman
                                       Heather K. Newman, CCR #774
12                                     OFFICIAL FEDERAL REPORTER

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             HEATHER K. NEWMAN, RPR, CRR, CCR 774 - (702) 471-0002
                                                                       SER 0092
Case:2:16-cr-00216-KJD-VCF
Case  19-10250, 09/21/2020, ID: 11830255,
                              Document 80DktEntry: 30, PagePage
                                          Filed 04/24/18    95 of1229
                                                                   of 5




                                                                  SER 0093
Case:2:16-cr-00216-KJD-VCF
Case  19-10250, 09/21/2020, ID: 11830255,
                              Document 80DktEntry: 30, PagePage
                                          Filed 04/24/18    96 of2229
                                                                   of 5




                                                                  SER 0094
Case:2:16-cr-00216-KJD-VCF
Case  19-10250, 09/21/2020, ID: 11830255,
                              Document 80DktEntry: 30, PagePage
                                          Filed 04/24/18    97 of3229
                                                                   of 5




                                                                  SER 0095
Case:2:16-cr-00216-KJD-VCF
Case  19-10250, 09/21/2020, ID: 11830255,
                              Document 80DktEntry: 30, PagePage
                                          Filed 04/24/18    98 of4229
                                                                   of 5




                                                                  SER 0096
Case:2:16-cr-00216-KJD-VCF
Case  19-10250, 09/21/2020, ID: 11830255,
                              Document 80DktEntry: 30, PagePage
                                          Filed 04/24/18    99 of5229
                                                                   of 5




                                                                  SER 0097
     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 74DktEntry: 30, PagePage
                                               Filed 10/30/17    100 of 229
                                                                     1 of 11


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     Attorney for DITIRRO
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 6
                                UNITED STATES DISTRICT COURT
 7
                             IN AND FOR THE DISTRICT OF NEVADA
 8
 9   UNITED STATES OF AMERICA,                )
                                              )
10                        Plaintiff,          )
                                              )      Case No.:    2:16-cr-00216-KJD-VCF
11   vs.                                      )
12                                            )
     LONNY DITIRRO,                           )      SUPPLEMENT TO DEFENDANT’S
13                                            )      OBJECTIONS TO MAGISTRATE’S
                                              )      REPORT AND RECOMMENDATION
14          Defendant.                        )
                                              )
15
                                              )
16
            Defendant LONNY DITIRRO through his attorney BRIAN J. SMITH, ESQ., respectfully
17
     submits this Supplement to Defendant’s Objection to Magistrate Judge Cam Ferenbach’s Report
18   and Recommendation. (See ECF No. 43). This supplement is made and based upon the attached
19   memorandum of points and authorities and exhibits, the documents already on file, and the
20   arguments at any hearing granted.
21          DATED this 30th day of October 2017.

22
23                                                          /s/ Brian J. Smith
24                                                   BRIAN J. SMITH
                                                     Law Office of Brian J. Smith, LTD.
25                                                   Attorney for DITIRRO

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                                                                             SER 0098
     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 74DktEntry: 30, PagePage
                                               Filed 10/30/17    101 of 229
                                                                     2 of 11



 1
                                   Memorandum of Points and Authorities
 2
 3
     I. Introduction
 4
             In the report and recommendation of Magistrate Judge Cam Ferenbach (ECF No. 43), it
 5
 6   was determined that there was not an unreasonable delay in the obtaining of the search warrant in

 7   this case. In other words, the report and recommendation suggests that it did not violate the 4th
 8   Amendment’s protection against unreasonable searches and seizures to hold the SD card owned by
 9
     Ditirro for a period of three months.
10
             In making this determination the Magistrate made several assumptions about the facts of
11
     the case, concluding, “Ditirro’s possessory interests and the actual interference with those interests
12
13   were minimal.” (See ECF No. 43, at 11, line 17-18). The Magistrate suggests that Ditirro never

14   sought the return of the property, that he could nevertheless use alternative SD cards, and that it is
15   significant that Ditirro lost the card. Id at 11.
16
17   II. Argument

18           It is clear that after seizing an item, police must obtain a search warrant within a reasonable
19
     period of time. Segura v. U.S., 468 U.S. 796 (1984). “Officers who [delay in obtaining a warrant]
20
     will recognize that whatever evidence they discover as a … result of the [delay] may be
21
     suppressed.” Id at 812. The entire process must take “no longer than reasonably necessary for the
22
23   police, acting with diligence, to obtain the warrant.” Illinois v. McArthur, 531 U.S. 326, 332, 121

24   S. Ct. 946, 951, 148 L. Ed. 2d 838 (2001). The reasonableness of the length of a delay in obtaining
25   a search warrant involves a weighing of “the nature and quality of the intrusion on the individual’s
26
     4th Amendment interests against the importance of the governmental interests alleged to justify the
27
     intrusion.” United States v. Place, 462 U.S. 696, 703, 103 S. Ct. 2637, 2642, 77 L. Ed. 2d 110
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                                                                                       SER 0099
     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 74DktEntry: 30, PagePage
                                               Filed 10/30/17    102 of 229
                                                                     3 of 11


     (1983).
 1
               In the analysis of the individual interests of Ditirro in the SD card, the Court primarily
 2
 3   notes that Ditirro lost the card. This is not an established fact. At the evidentiary hearing, it is

 4   revealed that Ismail may have been with Ditirro on the day she came into possession of the SD
 5   card. See Evidentiary Hearing, page 159. It is also revealed, both in the phone conversation with
 6
     Detective Tooley and through the testimony of Torrez, that Ismail is worried about being cheated
 7
     on and has investigated Ditirro’s electronic media in attempt at discovering infidelity. See e.g,
 8
 9   Detective Tooley Rachel Ismail Recorded Interview, 11-30-15, 5:40-6:10; Evidentiary Hearing,

10   page 159, line 5-7 (Torrez states that Ismail recovered the SD card while Ditirro was in the shower

11   at her place).
12
               It is not insignificant that the record contains several inconsistent statements from Ismail
13
     concerning when she last saw Ditirro and when and how she recovered the SD card. C.f.
14
     Evidentiary Hearing at 14, line 3-8; at 33, line 5-13, Evidentiary Hearing at 33, line 8-13,
15
16   Detective Tooley Rachel Ismail Recorded Interview, 11-30-15, 16:00-16:30; 17:00-18:16. It is

17   clear that as soon as she came into possession of the card, he reports repeatedly asking for it back

18   from her. Detective Tooley Rachel Ismail Recorded Interview, 11-30-15, 18:25-19:01. This
19
     suggests he had strong suspicions that Ismail had his card and was keeping it from him. Further, it
20
     is likely that Ismail took the card from Ditirro’s possessions in attempt to shed light on her
21
     preoccupation with Ditirro’s possible affair.
22
23             The fact that Ditirro may have owned other SD cards should not factor towards the analysis

24   of individual 4th Amendment interest. His interest involved a privacy and possessory interest in
25   the contents of that particular card, something that cannot be considered to be coequal with another
26
     card containing separate data. Modern SD cards can hold an extremely large amount of personal
27
28

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                                                                                          SER 0100
     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 74DktEntry: 30, PagePage
                                               Filed 10/30/17    103 of 229
                                                                     4 of 11


     data. The subject card contained unique data that belonged to Ditirro and such data is central to his
 1
     possessory interest to be considered in the above mentioned 4th Amendment analysis.
 2
 3          As recognized by the Magistrate, Ismail and Torrez refused to tell Ditirro where the SD

 4   card was. Thus, Ditirro would not have known nor could have known to request the card back
 5   from law enforcement. As a result, that Ditirro “never sought return of the property” is a moot
 6
     point and not relevant to the above analysis. In fact, as explained by Ismail, Ditirro repeatedly
 7
     asked for the card back from her, but she ignored his requests. Ditirro made his possessory interest
 8
 9   clear. This possessory interest should not be considered “minimal” as no factor explained above

10   significantly diminishes the interest. This individual possessory interest can only be outweighed

11   then by an important, reasonable government interest that justifies the type of intrusion.
12
            Turning to the side of government interest, the delay entailed a time period of three
13
     months. The Magistrate’s report and recommendation suggests two months passed before
14
     Detective Tooley applied for a search warrant. See ECF No. 43, at 12, line 7-8. Further delay
15
16   beyond the application itself is reportedly due to the “heavy caseload” of the department and the

17   need to “prioritize cases.” Nothing offered by the Government points to an exigency or need to

18   preserve the evidence while a diligent effort to obtain a warrant was active. See e.g., Illinois v.
19
     McArthur, 531 U.S. 326, 337, 121 S.Ct. 946, 148 L.Ed.2d 838 (2001)(delay in obtaining search
20
     warrant justified by exigency of possible evidence destruction, found to ‘limited and tailored
21
     reasonably to secure law enforcement needs while protecting privacy interests.’).
22
23          In United States v. Song Ja Cha, 597 F.3d 995, 1005 (9th Cir. 2010), the Ninth Circuit

24   found that a seizure of a residence for at least 26.5 hours without a warrant was unreasonable. The
25   Court points to “systemic” errors committed by police, resulting in an extended delay without
26
     justification. In Song Ja Cha, police had delayed completion of their reports, application for search
27
     warrant, and the execution of the search warrant itself without a reasonable, justifiable purpose.
28

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     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 74DktEntry: 30, PagePage
                                               Filed 10/30/17    104 of 229
                                                                     5 of 11


     The government argued to the Court that despite the delay, officers were “extraordinarily diligent
 1
     and worked tirelessly around the clock.” United States v. Song Ja Cha, 597 F.3d 995, 1000 (9th
 2
 3   Cir. 2010). However, the Court found that nevertheless “they took a much longer time than was

 4   reasonably necessary to obtain the warrant.” Id at 1001. Moreover, when a suspect is not in
 5   custody yet his property is the subject of a seizure, possessory interests are much stronger instead
 6
     of “virtually nonexistent” for someone in custody. Id at 1002. The Court focuses on the fact that
 7
     Mr. Cha, the suspect in the case, was rendered homeless for the duration of the seizure, could not
 8
 9   contest the seizure, and was also not in custody at the time. Id. The Court did not find the officers

10   acted in bad faith, bur rather that the delay was longer than necessary when juxtaposed to the

11   individual possessory interests involved. Bad faith is thus not a necessary element of a finding of
12
     unreasonable delay in obtaining a search warrant. There were chances for moving things along
13
     faster, such as officers “having all day Sunday to obtain the warrant before the late-night-hour of
14
     10 p.m.,” but no reasonable explanation was given to justify the delay. Id at 1001.
15
16          In the present case, Ditirro was not in custody and was not on notice of any investigation.

17   He had no ability to ask for the card back from law enforcement because that fact was hidden from

18   him. Effectively, the government was able to hold his property for a three-month period without
19
     the normal protections afforded to such property interests. The Magistrate focuses on the fact that
20
     private actors handed over the property to police, most notably that Ditirro “lost” the card. As it is
21
     not clear that the card was ever lost and may have been taken from Ditirro’s property, it is also not
22
23   clear that his interests in the card were “minimal.” The Supreme Court has recognized that the

24   contents of cell phones, containing data in similar amounts and quality to an SD card, are a high
25   privacy item in which individuals have a particularly powerful possessory interest. Riley
26
     v. California, 134 S. Ct. 2473, 2484-9, 189 L. Ed. 2d 430 (2014) (cell phone is like a minicomputer
27
     capable of storing an immense amount of personal and sensitive information), see also United
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                                                       5
                                                                                       SER 0102
     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 74DktEntry: 30, PagePage
                                               Filed 10/30/17    105 of 229
                                                                     6 of 11


     States v. Winn, 79 F.Supp.3d 904, 914 (S.D. Ill. 2015) (items like cell phones enjoy a high privacy
 1
     protections due to the amount of personal data on the storage of the phone, as in photos, emails,
 2
 3   letters, music, and other tools for managing and documenting a personal life).

 4          It is not insignificant that “the purpose of the diligence requirement is to ensure that
 5   property thought to contain contraband can be returned promptly to its owners to limit the
 6
     intrusion on their possessory interests, should contraband not be found.” United States v. Johnson,
 7
     806 F.3d 1323, 1349 (11th 2015). Furthermore, “when law enforcement is aware of or should be
 8
 9   aware of who the owners of seized property are, they must act diligently so the purpose underlying

10   the rule will be effectuated.” Id. In United States v. Winn, 79 F.Supp.3d 904, 915 (S.D. Ill. 2015),

11   the Court noted that a delay linked merely to departmental organization of officers or otherwise
12
     failing to give officers adequate resources to process warrant applications cannot justify an
13
     unreasonable delay in obtaining a search warrant. Speaking of a nine-day period of delay in
14
     obtaining a search warrant, the Winn Court explains:
15
16                  Even if the Court accepted that Detective Lambert could not work on the case

17                  during his off days or while he was the training, that still means it took him- a

18                  detective with over ten-years’ experience- three full days to conduct his portion of
19
                    the investigation regarding a misdemeanor crime and prepare a two-page warrant
20
                    application, only half of which contained original content. This timeline is a strain
21
                    on the imagination.
22
23                  United States v. Winn, 79 F.Supp.3d 904, 915 (S.D. Ill. 2015).

24   Issues involving failure or delay of delegation of tasks related to obtaining search warrants, failure
25   to staff, or to adequately give officers sufficient resources to process warrant applications could
26
     lead to a delay that become constitutionally unreasonable. United States v. Burgard, 675 F.3d
27
     1029, 1035 (7th Cir. 2012). In particular, a delay involving non-complex and mostly boilerplate
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     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 74DktEntry: 30, PagePage
                                               Filed 10/30/17    106 of 229
                                                                     7 of 11


     type affidavit is less likely to be reasonable. See e.g., Id at 1034.
 1
             In the instant case, the following facts have been relied upon in assessing the handling of
 2
 3   the search warrant application: (1) Metro obtained the card September 10, 2015, (2) Nothing

 4   happened until late November, when Detective Tooley was assigned to the case, (3) Detective
 5   Tooley applied for a search warrant on December 2, 2015, (4) there was a “heavy caseload at any
 6
     given time and as a result they were forced to prioritize cases. (See ECF No. 43, page 12, line 5-
 7
     13).
 8
 9           Other than departmental staff and resource related issues, nothing exigent or imperative

10   took place that would justify a lengthy delay of three months. Detective Tooley has ample

11   experience, her career spans about thirteen years working on child pornography cases. See
12
     Evidentiary Hearing, page 59, line 3-5. The SD card in question here was only a 16 gigabyte card,
13
     a smaller size card which holds much less data than many other commonly-used cards. See
14
     Evidentiary Hearing at page 60. Detective Tooley recognized that this type of volume could be
15
16   searched and examined quickly. See Evidentiary Hearing at page 61. Additionally, Detective

17   Tooley admits that the majority of the affidavit involves boilerplate copy and paste, with only one

18   section amounting to less than two pages of the seven page affidavit being individualized to
19
     Ditirro’s case. See Evidentiary Hearing at page 67-69.
20
             One factor of major contention encompasses the “private actors” that handed the SD card
21
     to the authorities. To be sure, it has been determined that the search committed by police after
22
23   speaking with Torrez and Ismail was more expansive than the private actor search. (See ECF No.

24   43, at page 6-8). By hinging the reasonableness of the delay on the fact that the card was first
25   brought to the attention of law enforcement by Torrez and Ismail, the Magistrate threatens to
26
     supersede Ditirro’s constitutional possessory interest under the 4th amendment on the bare
27
     assumption that the limited role of private actors can circumvent a lengthy delay by government
28

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                                                                                      SER 0104
     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 74DktEntry: 30, PagePage
                                               Filed 10/30/17    107 of 229
                                                                     8 of 11


     actors. This does not overcome the fact that the government held onto an SD card containing
 1
     personal data, knowing the identity of the owner of the card, a card that carried a strong
 2
 3   expectation of privacy outside of the argument involving private actor interference.

 4          The conduct of private actors should not be considered irrelevant in defining the scope of
 5   the Fourth Amendment. See Dow Chemical Co. v. United States, 476 U.S. 227, 232 (1986)
 6
     (conduct that would have been tortious or criminal if done by a private actor is but one factor to be
 7
     considered in determining whether that conduct violates a reasonable expectation of privacy);
 8
 9   Kyllo v. United States, 533 U.S. 27 (2001) (thermal imaging was held to be a search due to such

10   technology being beyond what could have been viewed by a private actor from the public); Katz v.

11   United States, 389 U.S. 347 (1967)(key factor in 4th Amendment protection is the level of
12
     exposure to the public or a public actor). “The more that an individual exposes to private actors,
13
     the more difficult it becomes to keep that same information from governmental actors.” See Sam
14
     Kamin, The Private is Public: The Relevance of Private Actors in Defining the Fourth
15
16   Amendment, 46 B.C.L.Rev. 83, 117 (2004), http://lawdigitalcommons.bc.edu/bclr/vol46/issl/2. In

17   United States v. Johnson, supra, the Court held that the fact that property to be searched was

18   turned over to law enforcement by a private actor is merely one of the factors in the balancing test
19
     of individual 4th Amendment interest versus the interest of the government alleged to justify the
20
     intrusion. Johnson, 806 F.3d 1323, 1339 (11th 2015). Moreover, seeking to retrieve the property
21
     immediately after it being taken suggests a strong protected privacy interest in the item.
22
23          “I wanted to see what he was hiding from me,” said Ismail at the Evidentiary Hearing

24   about the SD card she viewed through her phone. See Evidentiary Hearing at page 14, line 19.
25   Ismail mentions that she knew Ditirro to be a private, secluded person, even blocking Ismail “out
26
     of certain areas of his life”. Id at page 17-18. Although the Magistrate assumed the card to be lost
27
     by Ditirro, this point is also contradictory to Ismail’s admission that Ditirro told her he was “really
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                                                                                        SER 0105
     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 74DktEntry: 30, PagePage
                                               Filed 10/30/17    108 of 229
                                                                     9 of 11


     wanting that [SD card] back” from her. See Evidentiary Hearing at page 43, line 25. As Ismail has
 1
     always held out Ditirro to be a very private individual who would have wanted his data to remain
 2
 3   private, it is clear that Ditirro not only expected his data to remain private but also that he was

 4   careful to shield his personal life from even someone he was dating. Even if, assuming for the sake
 5   of argument Ditirro’s SD card was not purposely stolen or taken by Ismail, leaving an item with a
 6
     trusted friend has been considered differently than leaving the items exposed to the public sphere.
 7
     For example, locking a closed briefcase inside the locked trunk of a trusted friend does not indicate
 8
 9   that a defendant intended to leave it open for ‘public inspection and consumption,’ nor does it

10   indicate any diminution of an expectation of privacy in the item. Johnson, 806 F.3d 1323, 1345

11   (11th 2015), citing United States v. Infante-Ruiz, 13 F.3d 498 (1st Cir. 1994). Nevertheless, it is
12
     apparent that beyond how Ismail obtained the card, Ditirro’s 4th Amendment interests in the
13
     property were not minimal and should only be able to overcome by a reasonable, diligent, and
14
     substantial government interest. No showing of the kind has taken place in this case. Instead, the
15
16   report and recommendation of the Magistrate largely relies on the determination of Ditirro’s

17   constitutional interests as minimal or diminished. As such, when the Ditirro’s interest is seen as

18   usual or even heightened as argued above, the delay of the government clearly becomes
19
     unreasonable.
20
     III. Conclusion
21
            The search and seizure process can be foiled when law enforcement instigates such a delay
22
23   in obtaining a warrant that it unreasonably frustrates constitutional protections of property and

24   privacy interests. In the present case, a three-month delay took place alleged to involve staffing,
25   resource and departmental issues. None of these minor and ordinary circumstances work to
26
     overcome Ditirro’s interest in the SD card to be free from unreasonable seizure and delay. In
27
     contrast to the finding of the report and recommendation (ECF No. 43), Ditirro’s interest was not
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      Case:
     Case   19-10250, 09/21/2020, ID:
          2:16-cr-00216-KJD-VCF       11830255,
                                   Document  74 DktEntry: 30, Page
                                                 Filed 10/30/17    109 10
                                                                 Page  of 229
                                                                          of 11


     diminished in anyway, as the data carried a high-expectation of privacy and was unique. Further, it
 1
     is not clear how Ismail came into possession of the card. Ditirro now respectfully requests that the
 2
 3   Court find the delay in obtaining the warrant unreasonable, and accordingly to suppress all fruits of

 4   constitutionally-defective warrant process.
 5          DATED this 30th of October, 2017.
 6
 7
 8                                                                /s/ Brian J. Smith
 9                                                         BRIAN J. SMITH
                                                           Law Office of Brian J. Smith, LTD.
10                                                         Attorney for DITIRRO

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      Case:
     Case   19-10250, 09/21/2020, ID:
          2:16-cr-00216-KJD-VCF       11830255,
                                   Document  74 DktEntry: 30, Page
                                                 Filed 10/30/17    110 11
                                                                 Page  of 229
                                                                          of 11


                                          Certificate of Service
 1
            I hereby certify that, on October 30, 2017, I served the foregoing document upon the
 2
 3   parties or counsel listed below:

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 9
10
                                                                /s/ Brian J. Smith
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12
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     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 67DktEntry: 30, PagePage
                                               Filed 09/21/17    111 of 229
                                                                     1 of 15


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 6
                                 UNITED STATES DISTRICT COURT
 7
                              IN AND FOR THE DISTRICT OF NEVADA
 8
 9   UNITED STATES OF AMERICA,                    )
                                                  )
10                         Plaintiff,             )
                                                  )      Case No.:       2:16-cr-00216-KJD-VCF
11   vs.                                          )
12                                                )
     LONNY DITIRRO,                               )      OBJECTIONS TO
13                                                )      MAGISTRATE’S REPORT
                                                  )      AND RECOMMENDATION
14          Defendant.                            )
                                                  )
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                                                  )
16
            Defendant LONNY DITIRRO through his attorney BRIAN J. SMITH, ESQ., respectfully
17
     submits this Objection to Magistrate Judge Cam Ferenbach’s Report and Recommendation. (See
18   ECF No. 43). This objection is made and based upon the attached memorandum of points and
19   authorities and exhibits, the documents already on file, and the arguments at any hearing granted.
20          DATED this 21st day of September, 2017.
21
22
                                                                /s/ Brian J. Smith
23                                                       BRIAN J. SMITH
                                                         Law Office of Brian J. Smith, LTD.
24                                                       Attorney for DITIRRO
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                                                                                     SER 0109
     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 67DktEntry: 30, PagePage
                                               Filed 09/21/17    112 of 229
                                                                     2 of 15


                                   Memorandum of Points and Authorities
 1
               I. Introduction
 2
 3             The Magistrate Judge, in issuing his report and recommendation, granted in part and denied

 4   in part DITTIRO’s motion to suppress (ECF No. 32). However, the opinion of the Magistrate
 5   Judge nevertheless recommends that “any evidence initially obtained through private searches of
 6
     the SD card be admitted.” ECF No. 32 at 18. Further, “any evidence obtained from Dittiro’s
 7
     interrogation should be admitted.” Id.
 8
 9             The first part of the opinion which deals with the existence of probable cause in Detective

10   Tooley’s request for a warrant is based largely on facts that, when examined from the totality of

11   the circumstances found on record, are vague and inconsistent at best, and at worst carry a reckless
12
     disregard for the truth. Because the Magistrate Judge did grant that “the Metro Officers’ testimony
13
     about what they viewed while searching the images contained in the SD card should not be
14
     admitted,” the only remaining basis upon which to find probable cause would be the words of the
15
16   private actors in the case, namely Stephen Torrez and Rachel Ismail. See ECF No. 32 at 9, line 11.

17   Further, it is clear that the vague and inconsistent statements from these private actors, particularly

18   those going to how the SD card was obtained, should bear upon the analysis concerning the
19
     unreasonable delay in obtaining and executing the search warrant in this case.
20
               Finally, Dittiro made no voluntary waiver of his 5th and 6th amendment rights. His
21
     responses indicate a serious lack of comprehension towards the nature of his rights, and his mental
22
23   caliber at the time was significantly reduced due to several factors including nicotine withdrawal, a

24   shattered mental state, and coercive and overbearing law enforcement tactics. The statements
25   Dittiro made to Special Agent Flahtery and Detective Miller were made under significant mental
26
     duress.
27
28

                                                        2
                                                                                       SER 0110
     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 67DktEntry: 30, PagePage
                                               Filed 09/21/17    113 of 229
                                                                     3 of 15


            II. Argument
 1
            a. The vague, inconsistent, and reckless statements by Torrez and Ismail do not
 2
               suffice to create probable cause.
 3
            An affidavit must provide the magistrate with a substantial basis for determining the
 4
     existence of probable cause for issuance of a search warrant. Illinois v. Gates, 462 U.S. 213, 239,
 5
 6   103 S. Ct. 2317, 2332, 76 L. Ed. 2d 527 (1983). In analyzing a warrant for probable cause based

 7   upon the words of a witness or informant, veracity and basis of knowledge are to be examined in
 8   the totality of the circumstances. A “mere conclusory statement” gives the magistrate “virtually no
 9
     basis at all for making a judgment regarding probable cause.” Id. The determination of probable-
10
     cause in the issuance of a search warrant cannot be a mere ratification of the bare conclusions of
11
     others. Id. Corroboration through other sources of information reduces the chances of a “reckless
12
13   or prevaricating tale,” providing a credible and substantial basis for the hearsay. Id, quoting Jones

14   v. United States, 362 U.S. 257, 269, 80 S. Ct. 725, 736, 4 L.Ed2d 697 (1960). Even if a search
15   warrant application is supported by more than a “bare bones” affidavit, a reviewing court may
16
     properly conclude that the warrant was invalid because the magistrate’s probable-cause
17
     determination reflected an improper analysis of the totality of the circumstances. United States v.
18
     Leon, 468 U.S. 897, 104 S. Ct. 3405, 82 L. Ed. 2d 677 (1984). The appropriate remedy is
19
20   suppression if the magistrate or judge was misled by information in an affidavit that the affiant

21   knew was false or would have known was false except for his reckless disregard of the truth. Id at
22   924; See also Franks v. Delaware, 438 U.S. 154, 98 S.Ct 2674, 57 L.Ed.2d 667 (1978).
23
            Detective Tooley, the affiant of the search warrant application at issue, relied primarily on
24
     both the testimony of the officers who viewed the contents of the SD card and the testimony of
25
26   Rachel Ismail. Although there is mention in the application of the involvement of Stephen Torrez

27   handling and viewing of the files contained on the SD card, Torrez’ role is limited and is mostly

28   portrayed as a middleman between Ismail and law enforcement viewing the files. As a result,

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     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 67DktEntry: 30, PagePage
                                               Filed 09/21/17    114 of 229
                                                                     4 of 15


     because the report and recommendation states that the officers inspecting the SD card may have
 1
     exceeded the scope of the private search, most of the determination of the probable cause will turn
 2
 3   on the testimony and credibility of Ismail.

 4          The testimony of Torrez at the Evidentiary Hearing not only reveals his limited view of the
 5   situation, but also the fact that his understanding of the events is contrary to the events as recalled
 6
     by the main witness, Rachel Ismail. First, Torrez mentions that Rachel came over crying and upset
 7
     the day she brought the SD card, specifically concerned that Dittiro may have been having an
 8
 9   affair. Evidentiary Hearing at 159, line 18-19. She claimed to have just been with Dittiro, and

10   while he was in the shower she recovered the SD card in question. Evidentiary Hearing at 159,

11   page 159, line 23-24. Torrez specifically states Rachel said nothing about “lying in bed and
12
     [finding] the card stuck to her leg.” Evidentiary Hearing, page 159, line 5-7. Further, Torrez, who
13
     is familiar and friendly with Dittiro, could not recognize Dittro within the few pictures he viewed,
14
     despite Ismail first claiming to have seen pictures involving Dittiro engaging with underage girls.
15
16   Evidentiary Hearing at 160, line 6-7. Torrez did not at any point describe the pictures that he did

17   view, nor how many pictures he viewed, only that he perceived the pictures to be “explicit.”

18   Evidentiary Hearing at 160, line 3-8.
19
            It is clear that the words of Torrez, when considered alone, do not suffice to create probable
20
     cause. Torrez fails to describe with any particularity the qualities or quantities of the pictures he
21
     viewed. Additionally Torrez reveals that what Ismail told him was inconsistent with what she told
22
23   police. Importantly, Torrez makes clear that Ismail first brought the card to his attention while

24   highly agitated and upset with Dittiro. From this lens the veracity and consistency of the remaining
25   aspects of probable cause should be viewed, the testimony of Rachel Ismail.
26
            The testimony of Ismail is not only vague but also inconsistent. First, at the evidentiary
27
     hearing, Ismail directly contradicts what she told Torrez when she states that Dittiro was not
28

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     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 67DktEntry: 30, PagePage
                                               Filed 09/21/17    115 of 229
                                                                     5 of 15


     around her when she found the SD card. Evidentiary Hearing at 14, line 3-8; at 33, line 5-13. On
 1
     direct examination she said at the time of finding the SD card, she had not seen Dittiro for at least
 2
 3   twenty-four hours. Evidentiary Hearing at 33, line 8-13. Also at the evidentiary hearing, Ismail

 4   could only describe one photo that may have contained a sexual depiction of a child. See
 5   Evidentiary Hearing at 21-23. She states that she did not view any more “restricted” files beyond
 6
     the one she describes. Evidentiary Hearing at 34, line 20; at 23, line 18-19. Ismail recounts that
 7
     when she brought the SD card to the attention of Torrez, she was trying to figure out what the
 8
 9   pictures were, and what they meant, and she was unsure about the necessity of police involvement.

10   Evidentiary Hearing at 34, line 10-22.

11          It is significant that Ismail says when she spoke with police for the first time about the
12
     contents of the SD card, the officers had already viewed much of the contents of the card.
13
     Evidentiary Hearing at 35, line 25. That is, before Ismail was able to complete a written voluntary
14
     statement, officers told her they found data and pictures on the card that “showed more of a young
15
16   age.” Evidentiary Hearing at 36, line 23-24. Ismail tells officers that to her understanding, anything

17   concerning a young age would be in the “restrictive files.” Evidentiary Hearing at 37, line 1-5. She

18   Officers explained to Ismail that they had seen disturbing images, specifically making comment
19
     about seeing what “looked like a 14-year-old.” Evidentiary Hearing at 37, line 16-17. Officers
20
     Bianco and Wilson accordingly not only overstepped bounds as far as an unwarranted search, but
21
     then also seeded the mind of Ismail with their description of what they believed to have seen on
22
23   the SD card.

24          Ismail does tell officers that she thought she recognized one of the girls in a picture located
25   outside of the “restrictive” folder. She explains that although she and Dittiro had broken up, she
26
     learned that Dittiro was traveling to Texas to see his mother. See Search Warrant Application at
27
     Bates 16. Ismail believed Dittiro may have seen a girl she recognized from his Facebook account.
28

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     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 67DktEntry: 30, PagePage
                                               Filed 09/21/17    116 of 229
                                                                     6 of 15


     Id. However, Ismail was inferring this to be the case from the pictures she briefly viewed and had
 1
     no specific understanding of when or why Dittiro traveled to Texas. See Detective Tooley Rachel
 2
 3   Ismail Recorded Interview, 11-30-15, at 6:07-6:19. Ismail tells Detective Tooley that she began to

 4   intuit a connection between Dittiro and other females when Dittiro decided to end the relationship
 5   with Ismail. See Detective Tooley Rachel Ismail Recorded Interview, 11-30-15, 5:50-6:10.
 6
     Importantly, at the time of the search warrant application, Detective Tooley had not identified the
 7
     suspected minor in Texas. See Search Warrant Application at Bates 16. Ismail does not
 8
 9   specifically describe in detail to police in person, nor to Detective Tooley on the phone, any of the

10   pictures including who she believed to be S.M. (minor from Texas) contained explicit, sexual

11   scenes. The only picture she describes in any detail is single picture viewed within the “restricted”
12
     folder. See Detective Tooley Rachel Ismail Recorded Interview, 11-30-15, at 11:00-12:00.
13
            Importantly, her description of the single “restricted” picture she viewed was significantly
14
     lacking in specificity. She describes a picture that does not include faces, mostly displaying a
15
16   distorted image of the bodies of what appeared to be a male and a female. Evidentiary Hearing at

17   21, line 15-17. At best, when pressured on the details of this picture, Ismail agreed the female body

18   appeared to be “underdeveloped,” but could not approximate an age. Evidentiary Hearing at 23,
19
     line 3-11. Ismail says she can only see the “groin area” of the female, could not tell who or how
20
     old the male was, nor could she tell how old the female was but assumed a young age due to the
21
     “disproportionate” size of the body depicted. See Detective Tooley Rachel Ismail Recorded
22
23   Interview, 11-30-15, at 10:20-12:46.

24          Detective Tooley was first interested in the voluntary statement of Ismail, but felt it was too
25   vague in reference to any specific age evaluation or sexual acts, and so she followed up by phone.
26
     Evidentiary Hearing at 50, line 21-24. In the recording of the call between Detective Tooley and
27
     Ismail played and entered at the Evidentiary Hearing, Tooley makes clear that in order to proceed
28

                                                      6
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     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 67DktEntry: 30, PagePage
                                               Filed 09/21/17    117 of 229
                                                                     7 of 15


     with the case Ismail would have to describe more specific instances of criminal material she may
 1
     have viewed. See Detective Tooley Rachel Ismail Recorded Interview, 11-30-15, at 10:20-10.
 2
 3   Tooley asks, “How many images did you see of an adult male engaged in sex with children,” to

 4   which Ismail responds, “wow that one just like that one just I don’t know-- that for sure is one.”
 5   See Detective Tooley Rachel Ismail Recorded Interview, 11-30-15, at 10:55-11:08. Ismail does
 6
     mention seeing a couple images involving Dittiro himself, but could not say if the females
 7
     involved in those pics were children or other adults:
 8
 9                  Rachel Ismail: Some of it looked like he downloaded pornography, and then a lot of

10                  looked like he actually was doing his own pornography.

11                  Detective Tooley: Ok, his own with children, or his own like with other adults?
12
                    Rachel Ismail: I don’t even know, honestly.
13
                    Detective Tooley Rachel Ismail Recorded Interview, 11-30-15, at 10:10-10:20.
14
     Detective Tooley proceeded with the application for the search warrant on the evidence and
15
16   testimony emanating from the officers, Torrez, and Ismail. As the testimony of the officers has

17   been excluded, and the testimony of Torrez isn’t clear beyond bare assumptions and assertions, all

18   that remains upon which to support a finding of probable cause is the testimony of Rachel Ismail.
19
            The 9th Circuit has said that probable cause shown through the statement of a victim or
20
     witness must be based on a sufficient basis of knowledge. Peng v. Mei Chin Penghu, 335 F.3d 970,
21
     978 (9th Cir. 2003), citing Fuller v. M.G. Jewelry, 950 F.2d 1437, 1444 (9th Cir.1991). This basis
22
23   of knowledge can be established if the victim provides “facts sufficiently detailed to cause a

24   reasonable person to believe a crime had been committed and the named suspect was the
25   perpetrator. Id. Inconsistencies in the witness testimony in Peng were not found to be dispositive
26
     of probable cause because they were not only incidental to the substantive facts, but also the
27
28

                                                       7
                                                                                      SER 0115
     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 67DktEntry: 30, PagePage
                                               Filed 09/21/17    118 of 229
                                                                     8 of 15


     witness provided a sufficient and corroborated detailed statement to police. Peng, 335 F.3d at 979.
 1
     The Court found that nevertheless there were clear “material, historical facts not in dispute.”
 2
 3          There are four circumstances in which the good faith exception to the exclusionary rule

 4   does not apply because reliance on the search warrant is per se unreasonable:
 5                  (1) where an affiant misleads the issuing magistrate or judge by making a false
 6
                    statement or recklessly disregarding the truth in making a statement; (2) where the
 7
                    magistrate or judge wholly abandons her judicial role in approving the warrant,
 8
 9                  acting only as a “rubber stamp” to the warrant application rather than as a neutral

10                  and detached official; (3) where the warrant is facially deficient in detail as to the

11                  place to be searched or the things to be found that the officers could not reasonably
12
                    presume it to be valid; or (4) where the affidavit upon which the warrant is based is
13
                    so lacking in indicia of probable cause that no reasonable officer could rely upon it
14
                    in good faith.
15
16                  United States v. Crews, 502 F.3d 1130 (9th Cir. 2007).

17   Here, Detective Tooley knew or should have known that the veracity, quality, and quantity of the

18   information provided by Ismail was lacking in probable cause. This is best indicated by Detective
19
     Tooley’s own comments at the Evidentiary Hearing, notably that she believed Ismail “wasn’t
20
     specific so” the Detective wanted “to get specific, if she could describe the sexual act or describe
21
     how old she believed the child to be.” Evidentiary Hearing at 50, line 22-24. However, when
22
23   pressing Ismail on the specifics of what she saw, Detective Tooley was unable to get straight

24   answers. Ismail could only describe in any detail one picture involving a male and female of
25   unknown ages, suggesting that the picture was heavily distorted and taken from an angle that made
26
     it difficult to discern the characteristics of the people involved. Further, as described above, when
27
     asked specifically about if the pictures involving Dittiro himself included children or merely other
28

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                                                                                        SER 0116
     Case:2:16-cr-00216-KJD-VCF
     Case  19-10250, 09/21/2020, ID: 11830255,
                                   Document 67DktEntry: 30, PagePage
                                               Filed 09/21/17    119 of 229
                                                                     9 of 15


     adults, Ismail responds with “I don’t even know, honestly.” Detective Tooley Rachel Ismail
 1
     Recorded Interview, 11-30-15, at 10:10-10:20.
 2
 3          Additionally, without the testimony of the officers, the application for the warrant becomes

 4   so lacking in substantial indicia of probable cause, that no officer could reasonably rely upon it in
 5   good faith. Torrez makes no clear statement, and instead relies on hearsay from Ismail. See Search
 6
     Warrant Application at Bates 16; see also Evidentiary Hearing at 78-79. Ismail’s testimony was
 7
     not only influenced by what Officers Bianco and Wilson told her they saw, but it was also wholly
 8
 9   lacking in any specific details from personal knowledge. Ismail also could not say with any

10   certainty that she knew of Dittiro’s trip to Texas, what it involved, or who he visited. Therefore,

11   Detective Tooley knew or should have known that Ismail’s testimony was insufficient, unreliable,
12
     and inconsistent and could not be relied upon for probable cause. Further, Detective Tooley
13
     included statements in her application for a search warrant that overstate and misstate what she
14
     heard from Ismail, namely that she saw any explicit sexual pictures involving Dittiro and minors.
15
16   Ismail could only describe one picture with specificity, and the details concerning that picture are

17   minimal and unclear. She could not report with any certainty the ages or identities when pressed

18   by Detective Tooley for details.
19
            The search warrant application failed to show probable cause, recklessly misled the
20
     Magistrate, and therefore cannot be relied on in good faith.
21
            b. Statements made by Dittiro under custodial interrogation should be suppressed.
22
23          The burden is on the government to demonstrate that the defendant knowingly and

24   intelligently waived his privilege against self-incrimination and his right to retained or appointed
25   counsel. Miranda v. Arizona, 384 U.S. 436, 475, 86 S. Ct. 1602, 1628, 16 L. Ed. 2d 694 (1966).
26
     Dittro denies that his unintelligible response to the dispensation of Miranda around 2:00 in the
27
28

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      Case:
     Case   19-10250, 09/21/2020, ID:
          2:16-cr-00216-KJD-VCF       11830255,
                                   Document  67 DktEntry: 30, Page
                                                 Filed 09/21/17    120 10
                                                                 Page  of 229
                                                                          of 15


     interview with Detective Miller and Special Agent Flahtery is a knowing recognition or waiver of
 1
     his rights.
 2
 3           When under subtle forms of psychological persuasion, the mental condition of a defendant

 4   is a significant factor in the voluntariness calculus. Colorado v. Connelly, 479 U.S. 157, 164, 107
 5   S. Ct. 515, 520, 93 L. Ed. 2d 473 (1986). Dittiro makes statements to interviewers that he “can’t
 6
     think straight” and specifically mentions he is going through nicotine withdrawal. Recorded
 7
     Interview with Dittiro, Detective Miller, and SA Flahtery, 06-17-16, at 3:24-28; 13:30-13:40 (“I
 8
 9   can’t even remember right now, I’m having such a bad nicotine fit.”); 52:09 (“Oh damn this

10   nicotine fit.”); 52:22 (“I hate when it’s hard to think like this”); 54:45 (“It’s kind of hard to make

11   decisions right now.”); 59:29 (“I feel like I’m even walking sideways”); 1:01:18 (mentioning that
12
     his “brain” doesn’t seem “lucid”). These statements suggest that Dittiro was experiencing unusual
13
     and significant mental disturbance.
14
             It is indicative of his lack of understanding and comprehension of the situation that Dittiro
15
16   questions his rights in the final fifteen minutes of the recorded conversation. Id at 49:00-1:03:51.

17   He expressly questions his need for an attorney, while mentioning that his attorney told him not to

18   give statements to police. Id. This revelation is telling of his lack of appreciation of the situation,
19
     specifically that his vulnerable state of mind was not grasping the circumstances normally.
20
     Notably, it is at this time that Special Agent Flahtery provides Dittiro with a clear statement
21
     concerning his rights. Id at 50:20-51:22. Dittiro then makes two requests for his attorney, only to
22
23   have Detective Miller continue to try to pressure him to make additional statements. Id. 51:00-

24   52:00. Dittiro continues to complain of mental impairment, then makes vulnerable and honest
25   statements concerning his understanding of the process, despite just having heard additional and
26
     concise warnings concerning his 5th and 6th amendment rights. Id at 52:00-52:45. Detective
27
     Miller is forced to attempt to dispense warnings about Dittiro’s rights again. Id. In a span of
28

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      Case:
     Case   19-10250, 09/21/2020, ID:
          2:16-cr-00216-KJD-VCF       11830255,
                                   Document  67 DktEntry: 30, Page
                                                 Filed 09/21/17    121 11
                                                                 Page  of 229
                                                                          of 15


     seven minutes, Dittiro is given warnings at least eleven times from either Detective Miller or
 1
     Special Agent Flahtery. Id 49:40; 50:28; 51:12; 51:40; 52:49; 53:35; 54:30; and 55:00. After being
 2
 3   repeatedly told it was his decision whether or not he wanted to speak to police, Dittiro tells his

 4   interviewers that “It’s kinda hard to make decisions right now.” Id at 54:55.
 5           Under a totality of the circumstances, Dittiro’s lack of sophistication, his overt physical
 6
     discomfort and duress, and the interrogation tactics utilized in questioning him directly following
 7
     his federal arrest by a SWAT ream, bring into serious doubt that Dittiro grasped the situation and
 8
 9   understood his rights and his ability to waive them. Additionally, Dittiro’s laughter within the

10   conversation is not properly understood as his intent to engage in a “light-hearted” conversation,

11   but instead is a sign of a retreated and distressed state of mind exhibited by unnatural and uneasy
12
     laughter. Even after a sustained fifteen minutes of going over his rights and ability to remain
13
     silent, and following another request to have his attorney contacted, Dittiro makes another
14
     concession of his mental state, asking “Umm, so are we going to keep talking about it.. or… .” Id
15
16   at 1:02:20. It is clear Dittiro is unable to grasp the gravity of the situation, his ability to remain

17   silent, and his ability to speak through his attorney.

18           Dittiro made no voluntary waiver of his 5th and 6th amendment rights. Further, any
19
     statements he made to Special Agent Flahtery and Detective Miller were made under significant
20
     mental duress and thus not made voluntarily. Accordingly, under the totality of the circumstances,
21
     Dittiro’s statements made to investigators on June 17, 2016 should be suppressed.
22
23           c. Investigators used a two-step interrogation technique.

24           Incriminating statements made and then repeated after deliberate mid-stream Miranda
25   warnings are inadmissible. Missouri v. Seibert, 542 U.S. 600, 621 (2004). If it can be determined
26
     that interrogators deliberately employed a two-step Miranda interrogation strategy, a Court must
27
     evaluate the effectiveness of the midstream Miranda warning. United States v. Williams, 435 F.3d
28

                                                         11
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      Case:
     Case   19-10250, 09/21/2020, ID:
          2:16-cr-00216-KJD-VCF       11830255,
                                   Document  67 DktEntry: 30, Page
                                                 Filed 09/21/17    122 12
                                                                 Page  of 229
                                                                          of 15


     1148, 1160 (9th Cir. 2006). The court must determine, based on objective evidence, whether the
 1
     midstream warning adequately and effectively appraised the suspect that he had a “genuine choice
 2
 3   whether to follow up on his earlier admission.” Id.

 4            Here, Dittiro was awoken early in the morning of June 17, 2016 to at least fifteen members
 5   of law enforcement, including highly armed SWAT members and agents of the Federal Bureau of
 6
     Investigation. Dittiro was “immediately placed into handcuffs, he and his two roommates.” See
 7
     Evidentiary Hearing at 114, line 12-13. He was placed into a vehicle and within fifteen minutes
 8
 9   was prepared for interrogation at the FBI office. Id at 114, line 20. Dittiro was not told the

10   circumstances of the investigation until nearly an hour into his interrogation at the FBI office. Id at

11   115, 10-11; Recorded Interview with Dittro, Detective Miller, and SA Flahtery, 06-17-16, at
12
     48:45.
13
              The crux of the position of the government on this point surrounds the fact that the
14
     unrecorded questions that Special Agent Flaherty and Detective Miller asked Dittiro prior to the
15
16   dispensing of Miranda warnings were not calculated to elicit an incriminating response from the

17   suspect. See ECF No. 32 at 11-12. Although Special Agent Flaherty suggests that the questions

18   were “biographical-type questioning,” she does admit to asking him about his living situation and
19
     with whom he stays. Evidentiary Hearing at 116, line 1-5. Although the government qualifies this
20
     questioning as routine and not incriminating within the context of a child pornography case,
21
     because we do not have a record of the questions asked of Dittiro we cannot know exactly how the
22
23   questions were asked. In a case where a suspect is accused of inappropriate contact with minors,

24   questions surrounding his living situation and where or with whom he stays, could reasonably be
25   expected to elicit an incriminating response.
26
              As suggested above, the midstream warning here did not effectively apprise Dittiro that he
27
     had a genuine choice whether or not to follow up with the questioning he underwent prior to the
28

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      Case:
     Case   19-10250, 09/21/2020, ID:
          2:16-cr-00216-KJD-VCF       11830255,
                                   Document  67 DktEntry: 30, Page
                                                 Filed 09/21/17    123 13
                                                                 Page  of 229
                                                                          of 15


     Miranda warning. This is best displayed by Dittiro’s total lack of understanding of the nature of
 1
     the eleven repeated warnings within the last fifteen minutes of the conversation with investigators.
 2
 3   It can be argued that the interrogation before and after Miranda warnings should be considered

 4   continuous, in that the questions on both sides were likely to elicit an incriminating response. The
 5   continuous subject then is not centered exclusively on the contents of the SD card, but rather
 6
     concerns Dittiro’s personal contacts, living situation, and social habits. Although we cannot speak
 7
     to the details of the unrecorded conversation, the lack of clear curative measures until the latter
 8
 9   part of the interrogation at the FBI offices suggests Dittiro was unfairly questioned under the

10   pressures of custodial interrogation, and such pressure was made to be continuous throughout both

11   interrogations. This pressure goes to the heart of the concern in Seibert, namely that coercive
12
     interrogative processes were utilized to bridge the conversations before and after Miranda
13
     warnings, effectively invaliding the power and impact of Miranda protections.
14
            d. Unreasonable Delay in Execution of the Search Warrant
15
16          The report and recommendation from the Magistrate Judge relies on a misreading of

17   factual circumstances in order to conclude that the five-month delay between police obtaining the

18   card and the execution of the warrant was reasonable. See ECF No. 43 at 13-14. First, it is not
19
     clear that Dittiro lost the SD card in question. As explained above, Torrez reveals Ismail gave
20
     inconsistent testimony concerning how she came about the SD card. In particular, Torrez reveals
21
     that Ismail was highly upset over a possible affair Dittiro may have been having, and suggests that
22
23   she was with Dittiro when she obtained the card herself. Additionally, the Detective Tooley in the

24   Application for the Search Warrant frames Torrez exclusively as a middleman between Ismail and
25          Although it was through the action of private actors that police obtained the SD card, the
26
     credibility and motive of Ismail can be brought into question. When taken together with the fact
27
     that Ismail’s extended testimony does not clearly reveal the extent of what she may have viewed
28

                                                       13
                                                                                       SER 0121
      Case:
     Case   19-10250, 09/21/2020, ID:
          2:16-cr-00216-KJD-VCF       11830255,
                                   Document  67 DktEntry: 30, Page
                                                 Filed 09/21/17    124 14
                                                                 Page  of 229
                                                                          of 15


     on the SD card, along with the fact that we do not know how or when she came about the SD card,
 1
     it must be considered that the weight currently being given to the fact that a “private actor” turned
 2
 3   over the card to law enforcement is an overestimation and should be reassessed.

 4          III. CONCLUSION
 5          Once excised of the unconstitutional testimony excluded by the report and
 6
     recommendation, the search warrant involved in the case was significantly deficient of probable
 7
     cause. The statements of the primary witness within the search warrant application were clearly
 8
 9   inconsistent, vague, and tainted by the information gleaned from the officers who searched the

10   contents of the SD card without warrant. Police then delayed obtaining a search warrant for three

11   months, and further delayed execution of the warrant for an additional two months, amounting to
12
     an unreasonable seizure under the Fourth Amendment. Detective Miller and Agent Flahtery
13
     obtained statements from Dittiro in violation of his Fifth Amendment rights and Miranda. For each
14
     of these reasons, the SD card, Dittiro’s statements, and the evidence derived from the statements
15
16   should be suppressed.

17          DATED this 21st of September, 2017.

18
19
20                                                                /s/ Brian J. Smith
                                                           BRIAN J. SMITH
21                                                         Law Office of Brian J. Smith, LTD.
                                                           Attorney for DITIRRO
22
23
24
25
26
27
28

                                                      14
                                                                                      SER 0122
      Case:
     Case   19-10250, 09/21/2020, ID:
          2:16-cr-00216-KJD-VCF       11830255,
                                   Document  67 DktEntry: 30, Page
                                                 Filed 09/21/17    125 15
                                                                 Page  of 229
                                                                          of 15


                                          Certificate of Service
 1
            I hereby certify that, on September 21, 2017, I served the foregoing document upon the
 2
 3   parties or counsel listed below:

 4   STEVEN W. MYHRE                                     Lonny Dittiro, #53326048
     Acting United States Attorney                       Nevada Southern Detention Center
 5   District of Nevada                                  2190 E. Mesquite
 6   ELHAM ROOHANI                                       Pahrump, NV 89060
     501 Las Vegas Blvd. South                            Via mail
 7   Suite 1100
     Las Vegas, NV 89101
 8   Via CM/ECF
 9
10
                                                                /s/ Brian J. Smith
11                                                       BRIAN J. SMITH
                                                         Law Office of Brian J. Smith, LTD.
12
                                                         Attorney for DITIRRO
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                                                    15
                                                                                  SER 0123
        Case:2:16-cr-00216-KJD-VCF
        Case  19-10250, 09/21/2020, ID: 11830255,
                                      Document 23DktEntry: 30, PagePage
                                                  Filed 10/24/16    126 of 229
                                                                        1 of 25




 1   RENE L. VALLADARES
     Federal Public Defender
 2   Nevada State Bar No. 11479
     RYAN NORWOOD
 3   Assistant Federal Public Defender
     411 E. Bonneville, Ste. 250
 4   Las Vegas, Nevada 89101
     (702) 388-6577/Phone
 5   (702) 388-6261/Fax
     Ryan_Norwood@fd.org
 6
 7   Attorney for Lonny Joseph Ditirro, Jr.

 8
                                 UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                              Case No. 2:16-cr-216-KJD-VCF
12                  Plaintiff,                              MOTION TO SUPPRESS EVIDENCE
13          v.
                                                            (Evidentiary Hearing Requested)
14   LONNY JOSEPH DITIRRO, JR.,
15                  Defendant.
16
17   Certification: This Motion is timely filed.
18          The defendant Lonny Joseph Ditirro Jr., by and through his counsel of record, Ryan
19   Norwood, Assistant Federal Public Defender, moves this Court for an order suppressing the SD
20   card, statements, and derivative evidence in this case.         A Memorandum of Points and
21   Authorities is attached.
22          DATED this 24th day of October, 2016.
23                                                      RENE L. VALLADARES
                                                        Federal Public Defender
24
25                                                 By: /s/ Ryan Norwood
                                                       RYAN NORWOOD
26                                                     Assistant Federal Public Defender
                                                       Attorney for Lonny Joseph Ditirro, Jr.



                                                                                         SER 0124
          Case:2:16-cr-00216-KJD-VCF
          Case  19-10250, 09/21/2020, ID: 11830255,
                                        Document 23DktEntry: 30, PagePage
                                                    Filed 10/24/16    127 of 229
                                                                          2 of 25




 1                      MEMORANDUM OF POINTS OF AUTHORITIES
 2   I.      SUMMARY OF ARGUMENT

 3           On September 10, 2015, Stephen Baltazar, an individual involved in law enforcement,
 4   contacted Las Vegas Metropolitan Police Department (“Metro”) regarding an SD card 1
 5   belonging to the defendant Lonny Joseph Ditirro. Mr. Baltazar indicated he got the card from
 6   Rachael Saito, an ex-girlfriend of Mr. Ditirro, who claimed the card belonged to Mr. Ditirro
 7   and that it had child pornography on it. Without a warrant, Metro officers used Mr. Baltazar’s
 8   phone to examine the contents of the SD card. Believing the SD card contained child
 9   pornography, police seized the card that day.
10           Police delayed seeking a search warrant for nearly three months. On December 2, 2015,
11   a Metro detective finally sought and obtained a warrant to search the SD card. To execute the
12   warrant, the detective left a copy of the warrant in the case file. Police delayed actually
13   examining the card for an additional two months. There is no explanation for the delays.
14           On June 17, 2016, a SWAT team of at least fifteen state and federal agents went to Mr.
15   Ditirro’s home with an arrest and search warrant in the instant case. Mr. Ditirro was arrested
16   and questioned three times for unspecified amounts of time. The agents exploited Mr. Ditirro’s
17   lack of sophistication and physical duress to elicit involuntary statements. While at least three
18   interrogations occurred, only one was recorded. The hour-long recording reveals the agents
19   used a two-step interrogation technique with midstream Miranda warnings to elicit Mr.
20   Ditirro’s statements.
21           Police violated Mr. Ditirro’s Fourth and Fifth Amendment rights in three ways. First,
22   police unlawfully searched and seized the card without a warrant. Second, police caused an
23   unreasonable three-month delay in obtaining a search warrant, which was an unconstitutional
24
             1
25            An SD (Secure Digital) card is “[a] family of very popular flash memory cards used
     for storage in portable devices.”              PC Mag, Definition of: SD Card,
26   http://www.pcmag.com/encyclopedia/term/50962/sd-card (last visited Oct. 20, 2016).
                                                    2



                                                                                         SER 0125
           Case:2:16-cr-00216-KJD-VCF
           Case  19-10250, 09/21/2020, ID: 11830255,
                                         Document 23DktEntry: 30, PagePage
                                                     Filed 10/24/16    128 of 229
                                                                           3 of 25




 1   seizure. Third, police elicited Mr. Ditirro’s involuntary statements in violation of his Fifth
 2   Amendment rights and Miranda. All evidence obtained as a result of these constitutional
 3   violations should be suppressed. An evidentiary hearing is requested.
 4   II.      RELEVANT PROCEDURAL AND FACTUAL HISTORY 2

 5            A.     Initial investigation

 6            On September 10, 2015, Metro Officers N. Bianco and G. Wilson responded to a “child
 7   molestation call” at an address in Las Vegas, Nevada. Exhibit A, Police Report of N. Bianco,
 8   Bates 10. The officers met with the reporting party, Stephen Baltazar, and his wife Tiffany
 9   Gonyea. Id. According to Officer Bianco, the following occurred:
10                   Baltazar stated that his friend Saito, Rachael found her ex-
                     boyfriend Ditirro, Joseph MicroSD card in her bed. When Saito
11                   put the card into her phone, what appeared to be child
12                   pornography was stored on the card, and initially didn’t want to
                     speak to the police because she was scared that Ditirro would
13                   retaliate so she gave the card to Baltazar.
14                   Looking through the pictures using Baltazars cell phone, which
                     he voluntar[il]y let us use, were multiple pornographic images.
15
                     Multiple images in particular were naked females that appeared
16                   to be less than 16 years old performing sexual acts. Saito arrived
                     to the apartment, and she stated that one of the females that
17                   appeared to be below 16 goes by the name of ‘S[.’], and
                     according to Ditirro’s facebook graduates in 2017. Saito also
18
                     mentioned that Ditirro once drove down to Texas to meet up with
19                   the female. Other images on the MicroSD card that Saito
                     mentioned were what she said appeared to be a 5 Y/O child
20                   performing sexual acts on that of a adult male.
21                   Looking through the MicroSD card, the only images viewed that
22                   were in question was the pictures of ‘S[.’] and the other females
                     that looked less tha[n] 16. Saito stated that the pictures of the
23                   children less than 5 are in a specific folder on that card. . . . The
24
              2
25            The following factual summary is taken from discovery provided by the government
     to the defense to date and should not be interpreted as a concession or agreement to any facts.
26   Mr. Ditirro reserves the right to dispute or supplement the facts as necessary.
                                                       3



                                                                                             SER 0126
        Case:2:16-cr-00216-KJD-VCF
        Case  19-10250, 09/21/2020, ID: 11830255,
                                      Document 23DktEntry: 30, PagePage
                                                  Filed 10/24/16    129 of 229
                                                                        4 of 25




 1                  MicroSD was impounded connecting to this event number which
                    has the pornographic images on it.
 2
 3   Ex. A at 10-11. It is unclear whether Mr. Baltazar examined the contents of the card prior to
 4   the police arrival. It is also unclear what images officers actually viewed using Mr. Baltazar’s
 5   phone. Finally, it is unclear if officers showed images to Ms. Saito upon her arrival. The report
 6   indicates: “Saito arrived to the apartment, and she stated that one of the females that appeared
 7   to be below 16 goes by the name of ‘S[.’], and according to Ditirro’s facebook graduates in
 8   2017.” Id. at 10. This statement leaves ambiguous whether Ms. Saito was describing something
 9   she had previously seen on the card, whether she believed “S.” was under 16, or whether she
10   made a statement in response to officers showing her images on the card.
11          On November 30, 2015, Metro Detective S. Tooley interviewed Ms. Saito. Exhibit C,
12   Search Warrant & Affidavit of Tooley, Bates 58; Exhibit D, Recorded Interview of Saito. 3 On
13   that day, Ms. Saito made a number of inconsistent statements about what she had seen on the
14   card on September 9, 2015. For instance, Ms. Saito stated she saw downloaded pornography
15   and “his own pornography,” though she did not know whether the images were of children or
16   adults. Ex. D at 10:14-10:28. At one point, Ms. Saito said she saw more than three images of
17   adults with children, but later claimed she saw one pictures of “juvenile stuff” and immediately
18   took the card out of her phone because she did not want the forensic data on her phone. Id. at
19   10:54-11:16, 11:51-12:14. Ms. Saito indicated that, not knowing what to do, she contacted a
20   friend who is involved in law enforcement. Id. at 1:45-1:52.
21          On December 2, 2015, Detective Tooley applied for and obtained a warrant to search
22   the SanDisk Micro Secure Digital Card stored in Metro’s Evidence Vault for evidence of
23   possession of child pornography. Ex. C at 55, 57, 63. The probable cause affidavit underlying
24
25
            3
              A copy of all audio exhibits are manually filed with the clerk’s office, and courtesy
26   copies are provided to chambers and to the government.
                                                    4



                                                                                         SER 0127
        Case:2:16-cr-00216-KJD-VCF
        Case  19-10250, 09/21/2020, ID: 11830255,
                                      Document 23DktEntry: 30, PagePage
                                                  Filed 10/24/16    130 of 229
                                                                        5 of 25




 1   the warrant is almost identical to the narrative of Officer Bianco’s police report. Compare Ex.
 2   C at 57-58 with Ex. A at 10-11.         Accordingly, the warrant affidavit contains the same
 3   ambiguities about the pre-warrant police search of the SD card noted above. See supra page 4.
 4          On February 18, 2016, Metro Internet Crimes Against Children (ICAC) Examiner Matt
 5   Trafford took the disk from the evidence vault and brought it to the ICAC Task Force office for
 6   examination. Exhibit E, ICAC Examiner’s Report of Matt Trafford, at Bates 95. On the disk,
 7   Officer Trafford purportedly found 254 images and 42 videos he categorized as child abuse
 8   material, 111 images and 22 videos categorized as child exploitation, and images of the suspect
 9   Lonny Ditirro. Id. at 96. The images were divided into dozens of folders titled by name and
10   numbers, as well as folders titled “Me” and “Me Restricted” containing selfie-type images of
11   Mr. Ditirro. Id. at 97. Additionally, “the suspect’s resume” was recovered on the card. Id.
12          B.      State court appearance

13          On May 2, 2016, the state prosecutor filed a complaint charging Mr. Ditirro with
14   possessing child pornography under Nev. Rev. Stat. §§ 200.700, 200.730. Exhibit F, Criminal
15   Complaint in State of Nevada v. Lonny Ditirro, Case No. 16406660X; Exhibit G, Register of
16   Actions for Case No. 16406660X. The complaint was supported by the declaration of Metro
17   Detective Scott Miller. Ex. F at pp. 5-8. Mr. Ditirro made his initial appearance in state court,
18   alongside his counsel of record (retained attorney James C. Gallo), on May 27, 2016. Ex. G.
19   The state court judge released Mr. Ditirro on bond with conditions including house arrest. Id.
20          C.      Federal complaint and warrant

21          On June 10, 2016, the government filed a complaint and arrest warrant in the instant
22   case charging Mr. Ditirro with possessing child pornography under 18 U.S.C. § 2252A(a)(5).
23   ECF No. 1. The probable cause affidavit underlying the complaint was written by the same
24   detective as in the state case (Detective Scott Miller) and contained the same factual allegations.
25   Compare ECF No. 1, pp. 2-4, with Ex. F, pp. 4-5. The government obtained a sealed arrest
26   warrant for Mr. Ditirro. ECF No. 8, United States v. Ditirro, 2:16-mj-431-NJK.
                                                    5



                                                                                           SER 0128
        Case:2:16-cr-00216-KJD-VCF
        Case  19-10250, 09/21/2020, ID: 11830255,
                                      Document 23DktEntry: 30, PagePage
                                                  Filed 10/24/16    131 of 229
                                                                        6 of 25




 1          On June 16, 2016, the government sought and obtained a sealed search warrant for Mr.
 2   Ditirro’s home under a separate case number, 2:16-mj-442-CWH. Exhibit H, Search and
 3   Seizure Warrant. 4 The search warrant affidavit written by the same Detective Scott Miller
 4   indicated, based on the same facts addressed above, “evidence of a crime involving the sexual
 5   exploitation of a child may be found on the computers or other digital devices” located at Mr.
 6   Ditirro’s residence. Id. at Bates 114.
 7          D.      FBI Interrogation

 8          The next morning, at approximately 7:00 a.m. on June 17, 2016, an FBI SWAT team
 9   including at least fifteen state and federal law enforcement officers went to Mr. Ditirro’s home.
10   Exhibit I, Report of Detective Scott Miller, Bates 66-67; ECF No. 8, United States v. Ditirro,
11   2:16-mj-431-NJK.     Mr. Ditirro was placed under arrest and taken to an FBI office for
12   “processing.” Ex. I at 67.
13          At the FBI office, Detective Miller and Agent Flaherty questioned Mr. Ditirro for an
14   unspecified period of time. Id. At some point, Detective Miller turned on an audio recorder.
15   Exhibit J, FBI Office Recording of Lonny Ditirro (June 17, 2016). Detective Miller stated:
16
                    Like I told you, I’m going to read you your rights, and make sure
17                  you understand those, okay? You have the right to remain silent.
                    Anything you say can be used against you in a court of law. You
18                  have the right to consult with an attorney before questioning. You
                    have the right to the presence of an attorney during questioning.
19
                    If you cannot afford an attorney, one will be appointed to you
20                  before questioning. Do you understand these rights, Lonny?

21   Ex. J at 1:40-2:04. Mr. Ditirro responded, “Yeah.” Id. at 2:01. Detective Miller resumed the
22   questioning, “We were talking just a second ago. Who did you say that you live with?” Ex. J
23   at 2:04-2:10. Mr. Ditirro explained he shares a studio apartment with two roommates and that
24
25
            4
              The search warrant was subsequently unsealed pursuant to an unopposed motion to
26   unseal, ECF No. 21 (Aug. 23, 2016), though the case 2:16-mj-442-CWH remains sealed.
                                                   6



                                                                                         SER 0129
        Case:2:16-cr-00216-KJD-VCF
        Case  19-10250, 09/21/2020, ID: 11830255,
                                      Document 23DktEntry: 30, PagePage
                                                  Filed 10/24/16    132 of 229
                                                                        7 of 25




 1   he sleeps on a mat. Id. at 2:15-3:18. Detective Miller also referenced an earlier round of
 2   questioning at the apartment. Id. at 6:02-6:17 (“Tell me this, cause I was asking you at the
 3   apartment, you have a suspended driver license to my knowledge, so how are you driving at
 4   work? Do they not know or did you get that fixed?”).
 5            Detective Miller proceeded to ask Mr. Ditirro questions about his employment,
 6   education, and interests. When asked what his interests were, Mr. Ditirro responded, “I like
 7   drawing, basketball . . . .” Id. at 7:28-7:39. Detective Miller asked Mr. Ditirro whether he had
 8   “computer experience” and whether he was good at math. Id. at 8:10-8:20. Mr. Ditirro
 9   responded, “Some. I have my days and I don’t. Like, usually I can normally do math in my
10   head, but like, not all the time.” Id. at 8:20-8:36.
11            Detective Miller and Agent Flaherty also asked Mr. Ditirro for personal identifying
12   information, including his phone number, how long he had used his phone number, the
13   whereabouts of his previous phone, his email addresses and passwords (current and deleted),
14   Facebook username and password, Twitter username, Instagram account information, KIK user
15   account, Zoosk account, and MeetMe account. Ex. J at 10:54-22:10. Detective Miller asked
16   Mr. Ditirro for the name and details of his Internet service provider and phone provider. Id. at
17   22:15-26:48 (discussing Cricket Wireless and CenturyLink). Detective Miller further asked
18   Mr. Ditirro what he used his phone for and asked him about his online dating habits. Id. at
19   29:45.
20            Detective Miller asked Mr. Ditirro about the people he dated. Mr. Ditirro stated his ex-
21   girlfriend Rachel Saito, who had schizophrenia and manic depressive disorder, would yell at
22   him and tell him the government was after her. Ex. J at 29:59-32:30. Rachel had once tried to
23   poison him by putting something in his food, would punch him, and attempted to stab him. Id.
24   at 33:35-34:23, 35:37-35:50. She also did not let Mr. Ditirro go to work. Id. at 34:45. She
25   accused him of having sex with his two male roommates. Id. at 38:59-39:22.
26
                                                        7



                                                                                         SER 0130
        Case:2:16-cr-00216-KJD-VCF
        Case  19-10250, 09/21/2020, ID: 11830255,
                                      Document 23DktEntry: 30, PagePage
                                                  Filed 10/24/16    133 of 229
                                                                        8 of 25




 1          Detective Miller asked Mr. Ditirro how he saved pictures and resumes. Ex. J at 41:45-
 2   42:11 (“What about, on, like pictures, things like that, all that kinda stuff—how do you save
 3   stuff to keep stuff—frickin’ resumes, anything like that?”). Mr. Ditirro stated he used to save
 4   resumes and pictures on an SD card. Id. at 42:50. Agent Flaherty asked how many SD cards
 5   Mr. Ditirro had and what phone he had used the SD cards on. Id. at 43:25, 43:58. Mr. Ditirro
 6   stated he thought he had given Rachel an SD card because she did not have one; the SD card
 7   had pictures of himself on it. Id. at 44:36-44:56.
 8          Detective Miller also asked Mr. Ditirro whether he knew the difference between adult
 9   and child pornography, and what an “adult” meant to him. Ex. J at 47:14-47:33. Mr. Ditirro
10   responded an adult was “the big people.” Id. at 47:33-47:35.
11          At various points in the recording, Mr. Ditirro indicated he felt lightheaded, had a
12   headache, and could not think properly. Ex. J at 3:26 (“It’s hard for me to think.”); id. at 14:17-
13   14:29 (“It feels like my, my head is like when you work out too much and your muscle doesn’t
14   want to work anymore. That’s kinda how my head feels right now.” ); id. at 54:54 (“It’s kind
15   of hard to make decisions right now.”). In response, Detective Miller and Agent Flaherty
16   commented Mr. Ditirro probably just wanted a cigarette.
17          Detective Miller asked Mr. Ditirro whether he had ever downloaded child pornography.
18   Id. at 49:00. Mr. Ditirro asked, “Should I have my lawyer come?” Id. at 49:30. Detective
19   Miller said that was “up to you” and “we’re just here to talk.” Id. at 49:42. Mr. Ditirro stated
20   his lawyer, James Gallo, had told him not to make any statements. Id. at 49:49-50:22. Agent
21   Flaherty told Mr. Ditirro it was his option to talk or not. Id. at 50:33-50:56. Mr. Ditirro stated
22   his lawyer should probably be present. Id. at 50:50-51:03 (“I think I probably should have him
23   come, or whatever.”).
24          But the questioning did not stop. Detective Miller stated he was “confused” because
25   Mr. Ditirro had “been cool talkin’ with us and stuff.” Ex. J at 51:34-51:56. Mr. Ditirro said it
26   was hard to think and he did not know if it was better to have his attorney speak with the police.
                                                      8



                                                                                           SER 0131
        Case:2:16-cr-00216-KJD-VCF
        Case  19-10250, 09/21/2020, ID: 11830255,
                                      Document 23DktEntry: 30, PagePage
                                                  Filed 10/24/16    134 of 229
                                                                        9 of 25




 1   Id. at 52:30-52:50. Detective Miller and Agent Flaherty told Mr. Ditirro they wanted to talk to
 2   him about the federal child pornography case, which he was being charged with and for which
 3   they had an arrest warrant. Ex. J at 53:43-54:11. Mr. Ditirro said it was hard to make decisions
 4   right now. Id. at 54:54. Mr. Ditirro expressed his belief it would “sound bad” if he did not
 5   want to answer questions. Id. at 55:35. He asked for a restroom break, which Detective Miller
 6   permitted and accompanied him on. Agent Flaherty also left the room.
 7          When Detective Miller and Mr. Ditirro returned to the interview room, Mr. Ditirro
 8   stated, again, it would be a good thing for his attorney to be present. Id. at 1:01:29. Detective
 9   Miller repeated that that was fine, but Mr. Ditirro could no longer ask them questions about his
10   case and to remember they were serving a federal search warrant at his residence and he had an
11   arrest warrant and would be appearing before a magistrate judge. Id. at 1:01:33-1:02:13. When
12   Agent Flaherty returned, Detective Miller acknowledged Mr. Ditirro had invoked his right to
13   have counsel present and turned off the recording. Id. at 1:02:10-1:03:53. However, Mr.
14   Ditirro’s counsel was apparently not contacted and Mr. Ditirro “spontaneously uttered”
15   statements about a girl he went to visit in New York. Ex. I at 67.
16          A few hours later, Mr. Ditirro made his initial appearance in federal court. ECF No 4.
17   Mr. Ditirro was appointed counsel and ordered detained pending trial that same day, on June
18   17, 2016. ECF Nos. 4, 6.
19          The government filed an indictment on July 19, 2016, charging Mr. Ditirro with one
20   count of sexual exploitation of children under 18 U.S.C. § 2251(a) and one count of possessing
21   child pornography under 18 U.S.C. § 2252A(a)(5). ECF No. 13.
22   III.   ARGUMENT

23          Police officers violated Mr. Ditirro’s constitutional rights in three different ways. First,
24   Metro officers searched and seized the SD card without a warrant.               Second, officers
25   unreasonably delayed pursuing a search warrant for the card for three months. Third, Detective
26   Miller and Agent Flaherty obtained Mr. Ditirro’s statements in violation of his Fifth
                                              9



                                                                                          SER 0132
        Case:
       Case   19-10250, 09/21/2020, ID:
            2:16-cr-00216-KJD-VCF       11830255,
                                     Document  23 DktEntry: 30, Page
                                                   Filed 10/24/16    135 10
                                                                   Page  of 229
                                                                            of 25




 1   Amendment privilege against self-incrimination and Miranda. Suppression is warranted for
 2   each of these violations.
 3          A.      Police violated Mr. Ditirro’s rights by searching his SD card without
                    a warrant on September 10, 2015.
 4
            Metro officers conducted a presumptively unreasonable search by examining the SD
 5
     card’s contents without a warrant. To the extent Mr. Baltazar viewed the SD card as a private
 6
     citizen, his (and Ms. Saito’s) search of the card before Metro’s does not extinguish the illegality
 7
     of the police search that followed. A hearing is necessary to determine the exact sequence of
 8
     events, but it appears Mr. Baltazar acted as a government agent and the police exceeded the
 9
     scope of any private search in violation of the Fourth Amendment. All evidence tainted by the
10
     unlawful search should be suppressed, including the SD card and the later-obtained search
11
     warrant, which was only obtained through tainted evidence.
12
13                  1.      Officers conducted a presumptively unreasonable search by
14                          examining the SD card’s contents without a warrant.

15           “Where a search is undertaken by law enforcement officials to discover evidence of

16   criminal wrongdoing, . . . reasonableness generally requires the obtaining of a judicial warrant.”

17   Riley v. California, 134 S. Ct. 2473, 2482 (2014) (citation omitted). “Such a warrant ensures

18   that the inferences to support a search are drawn by a neutral and detached magistrate instead

19   of being judged by the officer engaged in the often competitive enterprise of ferreting out

20   crime.” Id. (citation and internal quotation marks omitted). “In the absence of a warrant, a

21   search is reasonable only if it falls within a specific exception to the warrant requirement.” Id.

22   Here, officers conducted an unlawful search under Walter v. United States, 447 U.S. 649, 654

23   (1980), and United States v. Young, 573 F.3d 711 (9th Cir. 2009).

24          An officer’s authority to possess a package is distinct from his authority to examine its

25   contents. Walter, 447 U.S. at 654. In Walter, employees of a private carrier received a

26   misdirected shipment and called the FBI after they opened the boxes and found containers
                                                  10



                                                                                          SER 0133
        Case:
       Case   19-10250, 09/21/2020, ID:
            2:16-cr-00216-KJD-VCF       11830255,
                                     Document  23 DktEntry: 30, Page
                                                   Filed 10/24/16    136 11
                                                                   Page  of 229
                                                                            of 25




 1   suggestive of sexually explicit films. Id. at 651-52. Without a warrant, FBI agents extracted
 2   the films from the containers and viewed them on a projector. Id. at 652. The Supreme Court
 3   held suppression was warranted, as the FBI was not entitled to search the films without a
 4   warrant. Id. at 658-60. “The fact that FBI agents were lawfully in possession of the boxes of
 5   film did not give them authority to search their contents.” Id. at 654. “Nor d[id] the fact that
 6   the packages and one or more of the boxes had been opened by a private party before they were
 7   acquired by the FBI excuse the failure to obtain a search warrant.” Id. at 656. Even though
 8   FBI agents had reason to believe the content of the films were illegal, “the unauthorized
 9   exhibition of the films constituted an unreasonable invasion of their owner’s constitutionally
10   protected interest in privacy.” Id. at 654. “It was a search; there was no warrant; the owner had
11   not consented; and there were no exigent circumstances.” Id.
12          Even in circumstances where government agents may lawfully seize a package to
13   prevent loss or destruction of suspected contraband (exigencies not at play here), the Fourth
14   Amendment requires that they obtain a warrant before examining the package’s contents.
15   Young, 573 F.3d at 721. In Young, a private security guard discovered a gun in Young’s
16   backpack, which Young had left in his hotel room. Id. at 14. Security contacted the police and
17   took an officer to the room. Id. at 715. The guard then held open the backpack so that police
18   could see the weapon. Id. The Ninth Circuit affirmed the suppression of the gun, reasoning a
19   hotel “guest has a legitimate and significant privacy interest in the room’s contents, and does
20   not lose his expectation of privacy against unlawful government intrusions into his closed
21   briefcase or the contents of his computer hard drive when hotel staff sees the briefcase, laptop,
22   or other belongings while cleaning the room or changing a light bulb.” Id. at 721. “Closed
23   packages or containers, such as Young’s backpack, are in the general class of effects in which
24   the public at large has a legitimate expectation of privacy, making warrantless searches of them
25   presumptively unreasonable.” Id. (citation omitted). This presumption is particularly strong in
26   the electronic context, as digital storage devices “implicate privacy concerns far beyond those
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                                                                                         SER 0134
        Case:
       Case   19-10250, 09/21/2020, ID:
            2:16-cr-00216-KJD-VCF       11830255,
                                     Document  23 DktEntry: 30, Page
                                                   Filed 10/24/16    137 12
                                                                   Page  of 229
                                                                            of 25




 1   implicated by the search of a cigarette pack, a wallet, or a purse.” Riley, 134 S. Ct. at 2488-89
 2   (holding police may not conduct warrantless searches of digital information on a cell phone
 3   seized from an arrestee).
 4          Here, Mr. Ditirro had a legitimate expectation of privacy in the content of his SD card.
 5   That right was not extinguished when he lost his card, just as the Walter sender retained an
 6   expectation of privacy when the shipment was misdirected. As in Walter, officers here
 7   suspected the SD card contained contraband. However, the fact they were in lawful possession
 8   of the card (to the extent Mr. Baltazar gave the card to them) did not give them authority to
 9   search it. See Walter, 447 U.S. at 654. Nor did Rachal Saito’s prior search excuse the failure
10   to obtain a search warrant. See id. at 656. As in Walter, “[i]t was a search; there was no warrant;
11   the owner had not consented; and there were no exigent circumstances.” Id. at 654. Like
12   packaged film reels and closed backpacks, the SD card supported a reasonable expectation of
13   privacy. Officers used Mr. Baltazar’s cell phone to examine the card’s contents without any
14   attempt to get a warrant. Ex. A at 10. This was unreasonable and violated Mr. Ditirro’s rights.
15          The government may attempt to circumvent the Fourth Amendment by arguing the
16   searches were first conducted by private citizens. However, that argument fails.
17                  2.      Mr. Baltazar acted as a government agent if he searched while
18                          police were present.

19          The government’s discovery is unclear about the precise sequence of events leading to
20   the search of the SD card on September 10, 2015. According to Officer Bianco, Mr. Baltazar
21   and his wife called police to their home to report a crime. Ex. A at 10. “Looking through the
22   pictures using Baltazars cell phone, which he voluntar[il]y let us use, were multiple
23   pornographic images.” Id. The government may try to use this ambiguity to argue the officers
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                                                                                           SER 0135
        Case:
       Case   19-10250, 09/21/2020, ID:
            2:16-cr-00216-KJD-VCF       11830255,
                                     Document  23 DktEntry: 30, Page
                                                   Filed 10/24/16    138 13
                                                                   Page  of 229
                                                                            of 25




 1   simply duplicated Mr. Baltazar’s private search, which would not implicate the Fourth
 2   Amendment. That argument fails under the facts of this case. 5
 3          Although searches conducted by private persons generally do not come within the scope
 4   of the Fourth Amendment, “the [F]ourth [A]mendment does apply if the private person, ‘in
 5   light of all the circumstances of the case, must be regarded as an “instrument” or agent of the
 6   state.’” United States v. McGreevy, 652 F.2d 849, 851 (9th Cir. 1981) (quoting Coolidge v.
 7   New Hampshire, 403 U.S. 443, 447 (1971)). To determine whether a private individual is acting
 8   as a government instrument, the relevant inquiry is: “(1) whether the government knew of and
 9   acquiesced in the intrusive conduct; and (2) whether the party performing the search intended
10   to assist law enforcement efforts or further his own ends.” United States v. Reed, 15 F.3d 928,
11   930-31 (9th Cir. 1994) (citations omitted). The defendant has the burden of showing
12   government action. Id. at 931. The two-part “government instrument” standard applies to off-
13   duty police officers as well as private citizens. See McGreevy, 652 F.2d at 851.
14          In Reed, the Ninth Circuit found a Fourth Amendment violation based on a hotel
15   manager’s search of a guest’s room where (1) officers “knew of and acquiesced” in the search
16   because they were personally present during the search, knew exactly what the manager was
17   doing as he was doing it, and made no attempt to discourage him from examining the guest’s
18   personal belongings beyond what was required to protect hotel property; and (2) the manager
19   intended to help police gather proof the guest was using his room to deal narcotics.
20   Accordingly, information gathered in the search should have been suppressed. Id. at 933.
21           Here, if Mr. Baltazar searched the SD card once police arrived on September 10, 2015,
22   he acted as a government instrument. Both prongs of the two-part test would be met. First,
23
24          5
               As explained, the discovery is unclear as to whether Mr. Baltazar searched the card
25   prior to police arriving. The defense does not concede any prior search by Mr. Baltazar was
     private. Any prior search by Mr. Baltazar, especially in light of his status and connections to
26   law enforcement, would be unlawful for the same reasons the police search was unlawful.
                                                    13



                                                                                        SER 0136
        Case:
       Case   19-10250, 09/21/2020, ID:
            2:16-cr-00216-KJD-VCF       11830255,
                                     Document  23 DktEntry: 30, Page
                                                   Filed 10/24/16    139 14
                                                                   Page  of 229
                                                                            of 25




 1   Metro officers knew of and acquiesced in any search Mr. Baltazar conducted after their arrival.
 2   Mr. Baltazar is himself “involved in law enforcement.” Ex. D at 1:45-1:52. According to
 3   Officer Bianco’s report, officers “[l]ook[ed] through the pictures using Baltazars cell phone,
 4   which he voluntar[il]y let [officers] use.” Ex. A at 10. As in Reed, it appears officers were
 5   present during the search, knew exactly what Mr. Baltazar was doing with the card in his phone,
 6   and made no attempt to discourage him in the warrantless search. Officers here went further
 7   than in Reed, taking part in the warrantless search by taking Mr. Baltazar’s phone from him and
 8   using it to look through multiple images on the card. Second, Mr. Baltazar intended to help
 9   police gather proof of a crime, as evidenced by his phone call to police reporting a crime. Id.
10   If Mr. Baltazar acted as a government instrument, the search was unlawful.
11                  3.      Even if the prior searches were truly private, officers may
12                          have exceeded the scope of any private search.

13          Both Ms. Saito and Mr. Baltazar searched the SD card. Even if those searches did not
14   violate the Fourth Amendment, “the Government may not exceed the scope of the private
15   search.” United States v. Jacobsen, 466 U.S. 109, 116 (1984). “The additional invasions of
16   [Ditirro’s] privacy by the government agent must be tested by the degree to which they
17   exceeded the scope of the private search.” Id. at 115. Particularly in the digital media context,
18   police examining more files in an electronic folder than already searched by a private individual
19   may violate the Fourth Amendment. United States v. Tosti, 733 F.3d 816, 822 n.2 (9th Cir.
20   2013) (finding no violation where police viewed same exact images of computer tech’s search,
21   but leaving open “whether examining more files within the same electronic folder already
22   searched by a private individual would constitute a search for Fourth Amendment purposes”).
23          Here, officers may have exceeded the scope of any private search. A hearing is
24   necessary to determine the precise scope of each search, as the government’s discovery does
25   not provide a clear timeline. The images were located within “dozens of folders” on the card.
26   Ex. E at 97. Ms. Saito gave a conflicting account of her search to Detective Tooley. Ms. Saito
                                                    14



                                                                                         SER 0137
        Case:
       Case   19-10250, 09/21/2020, ID:
            2:16-cr-00216-KJD-VCF       11830255,
                                     Document  23 DktEntry: 30, Page
                                                   Filed 10/24/16    140 15
                                                                   Page  of 229
                                                                            of 25




 1   indicated that when she searched the card on September 9, 2015, she saw downloaded
 2   pornography and “his own pornography,” though she did not know whether the images were of
 3   children or adults. Ex. D at 10:14-10:28. Ms. Saito also indicated she saw “more than three”
 4   images of adults with children, but later stated she immediately took the card out of her phone
 5   upon seeing “one picture” of “juvenile stuff” in a “Restricted” folder because she did not want
 6   the forensic data on her phone. Id. at 10:54-11:16, 11:51-12:14. The government’s discovery
 7   does not indicate precisely what Mr. Baltazar saw on the card (if anything) before or after
 8   officers arrived on September 10, 2015. Officer Bianco claims the only images viewed by
 9   police that day were images of S.M. “and the other females that looked less tha[n] 16.” Ex. A
10   at 11. A hearing is necessary to determine the scope of each private and governmental search.
11                  4.      The police unlawfully seized the SD card pursuant to their
12                          illegal search.

13          To enforce the Fourth Amendment, evidence unconstitutionally seized may not
14   constitute proof against the victim of the illegal search. See Wong Sun v. United States, 371
15   U.S. 471, 484-85 (1963). This exclusionary rule “prohibits the introduction of tangible
16   materials seized during an unlawful search [or seizure], and of testimony concerning knowledge
17   acquired during an unlawful search [or seizure].” Murray v. United States, 487 U.S. 533, 536
18   (1988) (internal citations omitted). “Beyond that, the exclusionary rule also prohibits the
19   introduction of derivative evidence both tangible and testimonial that is the product of the
20   primary evidence, or that is otherwise acquired as an indirect result of the unlawful seizure [or
21   seizure] . . . .” Id. at 536-37. By refusing to admit evidence obtained through unlawful police
22   conduct, “the courts hope to instill in those particular investigating officers, or in their future
23   counterparts, a greater degree of care toward the rights of an accused.” Michigan v. Tucker,
24   417 U.S. 322, 447 (1974). The SD card must be suppressed as fruit of the unlawful search.
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26
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                                                                                           SER 0138
        Case:
       Case   19-10250, 09/21/2020, ID:
            2:16-cr-00216-KJD-VCF       11830255,
                                     Document  23 DktEntry: 30, Page
                                                   Filed 10/24/16    141 16
                                                                   Page  of 229
                                                                            of 25




 1                  5.     Metro’s search warrant does not establish probable cause and
                           is itself tainted by the illegal searches.
 2
            All evidence officers obtained during the illegal warrantless search was tainted and
 3
     should not have been included in the affidavit for a search warrant. See United States v. Vasey,
 4
     834 F.2d 782, 788 (9th Cir. 1987) (citing Wong Sun, 371 U.S. 471). “The mere inclusion of
 5
     tainted evidence in an affidavit does not, by itself, taint the warrant or the evidence seized
 6
     pursuant to the warrant.” Vasey, 834 F.2d at 788 (citation omitted). “A reviewing court should
 7
     excise the tainted evidence and determine whether the remaining, untainted evidence would
 8
     provide a neutral magistrate with probable cause to issue a warrant.” Id. Here, absent
 9
     information obtained through the unlawful searches, the probable cause affidavit is insufficient
10
     to establish probable cause. Ex. C at 57-58.
11
12          B.      The three-month delay in obtaining a search warrant was an
                    unreasonable seizure that violated Mr. Ditirro’s rights.
13
            The Fourth Amendment protects the “right of the people to be secure in their persons,
14
     houses, papers, and effects, against unreasonable searches and seizures.” U.S. Const. amend.
15
     IV. Even “a seizure lawful at its inception can nevertheless violate the Fourth Amendment
16
     because its manner of execution unreasonably infringes possessory interests protected by the
17
     Fourth Amendment’s prohibition on ‘unreasonable searches.’” Jacobsen, 466 U.S. at 124. An
18
     unreasonable delay between the seizure of a package and obtaining a search warrant violates an
19
     individual’s Fourth Amendment rights, warranting suppression. United States v. Dass, 849
20
     F.2d 414, 414-16 (9th Cir. 1988). Courts determine whether the delay was “reasonable” under
21
     the totality of the circumstances and on a case-by-case basis. United States v. Sullivan, 797
22
     F.3d 623, 633 (9th Cir. 2015), cert. denied, 136 S. Ct. 2408 (2016).
23
            To determine whether the delay was unreasonable, courts balance “the nature and
24
     quality of the intrusion on the individual’s Fourth Amendment interests against the importance
25
     of the governmental interests alleged to justify the intrusion.” Sullivan, 797 F.3d at 633
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                                                                                        SER 0139
        Case:
       Case   19-10250, 09/21/2020, ID:
            2:16-cr-00216-KJD-VCF       11830255,
                                     Document  23 DktEntry: 30, Page
                                                   Filed 10/24/16    142 17
                                                                   Page  of 229
                                                                            of 25




 1   (quoting United States v. Place, 462 U.S. 696, 703 (1983)). In balancing these interests, courts
 2   may consider whether the individual consented to a seizure and search, as well as the
 3   defendant’s parolee status. Sullivan, 797 F.3d at 633. Suppression is the appropriate remedy
 4   for an unreasonable delay.      Dass, 849 F.2d at 414 (affirming suppression where law
 5   enforcement unreasonably seized mailed packages for 7 to 23 days).
 6          In Dass, the Ninth Circuit found the government’s detention of mailed packages for 7
 7   to 23 day was unreasonable. Dass, 840 F.2d at 415. “In holding that law enforcement acted
 8   unreasonably by detaining packages for 7 to 23 days before executing a search warrant, Dass
 9   implicitly determined that such a lengthy retention of mailed packages constituted a substantial
10   intrusion into the possessory interests of the individuals who placed the packages in the mail.”
11   Sullivan, 979 F.3d at 613 (citing Dass, 840 F. at 415).
12          The Eleventh Circuit found a 21-day delay unreasonable in United States v. Mitchell,
13   565 F.3d 1347, 1353 (11th Cir. 2009). In Mitchell, ICE agents went to Mitchell’s home based
14   on a suspicion he was engaged in distributing and receiving child pornography. Id. at 1349.
15   Mitchell made incriminating statements and consented to a search of his computer. Id. Agents
16   removed the hard drive from the computer and obtained a search warrant three weeks later. Id.
17   at 1349-50. In balancing the private interests against the governmental interest, the Eleventh
18   Circuit noted the possessory interest at stake was “substantial,” explaining:
19                  Computers are relied upon heavily for personal and business use.
                    Individuals may store personal letters, e-mails, financial
20                  information, passwords, family photos, and countless other items
21                  of a personal nature in electronic form on their computer hard
                    drives. Thus, the detention of the hard drive for over three weeks
22                  before a warrant was sought constitutes a significant interference
                    with Mitchell’s possessory interest. Nor was that interference
23                  eliminated by admissions Mitchell made that provided probable
24                  cause for the seizure.

25   Id. at 1351. The Fourth Amendment’s requirements for prompt search warrants apply “with

26   even greater force to the hard drive of a computer, which is the digital equivalent of its owner’s
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                                                                                          SER 0140
        Case:
       Case   19-10250, 09/21/2020, ID:
            2:16-cr-00216-KJD-VCF       11830255,
                                     Document  23 DktEntry: 30, Page
                                                   Filed 10/24/16    143 18
                                                                   Page  of 229
                                                                            of 25




 1   home, capable of holding a universe of private information.” Id. at 1352 (citation omitted).
 2   Balanced against the substantial possessory interest, the government’s only justification for the
 3   delay was that the agent in the case went on a two-week training trip after seizing the hard drive.
 4   Id. at 1351. The Eleventh Circuit held the delay was unjustified and unreasonable under the
 5   circumstances. Id. at 1352.
 6            Here, the delay was even longer than the combined delays in Dass and Mitchell. Metro
 7   waited three months—seizing the SD card on September 10, 2015, and applying for a search
 8   warrant on December 2, 2015. Ex. A at 11; Ex. C at 55. Mr. Ditirro never consented to a
 9   seizure or search of his card. Nor was he on parole or any other status that would reduce his
10   privacy or possessory interest in his property. Mr. Ditirro maintained a significant possessory
11   interest in his SD card, which, like the hard drive in Mitchell, was capable of storing “personal
12   letters, e-mails, financial information, passwords, family photos, and countless other items of a
13   personal nature.” 565 F.3d at 1351. Indeed, the SD card had personal (non-contraband)
14   pictures, resumes, and documents stored on it. Ex. J at 42:50. Mr. Ditirro’s interests were not
15   eliminated by any probable cause officers had that the SD card contained illegal content. See
16   Mitchell, 565 F.3d 1351. There is no discernable excuse in the discovery for Metro’s lengthy
17   delay.    Accordingly, even if the initial seizure was justified, the 3-month delay was
18   unreasonable and the SD card should be suppressed.
19            In addition to the 3-month delay in seeking a search warrant, another 2-month delay
20   followed before Metro examined the card, heightening the unreasonableness of the delay.
21   Nevada law requires “[t]he officer taking property under the warrant [to] give to the person
22   from whom or from whose premises the property was taken a copy of the warrant and a receipt
23   for the property taken or [to] leave the copy and receipt at the place from which the property
24   was taken.” Nev. Rev. Stat. § 179.075. Metro’s Search Warrant Return form also indicates the
25   return must be made within ten days of the issuance of the warrant, and a copy of the search
26   warrant must be left with a “person or ‘at the place of search.’” Ex. C at 65. These requirements
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                                                                                           SER 0141
        Case:
       Case   19-10250, 09/21/2020, ID:
            2:16-cr-00216-KJD-VCF       11830255,
                                     Document  23 DktEntry: 30, Page
                                                   Filed 10/24/16    144 19
                                                                   Page  of 229
                                                                            of 25




 1   comport with principles of notice, due process, and criminal procedure. However, none of those
 2   goals was met here. According to the ICAC report, Detective Tooley “served” a search warrant
 3   for the device that had been impounded in Metro’s Evidence Vault on December 2, 2015. Ex.
 4   E at 95. Detective Tooley then left a copy of the search warrant return with the “case file.” Ex.
 5   C at 65. Stashing a copy of the search warrant return in her own case file did not comport with
 6   Nev. Rev. Stat. § 179.075, Metro’s policy, or principles of notice, due process, or criminal
 7   procedure. For no apparent reason, two more months passed before the warrant was actually
 8   effectuated through an ICAC examination. This conduct unreasonably added to the 3-month
 9   delay in obtaining a search warrant in the first instance. Suppression is warranted.
10
            C.      Detective Miller and Agent Flaherty obtained statements from Mr.
11                  Ditirro in violation of his Fifth Amendment rights and Miranda.

12          The statements made by Mr. Ditirro on June 17, 2016, were not voluntary. Mr. Ditirro’s
13   will was overborne by the psychological pressure and physical duress placed on him by law
14   enforcement officers, who arrested him and questioned him at the FBI office just before his
15   arraignment. The totality of the circumstances, including Mr. Ditirro’s lack of sophistication
16   and the officers’ interrogation tactics, render his statements a product of police coercion.
17   Furthermore, Detective Miller and Agent Flaherty used a two-step interrogation technique with
18   midstream Miranda warnings to obtain the statements. Accordingly, the statements and
19   evidence derived from those involuntary statements should be suppressed.
20
                    1.      Mr. Ditirro made involuntary statements due to coercive
21                          police activity under the totality of the circumstances.

22          Involuntary or coerced statements are inadmissible at trial because their admission is a
23   violation of a defendant’s right to due process under the Fifth Amendment. Brown v. Horell,
24   644 F.3d 969, 979 (9th Cir. 2011) (citations omitted). A confession is involuntary if it is not
25   “the product of a rational intellect and a free will.” Id. A necessary predicate to finding a
26   confession involuntary is that it was produced through coercive police activity. Colorado v.
                                                   19



                                                                                         SER 0142
        Case:
       Case   19-10250, 09/21/2020, ID:
            2:16-cr-00216-KJD-VCF       11830255,
                                     Document  23 DktEntry: 30, Page
                                                   Filed 10/24/16    145 20
                                                                   Page  of 229
                                                                            of 25




 1   Connelly, 479 U.S. 157, 167 (1986). Coercive police activity can be the result of either
 2   “physical intimidation or psychological pressure.” Brown, 644 F.3d at 989 (citation omitted).
 3          Whether a confession is involuntary must be analyzed within the totality of the
 4   circumstances—“both the characteristics of the accused and the details of the interrogation.”
 5   Schneckloth v. Bustamonte, 412 U.S. 218, 226-27 (1973). Courts should therefore “determine[
 6   ] the factual circumstances surrounding the confession, assess[ ] the psychological impact on
 7   the accused, and evaluate[ ] the legal significance of how the accused reacted.” Id. at 226. In
 8   Schneckloth, for example, the Supreme Court considered “the youth of the accused, his lack of
 9   education, or his low intelligence, the lack of any advice to the accused of his constitutional
10   rights, the length of detention, the repeated and prolonged nature of the questioning, and the
11   use of physical punishment such as the deprivation of food or sleep.” Id. (internal citations
12   omitted). The government must prove voluntariness by a preponderance of the evidence. Lego
13   v. Twomey, 404 U.S. 477, 489 (1972).
14          Here, under the totality of the circumstances, Mr. Ditirro’s statements were involuntary.
15   Early in the morning on June 17, 2016, an FBI SWAT team including at least fifteen state and
16   federal law enforcement officers arrested Mr. Ditirro in his home. Ex. I at 66-67. Detective
17   Miller questioned Mr. Ditirro for an unspecified period of time at his home, likely with a full
18   SWAT team dressed in uniform and with weapons swarming the studio apartment. At some
19   point, officer(s) or agent(s) took Mr. Ditirro to the FBI office, where Detective Miller
20   questioned Mr. Ditirro without recording and then with a recording for at least an hour.
21          Mr. Ditirro gave responses that indicate a particular vulnerability and lack of
22   sophistication. Lack of sophistication and having no experience with police are characteristics
23   that can render an individual particularly susceptible to interrogation techniques. Campos v.
24   Stone, --- F. Supp. 3d --- , 2016 WL 4426964, at *9 (N.D. Cal. Aug. 22, 2016) (finding
25   statements were not voluntary). For instance, when Detective Miller asked Mr. Ditirro what
26   his interests were, Mr. Ditirro responded, “I like drawing, basketball.” Ex. J at 7:28-7:39. When
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                                                                                         SER 0143
        Case:
       Case   19-10250, 09/21/2020, ID:
            2:16-cr-00216-KJD-VCF       11830255,
                                     Document  23 DktEntry: 30, Page
                                                   Filed 10/24/16    146 21
                                                                   Page  of 229
                                                                            of 25




 1   Detective Miller asked Mr. Ditirro whether he was good at math, Mr. Ditirro responded, “Some.
 2   I have my days and I don’t. Like, usually I can normally do math in my head, but like, not all
 3   the time.” Id. at 8:10-8:36. And when Detective Miller also asked Mr. Ditirro whether he knew
 4   the difference between adult and child pornography, and what an “adult” meant to him, Mr.
 5   Ditirro responded an adult was “the big people.” Id. at 47:14-47:35.
 6          Throughout the hour-long recorded interrogation, Mr. Ditirro expressed feeling light-
 7   headed and that he could not think. Ex. J at 3:26 (“It’s hard for me to think.”); id. at 14:17-
 8   14:29 (“It feels like my, my head is like when you work out too much and your muscle doesn’t
 9   want to work anymore. That’s kinda how my head feels right now.” ); id. at 54:54 (“It’s kind
10   of hard to make decisions right now.”). Whether the headaches resulted from wanting a
11   cigarette, as the agents joked, or something more serious, the added mental impairment and
12   physical discomfort is a factor for the Court to consider.
13          Detective Miller’s conduct is particularly troubling given that he knew Mr. Ditirro was
14   represented by counsel in the state case. Detective Miller is the probable cause affiant in both
15   state and federal complaints. Compare ECF No. 1, pp. 2-4, with Ex. F, pp. 4-5. The state case
16   docket clearly indicates Mr. Ditirro was represented by counsel on the date of the federal
17   interrogation. Ex. G. Detective Miller and Agent Flaherty well knew that Mr. Ditirro would
18   make his initial appearance (either with same counsel or appointed counsel) immediately
19   following the interrogation. Instead of scrupulously honoring Mr. Ditirro’s constitutional right
20   to counsel, the agents capitalized on Mr. Ditirro’s vulnerabilities. Mr. Ditirro’s statements were
21   involuntary under the totality of the circumstances and should be excluded.
22                  2.      Detective Miller and Agent Flaherty used a two-step
23                          interrogation technique.

24          The Fifth Amendment guarantees no person “shall be compelled in any criminal case to
25   be a witness against himself.” Based on that guarantee, “the prosecution may not use statements
26   . . . stemming from custodial interrogation of the defendant unless it demonstrates the use of
                                                     21



                                                                                          SER 0144
        Case:
       Case   19-10250, 09/21/2020, ID:
            2:16-cr-00216-KJD-VCF       11830255,
                                     Document  23 DktEntry: 30, Page
                                                   Filed 10/24/16    147 22
                                                                   Page  of 229
                                                                            of 25




 1   procedural safeguards effective to secure the privilege against self-incrimination.” Miranda v.
 2   Arizona, 384 U.S. 346, 444 (1966). One of the Supreme Court’s primary concerns in Miranda
 3   was the temptation for law enforcement officers, operating with little or no supervision over
 4   their investigative actions, to overbear the will of a defendant in an isolated custodial
 5   interrogation setting. Id. at 461, 466.
 6          Miranda warnings are necessary when a suspect in custody is interrogated by police.
 7   Thompson v. Keohane, 516 U.S. 99, 102 (1995). Custodial interrogation is questioning initiated
 8   by law enforcement officers after a person has been taken into custody or deprived of his
 9   freedom. United States v. Butler, 249 F.3d 1094, 1098 (9th Cir. 2001). In determining whether
10   a suspect was in custody for the purposes of determining whether Miranda warnings were
11   required, the court determines whether there was a formal arrest or restraint on freedom of
12   movement to the degree associated with formal arrest. Stansbury v. California, 511 U.S. 318,
13   322 (1994). In addition to being in custody, the individual must also be subject to interrogation
14   to trigger the Miranda requirement. Rhode Island v. Innis, 446 U.S. 291, 300 (1980).
15          Interrogation means questioning or “its functional equivalent,” including “words or
16   actions on the part of the police (other than those normally attendant to arrest and custody) that
17   the police should know are reasonably likely to elicit an incriminating response from the
18   suspect.” Innis, 446 U.S. 291 at 301. An “incriminating response” is any response, whether
19   inculpatory or exculpatory, that the prosecution may seek to introduce at trial. Id. at 302.
20   Whether the questioning constitutes an interrogation is an objective test that focuses on the
21   perception of the defendant; the officer’s subjective intent in asking the questions is relevant,
22   but not determinative. See, e.g., United States v. LaPierre, 998 F.2d 1460, n.6 (9th Cir. 1993);
23   Innis, 446 U.S. at 301-02.      There can be doubt Mr. Ditirro was subject to a custodial
24   interrogation. He was formally under arrest and questioned at his home and at the FBI office
25   about his phone and Internet use, dating history, and the evidence police had against him.
26
                                                      22



                                                                                          SER 0145
        Case:
       Case   19-10250, 09/21/2020, ID:
            2:16-cr-00216-KJD-VCF       11830255,
                                     Document  23 DktEntry: 30, Page
                                                   Filed 10/24/16    148 23
                                                                   Page  of 229
                                                                            of 25




 1          Discovery reveals Detective Miller obtained statements from Ditirro in at least two
 2   rounds of questioning prior to the recorded interrogation—at Ditirro’s home and at the FBI
 3   office. Ex. J at 2:04, 6:02 (“We were talking just a second ago . . . Tell me this, ‘cause I was
 4   asking you at the apartment . . .”). Discovery provides no indication that those prior statements
 5   were Mirandized. Miller apparently obtained statements in a deliberate two-step interrogation
 6   with a midstream Miranda warning. United States v. Williams, 435 F.3d 1148, 1157 (9th Cir.
 7   2006) (citing Missouri v. Seibert, 542 U.S. 600 (2004)). Seibert explained police may not obtain
 8   a confession by the use of a two-step interrogation strategy by deliberately withholding
 9   Miranda warnings until a suspect confesses, then following a Miranda warning and a repetition
10   of the confession already given. 542 U.S. at 604, 609-11 (Souter, J., plurality opinion).
11                  3.      This Court should suppress the involuntary statements and
12                          evidence derived from those statements.

13          Mr. Ditirro’s statements should be suppressed because (1) they were involuntarily made
14   and (2) they were elicited through a two-step interrogation technique. Although Mr. Ditirro did
15   not “confess” in the classic sense, he made statements that are inculpatory when combined with
16   other evidence. For instance, in response to Detective Miller’s pointed questions about Mr.
17   Ditirro’s use of SD cards and how he saved “stuff” such as his resumes, Mr. Ditirro indicated
18   he saved his resume on an SD card and that he gave an SD card to Rachel Saito. Ex. J at 41:45-
19   44:36. This was not a random question. The ICAC examiner noted he recovered “the suspect’s
20   resume” on the SD card seized by Metro. Ex. E at 97. The government should not be permitted
21   to use these involuntary statements to bolster other witness testimony and its case-in-chief.
22          Mr. Ditirro’s statements on June 17, 2016, also led to physical fruits including subpoena
23   returns. Detective Miller and Agent Flaherty specifically asked Mr. Ditirro for his username
24   and passwords for MeetMe, Facebook, Twitter, Instagram, KIK, Zoosk, and his email
25   addresses, as well as the name and details of his Internet service provider and phone provider.
26
                                                     23



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        Case:
       Case   19-10250, 09/21/2020, ID:
            2:16-cr-00216-KJD-VCF       11830255,
                                     Document  23 DktEntry: 30, Page
                                                   Filed 10/24/16    149 24
                                                                   Page  of 229
                                                                            of 25




 1   Ex. J at 10:54-22:26:48. Agents used Mr. Ditirro’s responses to subpoena a number of those
 2   companies, including MeetMe, Inc. 6 Exhibit K, FBI Subpoena to MeetMe, Inc.
 3          Should the Court find the statements were involuntary, the subpoena returns and any
 4   other derivative evidence should be suppressed as fruit of the poisonous tree. The Fifth
 5   Amendment “requires the exclusion of the physical fruit of actually coerced statements.”
 6   United States v. Patane, 542 U.S. 630, 644 (2004); but see id. (explaining a Miranda violation,
 7   absent coercion, does not require derivative evidence to be suppressed). Accordingly, if the
 8   Court finds Mr. Ditirro’s statements were involuntary under the totality of the circumstances,
 9   all derivative evidence must also be suppressed.
10   IV.    CONCLUSION

11          Police unlawfully searched Mr. Ditirro’s SD card without a warrant and seized the card
12   pursuant to the search. Police then delayed obtaining a search warrant for three months, which
13   constitutes an unreasonable seizure under the Fourth Amendemnt. Detective Miller and Agent
14   Flaherty then obtained statements from Mr. Ditirro in violation of his Fifth Amendment rights
15   and Miranda, and proceeded to obtain physical evidence derived from the involuntary
16   statements. For each of these reasons, the SD card, Mr. Ditirro’s statements, and evidence
17   derived from the statements should be suppressed.
18          DATED this 24th day of October, 2016.
19                                                  RENE L. VALLADARES
                                                    Federal Public Defender
20
21                                             By: /s/ Ryan Norwood
                                                   RYAN NORWOOD
22                                                 Assistant Federal Public Defender
                                                   Attorney for Lonny Joseph Ditirro, Jr.
23
24
25          6
              The government has indicated it is in possession 400 pages of subpoena returns, but
     the discovery has not yet been produced to the defense. The defense has made a number of
26   other discovery requests that are still pending.
                                                      24



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        Case:
       Case   19-10250, 09/21/2020, ID:
            2:16-cr-00216-KJD-VCF       11830255,
                                     Document  23 DktEntry: 30, Page
                                                   Filed 10/24/16    150 25
                                                                   Page  of 229
                                                                            of 25




 1                         CERTIFICATE OF ELECTRONIC SERVICE
 2          The undersigned hereby certifies that she is an employee of the Federal Public Defender
 3   for the District of Nevada and is a person of such age and discretion as to be competent to
 4   serve papers.
 5          That on October 24, 2016, she served an electronic copy of the above and foregoing
 6   MOTION TO SUPPRESS by electronic service (ECF) to the person named below:
 7
 8                   DANIEL BOGDEN
                     United States Attorney
 9                   ELHAM ROOHANI
                     Assistant United States Attorney
10                   501 S. Las Vegas Blvd Ste 1100
11                   Las Vegas, NV 89101

12
13                                                /s/ Nancy Vasquez, Legal Assistant
14                                                _________________________________
                                                  Employee of the Federal Public Defender
15
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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 151 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 1 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 152 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 2 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 153 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 3 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 154 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 4 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 155 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 5 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 156 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 6 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 157 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 7 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 158 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 8 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 159 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 9 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 160 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 10 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 161 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 11 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 162 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 12 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 163 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 13 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 164 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 14 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 165 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 15 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 166 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 16 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 167 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 17 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 168 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 18 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 169 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 19 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 170 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 20 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 171 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 21 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 172 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 22 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 173 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 23 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 174 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 24 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 175 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 25 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 176 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 26 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 177 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 27 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 178 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 28 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 179 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 29 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 180 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 30 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 181 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 31 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 182 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 32 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 183 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 33 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 184 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 34 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 185 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 35 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 186 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-1 Filed 10/24/16 Page 36 of 36




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 187 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 1 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 188 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 2 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 189 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 3 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 190 of 229




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 191 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 5 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 192 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 6 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 193 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 7 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 194 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 8 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 195 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 9 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 196 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 10 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 197 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 11 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 198 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 12 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 199 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 13 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 200 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 14 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 201 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 15 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 202 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 16 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 203 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 17 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 204 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 18 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 205 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 19 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 206 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 20 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 207 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 21 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 208 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 22 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 209 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 23 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 210 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 24 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 211 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 25 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 212 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 26 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 213 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 27 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 214 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 28 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 215 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 29 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 216 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 30 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 217 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 31 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 218 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 32 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 219 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 33 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 220 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 34 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 221 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 35 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 222 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 36 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 223 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 37 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 224 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 38 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 225 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 39 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 226 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 40 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 227 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 41 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 228 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 42 of 43




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Case: 19-10250, 09/21/2020, ID: 11830255, DktEntry: 30, Page 229 of 229   Case 2:16-cr-00216-KJD-VCF Document 23-2 Filed 10/24/16 Page 43 of 43




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